        Case 5:13-cv-00194-MTT Document 34 Filed 10/16/15 Page 1 of 104



                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE MIDDLE DISTRICT OF GEORGIA
                                    MACON DIVISION

ROBERT EARL BUTTS, JR.,          :
                                 :
                     Petitioner, :
                                 :
              vs.                :
                                 :                   CIVIL ACTION NO. 5:13-CV-194 (MTT)
WARDEN, Georgia Diagnostic and   :
Classification Prison,           :
                                 :
                     Respondent. :
___________________________ _____:

                                                ORDER

        ROBERT EARL BUTTS, JR. was sentenced to death for the murder of Donovan

Corey Parks. He petitions this Court for a writ of habeas corpus pursuant to 28 U.S.C.

§ 2254. Although he alleges numerous errors on the part of the state courts that

considered his claims, he raises four principal contentions: (1) trial counsel were

ineffective for failing to investigate and present mitigating evidence during the penalty

phase of his trial, and appellate counsel handled this issue ineffectively on appeal; (2) trial

counsel were ineffective when they failed to rebut or object to evidence of gang activity;

(3) the trial court failed to give a “mere presence” instruction to the jury; and (4) the

prosecutor’s argument that Butts was the triggerman was inconsistent with his argument

in Butts’s co-defendant’s trial, who was also sentenced to death. After considering these

claims, and other alleged constitutional errors,1 the Court determines that it must deny

habeas relief.


1
  The Court instructed Butts to brief all outstanding issues that he wished to pursue and this Order
addresses only those claims that he argued in his briefs. Any claim not briefed is deemed abandoned.
Blankenship v. Terry, 2007 WL 4404972 at *41 (S. D. Ga. Dec. 13, 2007) (explaining that claims not briefed
are abandoned because “mere recitation in a petition, unaccompanied by argument, in effect forces a judge
to research and thus develop supporting arguments—hence, litigate—on a petitioner’s behalf”).
          Case 5:13-cv-00194-MTT Document 34 Filed 10/16/15 Page 2 of 104



                   I.   BACKGROUND AND PROCEDURAL HISTORY

      A. Facts

      The Georgia Supreme Court summarized the facts of this case in Butts’s direct

appeal:

      [O]n the night of March 28, 1996, Butts and Marion Wilson, Jr., drove in
      Butts’s automobile to a local Wal–Mart store and began searching for a
      victim. Butts entered the store wearing a coat, under which he likely
      concealed the murder weapon. A witness observed Butts and Wilson
      standing behind Donovan Corey Parks in a checkout line. The cashier for
      that checkout line also remembered Butts being in her line. The store's
      receipts showed that Butts purchased a pack of chewing gum immediately
      after Parks made his purchase of pet supplies.

      A witness overheard Butts asking Parks for a ride. After Parks moved
      items in his automobile to make room for Butts and Wilson, Butts sat in the
      front passenger seat and Wilson sat in the back seat behind Parks.
      According to a witness to whom Butts confessed, Butts revealed the
      shotgun a short distance away, and Parks was ordered to stop the
      automobile. Wilson dragged Parks out of the automobile by his tie and
      ordered him to lie facedown on the pavement. Butts then fired one fatal
      shot to the back of Parks’s head with the shotgun. Witnesses nearby
      heard the shot, believing it to be a backfiring vehicle.

      After murdering Parks, Butts and Wilson drove to a service station in Gray,
      Georgia, where they refueled Parks’s automobile and where Wilson was
      filmed by the service station’s security camera. Butts and Wilson then
      drove to Atlanta in an unsuccessful attempt to exchange Parks’s
      automobile for money at a “chop shop.” The pair purchased two cans of
      gasoline, drove to a remote location in Macon, Georgia, and set fire to
      Parks’s automobile. They then walked to a nearby public phone, where
      Butts called his uncle and arranged a ride for himself and Wilson back to the
      Wal–Mart to retrieve Butts’s automobile.

      Investigators had recorded the license plate numbers of the vehicles parked
      in the Wal–Mart parking lot on the night of the murder, and Butts’s
      automobile was among them. A shotgun loaded with an uncommon type
      of ammunition was found under Wilson’s bed during a search, and a
      witness testified that Butts had given the weapon to Wilson to hold
      temporarily. Two of Butts’s former jail mates testified that he had admitted
      to being the triggerman in the murder.

Butts v. State, 273 Ga. 760, 761-62, 546 S.E.2d 472, 477-78 (2001).



                                           -2-
        Case 5:13-cv-00194-MTT Document 34 Filed 10/16/15 Page 3 of 104



       B. Procedural history

       On November 20, 1998, a jury found Butts guilty of malice murder, armed robbery,

hijacking a motor vehicle, possession of a firearm during the commission of a crime, and

possession of a sawed-off shotgun. Id. at 761 n.1, 546 S.E.2d at 477 n.1. On

November 21, 1998, the jury found beyond a reasonable doubt that the murder was

committed during the commission of the capital felony of armed robbery and he was

sentenced to death. Id.

       Butts filed a motion for new trial, and a hearing was held on August 13, 1999.

(Doc. 10-11).2 On August 18, 1999, the Court denied the motion. (Doc. 8-5 at 81).

Butts filed a notice of appeal on August 20, 1999. (Doc. 8-1 at 6). Also on August 20,

1999, the Court relieved trial counsel, Robert Westin and Cassandra Montford-Ford, of

their representation and appointed Guy Notte3 and Christopher Huskins to represent

Butts on direct appeal. (Doc. 8-5 at 83).

       Because Butts raised claims of ineffective assistance of trial counsel, the Georgia

Supreme Court, on February 25, 2000, remanded the case to the trial court for an

evidentiary hearing on these claims. (Docs. 10-13 at 37-49; 10-15). The trial court held

that hearing on August 22, 2000 and on October 4, 2000 denied Butts’s motion for new

trial. (Docs. 10-16; 10-17 at 14).

       Butts filed a notice of appeal, and on April 30, 2001, the Georgia Supreme Court

affirmed his conviction and sentence. (Doc. 10-17 at 2); Butts, 273 Ga. at 761, 546



2
 Because all documents have been electronically filed, this Order cites to the record by using the
document number and electronic screen page number shown at the top of each page by the Court’s
CM/ECF software.
3
 Notte was subsequently replaced by J. David McRee on October 13, 1999, and McRee was replaced by
Green Berry Moore, III on October 21, 1999. (Doc. 10-17 at 4-7).


                                                  -3-
       Case 5:13-cv-00194-MTT Document 34 Filed 10/16/15 Page 4 of 104



S.E.2d at 477. The United States Supreme Court denied his petition for certiorari on

January 7, 2002 and denied his motion for rehearing on March 4, 2002. Butts v.

Georgia, 534 U.S. 1086 (2002); Butts v. Georgia, 535 U.S. 922 (2002).

       Butts filed a Petition for Writ of Habeas Corpus in the Superior Court of Butts

County, Georgia on August 30, 2002. (Doc. 11-4). After conducting an evidentiary

hearing, the state habeas court denied relief in an order filed April 11, 2011. (Docs. 13-1

to 16-5; 16-23). Butts filed a notice of appeal and an application for certificate of

probable cause to appeal (“CPC application”) with the Georgia Supreme Court. (Docs.

16-24; 16-25). In an order dated January 22, 2013, the court summarily denied his CPC

application. (Doc. 16-28).

       On May 31, 2013, Butts filed a Petition for Writ of Habeas Corpus by a Person in

State Custody in this Court. (Doc. 1). The Respondent filed his answer, and the Court

denied Butts’s motion for discovery and an evidentiary hearing. (Docs. 6, 22). Both

parties have now briefed exhaustion, procedural default, and the merits of Butts’s various

claims. (Docs. 24, 27, 29, 32, 33).

                                  II.   STANDARD OF REVIEW

       A. Exhaustion and procedural default

       Procedural default bars federal habeas review when a habeas petitioner has failed

to exhaust state remedies that are no longer available or when the state court rejects the

habeas petitioner’s claim on independent state procedural grounds. Michigan v. Long,

463 U.S. 1032, 1040-42 (1983) (explaining that an adequate and independent finding of

procedural default will generally bar review of the federal claim); Frazier v. Bouchard, 661

F.3d 519, 524 n.7 (11th Cir. 2011); Ward v. Hall, 592 F.3d 1144, 1156-57 (11th Cir. 2010).




                                             -4-
       Case 5:13-cv-00194-MTT Document 34 Filed 10/16/15 Page 5 of 104



       There are two exceptions to procedural default. If the habeas respondent

establishes that a default has occurred, the petitioner bears the burden of establishing

“cause for the failure to properly present the claim and actual prejudice, or that the failure

to consider the claim would result in a fundamental miscarriage of justice.” Conner v.

Hall, 645 F.3d 1277, 1287 (11th Cir. 2011) (citing Wainwright v. Sykes, 433 U.S. 72,

81-88 (1977); Marek v. Singletary, 62 F.3d 1295, 1301-02 (11th Cir. 1995)). A petitioner

establishes cause by demonstrating that some objective factor external to the defense

impeded his efforts to raise the claim properly in the state courts. Spencer v. Sec’y,

Dep’t of Corr., 609 F.3d 1170, 1180 (11th Cir. 2010) (quoting Henderson v. Campbell,

353 F.3d 880, 892 (11th Cir. 2003)). A petitioner establishes prejudice by showing that

there is a reasonable probability that the result of the proceeding would have been

different. Id. Regarding what is necessary to establish the narrowly-drawn

fundamental miscarriage of justice exception, the Eleventh Circuit has stated:

       To excuse a default of a guilt-phase claim under [the fundamental
       miscarriage of justice] standard, a petitioner must prove “a constitutional
       violation [that] has probably resulted in the conviction of one who is
       actually innocent.” To gain review of a sentencing-phase claim based
       on [a fundamental miscarriage of justice], a petitioner must show that
       “but for constitutional error at his sentencing hearing, no reasonable juror
       could have found him eligible for the death penalty under [state] law.”

Hill v. Jones, 81 F.3d 1015, 1023 (11th Cir. 1996) (citations omitted).

       B. Claims that were adjudicated on the merits in the state courts

       The Antiterrorism and Effective Death Penalty Act of 1996 (“AEDPA”) provides the

standard of review. This Court may not grant habeas relief with respect to any claim that

has been adjudicated on the merits in state court unless the state court’s decision was (1)

contrary to clearly established Federal law; (2) involved an unreasonable application of




                                             -5-
       Case 5:13-cv-00194-MTT Document 34 Filed 10/16/15 Page 6 of 104



clearly established Federal law; or (3) was based on an unreasonable determination of

the facts in light of the evidence presented in the state court proceeding.    28 U.S.C.

§ 2254(d)(1)-(2); see also Harrington v. Richter, 562 U.S. 86, 100 (2011). The phrase

“clearly established Federal law” refers to the holdings of the United States Supreme

Court that were in existence at the time of the relevant state court decision. Thaler v.

Haynes, 559 U.S. 43, 47 (2010); Williams v. Taylor, 529 U.S. 362, 412 (2000).

       “The ‘contrary to’ and ‘unreasonable application’ clauses of § 2254(d)(1) are

separate bases for reviewing a state court’s decisions.” Putman v. Head, 268 F.3d 1223,

1241 (11th Cir. 2001) (citing Williams, 529 U.S. at 404-05).

       Under § 2254(d)(1), “[a] state court’s decision is ‘contrary to’... clearly
       established law if it ‘applies a rule that contradicts the governing law set
       forth in [the United States Supreme Court’s] cases’ or if it ‘confronts a set of
       facts that are materially indistinguishable from a decision of [the United
       States Supreme] Court and nevertheless arrives at a [different] result….’”

Michael v. Crosby, 430 F.3d 1310, 1319 (11th Cir. 2005) (quoting Mitchell v. Esparza, 540

U.S. 12, 15-16 (2003)).

       A state court’s decision involves an “unreasonable application” of federal law when

“‘the state court identifies the correct governing legal rule but unreasonably applies it to

the facts of the particular state prisoner’s case, or when it unreasonably extends, or

unreasonably declines to extend, a legal principle from Supreme Court case law to a new

context.’” Reese v. Sec’y, Fla. Dep’t of Corr., 675 F.3d 1277, 1286 (11th Cir. 2012)

(quoting Greene v. Upton, 644 F.3d 1145, 1154 (11th Cir. 2011)). An “unreasonable

application” and an “incorrect application” are not the same:

       We have explained that an unreasonable application of federal law is
       different from an incorrect application of federal law. Indeed, a federal
       habeas court may not issue the writ simply because that court concludes in
       its independent judgment that the relevant state-court decision applied



                                             -6-
           Case 5:13-cv-00194-MTT Document 34 Filed 10/16/15 Page 7 of 104



          clearly established federal law erroneously or incorrectly. Rather, that
          application must be objectively unreasonable. This distinction creates a
          substantially higher threshold for obtaining relief than de novo review.
          AEDPA thus imposes a highly deferential standard for evaluating
          state-court rulings and demands that state-court decisions be given the
          benefit of the doubt.

Renico v. Lett, 559 U.S. 766, 773 (2010) (citations and quotation marks omitted).

          Pursuant to 28 U.S.C. § 2254(d)(2), district courts can “grant habeas relief to a

petitioner challenging a state court’s factual findings only in those cases where the state

court’s decision ‘was based on an unreasonable determination of the facts in light of the

evidence presented in the State court proceeding.’” Price v. Allen, 679 F.3d 1315, 1320

(11th Cir. 2012) (quoting 28 U.S.C. § 2254(d)(2)). A state court’s factual finding is not

unreasonable simply because the federal habeas court might have made a different

finding had it been the first court to interpret the record. Burt v. Titlow, 134 S. Ct. 10, 15

(2013) (citing Wood v. Allen, 558 U.S. 290, 301 (2010)). Also, a state court’s factual

determination is “presumed to be correct,” and this presumption can only be rebutted by

“clear and convincing evidence.” 28 U.S.C. § 2254(e)(1).

                                           III.    PETITIONER’S CLAIMS

          A. Claim One: Butts was deprived of his right to the effective assistance of
             counsel at all stages of his pretrial, trial, motion for new trial, and direct
             appeal proceedings.

          Butts makes several ineffective assistance claims: (1) trial and appellate counsel

failed to investigate, develop, and present mitigating evidence; (2) trial and appellate

counsel were ineffective in their handling of evidence of gang activity; and (3) trial counsel

failed to argue in the sentencing phase that a sentence of death was disproportionate

and, therefore, precluded by Enmund v. Florida, 458 U.S. 782 (1982).4


4
    In addition, Butts argues that trial counsel failed to object to irrelevant and prejudicial victim impact


                                                         -7-
         Case 5:13-cv-00194-MTT Document 34 Filed 10/16/15 Page 8 of 104



            1. The clearly established federal law

        Strickland5 is “the touchstone for all ineffective assistance of counsel claims.”

Blankenship v. Hall, 542 F.3d 1253, 1272 (11th Cir. 2008). “A convicted defendant's

claim that counsel’s assistance was so defective as to require reversal of a conviction or

death sentence has two components. First, the defendant must show that counsel’s

performance was deficient.… Second, the defendant must show that the deficient

performance prejudiced the defense.” Strickland, 466 U.S. at 687; Wong v. Belmontes,

558 U.S. 15, 16 (2009). To establish deficient performance, Butts must show that

“counsel’s representation fell below an objective standard of reasonableness.”

Strickland, 466 U.S. at 688. The Court must apply a “‘strong presumption’ that counsel’s

representation was within the ‘wide range’ of reasonable professional assistance.”

Richter, 562 U.S. at 104 (quoting Strickland, 466 U.S. at 689). “To overcome that

presumption, [Butts] must show that counsel failed to act ‘reasonabl[y] considering all the

circumstances.’” Cullen v. Pinholster, 131 S. Ct. 1388, 1403 (2011) (quoting Strickland,

466 U.S. at 688). To establish prejudice, Butts must show “a reasonable probability that,

but for counsel’s unprofessional errors, the result of the proceeding would have been

different.” Strickland, 466 U.S. at 694. “A reasonable probability is a probability

sufficient to undermine confidence in the outcome.” Id. When determining if prejudice

exists, “it is necessary to consider all the relevant evidence that the jury would have had


evidence and trial counsel failed to request a jury instruction on mere presence. The Court addresses
these two claims as part of Butts’s claim that the trial court made improper rulings and other errors that
deprived him of a fair trial. Butts also argues that trial counsel failed to object to the prosecution’s
presentation of inconsistent arguments. This claim is reviewed with Butts’s claim that misconduct by the
prosecutor deprived him of a fair trial.
5
  Strickland v. Washington, 466 U.S. 668 (1984). Although the Strickland test was announced in the
context of an ineffective assistance of trial counsel claim, the same test applies to claims of ineffective
assistance of appellate counsel. Heath v. Jones, 941 F.2d 1126, 1130 (11th Cir. 1991).


                                                      -8-
       Case 5:13-cv-00194-MTT Document 34 Filed 10/16/15 Page 9 of 104



before it if [Butts’s counsel] had pursued the different path–not just the mitigation

evidence [Butts’s counsel] could have presented, but also the [aggravating evidence] that

almost certainly would have come in with it.” Wong, 558 U.S. at 20 (citing Strickland, 466

U.S. at 695-96, 700); see also Porter v. McCollum, 558 U.S. 30, 40-41 (2009).

       Federal courts must “take a ‘highly deferential’ look at counsel’s performance

through the ‘deferential lens of § 2254(d).’” Pinholster, 131 S. Ct. at 1403 (quoting

Strickland, 466 U.S. at 689; Knowles v. Mirzayance, 556 U.S. 111, 121 n.2 (2009)).

Butts must do more than satisfy the Strickland standard. “He must also show that in

rejecting his ineffective assistance of counsel claim the state court ‘applied Strickland to

the facts of his case in an objectively unreasonable manner.’” Rutherford v. Crosby, 385

F.3d 1300, 1309 (quoting Bell v. Cone, 535 U.S. 685, 699 (2002)). That is, “[t]he

question is not whether counsel’s actions were reasonable” but “whether there is any

reasonable argument that counsel satisfied Strickland’s deferential standard.” Richter,

562 U.S. at 105.

          2. Claims that trial and appellate counsel failed to investigate, develop, and
             present mitigating evidence

       Butts argues that trial counsel’s most glaring deficiency was their failure to

investigate his family life and background so they could develop and present mitigating

evidence during the sentencing phase of his trial. (Doc. No. 24 at 47). He also alleges

that appellate counsel’s failure to raise adequately trial counsel’s defective performance

and resulting prejudice constituted ineffective assistance during his motion for new trial

and direct appeal.

       Multiple state courts have addressed these ineffective assistance claims. Thus,

“it is useful at the outset to explain which state-court decisions we look to for purposes of



                                             -9-
        Case 5:13-cv-00194-MTT Document 34 Filed 10/16/15 Page 10 of 104



AEDPA review.” Hittson v. GDCP Warden, 759 F.3d 1210, 1231 (11th Cir. 2014).

Looking first at trial counsel, Butts argued on direct appeal that trial counsel were

ineffective for not presenting mitigating testimony and pleas for mercy from family

members. (Docs. 10-22 at 9-10, 41; 24 at 47). The Georgia Supreme Court rejected

this claim on the merits and the state habeas court found the claim was res judicata.

Butts, 273 Ga. at 769-70, 546 S.E.2d at 483; (Doc. 16-23 at 5). The state habeas court’s

conclusion that this claim was res judicata does not bar federal habeas review.6 Cone v.

Bell, 556 U.S. 449, 465-67 (2009); Owens v. Sec’y for Dep’t of Corr., 568 F.3d 894, 915

n.23 (11th Cir. 2009).

        The state habeas court found the following trial counsel ineffective assistance

claims were procedurally defaulted because they were not raised on direct appeal, and

Butts failed to establish cause and prejudice or a miscarriage of justice to excuse the

default: trial counsel’s failure to secure a neuropsychologist and have

neuropsychological and neurological testing performed; trial counsel’s failure “to conduct

an adequate pretrial investigation into [Butts’s] family life and background to uncover and

present to the jury evidence in mitigation of punishment”; and trial counsel’s failure “to

present a picture of [Butts’s] background and fail[ure] to call any witness who could

present the jury with testimony of [Butts] as a unique human being.” (Doc. 16-23 at 8,

14).



6
  The Court reviews this claim as part of Butts’s broader claims that trial and appellate counsel were
ineffective when they failed to investigate, develop, and present mitigating evidence. When the Georgia
Supreme Court denied this particular ineffective assistance of trial counsel claim, it had only the limited
evidence presented at the motion for new trial evidentiary hearing to review. This Court, however,
considers the expanded record before the state habeas court. Ferrell v. Hall, 640 F.3d 1199, 1224-25
(11th Cir. 2011) (allowing for review of the “radically expanded record of mitigating evidence” when
addressing a trial counsel ineffective assistance claim through an ineffective assistance of appellate
counsel claim).


                                                    -10-
        Case 5:13-cv-00194-MTT Document 34 Filed 10/16/15 Page 11 of 104



        This Court cannot review claims the state habeas court found to be procedurally

defaulted unless Butts establishes cause for, and actual prejudice from, the default or

establishes that failure to review the claim would result in a fundamental miscarriage of

justice. Lucas v. Warden, 771 F.3d 785, 801 (11th Cir. 2014). Butts argues that

inadequate assistance of counsel on direct appeal establishes cause to overcome the

default. (Doc. 24 at 49).

        An ineffective assistance of appellate counsel claim may, “if both exhausted and

not procedurally defaulted, … constitute cause” to excuse procedural default. Ward v.

Hall, 592 F.3d 1144, 1157 (11th Cir. 2010) (citing Hill v. Jones, 81 F.3d 1015, 1031 (11th

Cir. 1996)). Butts’s ineffective assistance of appellate counsel claims7 meet this criteria.

The state habeas court addressed these claims on the merits and, thereafter, Butts raised

his ineffective assistance of appellate counsel claims in his CPC application, which the

Georgia Supreme Court summarily denied. (Docs. 16-23 at 17; 16-25 at 2, 30-43;

16-28). This denial is the final state court determination of Butts’s ineffective assistance

of appellate counsel claims and, under recent Eleventh Circuit precedent, the only

question for this Court is whether there was any reasonable basis for the Georgia

Supreme Court to deny relief. Hittson, 759 F.3d at 1232-33 (explaining that post-Richter,

Ylst v. Nunnemaker, 501 U.S. 797 (1991), no longer applies and federal courts reviewing

under § 2254(d) are not required to “look through” the Georgia Supreme Court’s summary

denials of CPC applications to the reasons given in the “‘last reasoned decision’ by the

state court.”) (quoting Ylst, 501 U.S. at 804); Lucas, 771 F.3d at 792 (reasoning of the


7
  State habeas counsel argued that appellate counsel were ineffective for failing to raise various errors
made by trial counsel; failing to investigate and present mitigating evidence at the motion for new trial
hearing; and failing to obtain a mitigation and/or gang expert to testify at the motion for new trial hearing.
(Doc. 16-23 at 16).


                                                     -11-
        Case 5:13-cv-00194-MTT Document 34 Filed 10/16/15 Page 12 of 104



state habeas court is irrelevant and petitioner must show there was no reasonable basis

for the Georgia Supreme Court to deny relief).8

        The state habeas court found that appellate counsel performed deficiently:

        The Court finds that appellate counsel’s failure to conduct an independent
        mitigation investigation constitutes deficient performance especially in light
        of the fact that appellate counsel alleged that trial counsel was ineffective in
        failing to present mitigating evidence. In raising such a claim, a reasonably
        competent attorney would have looked beyond trial counsel’s investigation
        to determine whether trial counsel’s performance was reasonable.

(Doc. 16-23 at 17). Respondent does not contest this finding, and this Court agrees that

appellate counsel’s complete failure to conduct any mitigation investigation amounted to



8
   This procedure, which calls for the federal courts to ignore the reasons given by the state habeas court for
denying relief and hypothesize reasons why the Georgia Supreme Court could have denied the CPC
application, has been called into question. In Hittson v. Chatman, 135 S. Ct. 2126 (2015) (Ginsburg and
Kagan, JJ., concurring in denial of certiorari), Justice Ginsburg stated, “[t]he Eleventh Circuit plainly erred in
discarding Ylst.” Id. at 2127. She explained that the instruction given in Ylst, that federal courts reviewing
an unexplained state court order upholding a prior reasoned judgment “should presume that [the] ‘later
unexplained order[] upholding that judgment or rejecting the same claim rest[s] upon the same ground,’”
was not disturbed by Richter. Id. (quoting Ylst, 501 U.S. at 803). Thus, federal courts are to look at the
last reasoned decision from the state court (the decision from the state habeas court in this case) and
determine whether it “was contrary to, or involved an unreasonable application of, clearly established
Federal law” or “was based on an unreasonable determination of the facts in light of the evidence
presented.” 28 U.S.C. § 2254(d). The courts are not to “hypothesize reasons that might have supported
the [Georgia Supreme Court’s] unexplained order.” Hittson, 135 S. Ct. at 2127. Three days after the
Supreme Court denied certiorari in Hittson, it decided Brumfield v. Cain, 135 S. Ct. 2269 (2015). In
Brumfield, the Court observed that when “conducting the § 2254(d)(2) inquiry, we, like the courts below,
‘look through’ the Louisiana Supreme Court’s summary denial of Brumfield’s petition for review and
evaluate the state trial court’s reasoned decision ….” Id. at 2276 (citing Johnson v. Williams, 133 S. Ct.
1088, 1094, n.1 (2013) and Ylst, 501 U.S. at 806). The Court confirmed what Justice Ginsburg said in
Hittson: Richter applies only “where there is no ‘opinion explaining the reasons relief has been denied.’”
Brumfield, 135 S. Ct. at 2283 (quoting Richter, 562 U.S. at 98). On July 30, 2015, the Eleventh Circuit
granted en banc review in Wilson v. Warden, Ga. Diagnostic Prison, No. 14-10681. The question for
review is whether a federal habeas court is required to look through a state appellate court’s summary
decision that is an adjudication on the merits to the reasoning in a lower court decision when deciding
whether the state appellate court’s decision is entitled to deference under 28 U.S.C. § 2254(d). In short,
there is a good chance that the Eleventh Circuit will abandon Hittson and return to Ylst. Accordingly, the
Court has reviewed the factual findings and legal conclusions given by the state habeas court when that
court’s order provides the last reasoned analysis of a claim. The Court has determined that the state
habeas court’s factual findings were reasonable and the legal conclusions were not contrary to, or
unreasonable applications of, Supreme Court precedent. 28 U.S.C. § 2254(d). Having found the state
habeas court’s bases for denying relief were reasonable, the Court necessarily finds that there were
“arguments or theories [that] … could have supported” the Georgia Supreme Court’s denial of relief.
Richter, 562 U.S. at 102.



                                                      -12-
        Case 5:13-cv-00194-MTT Document 34 Filed 10/16/15 Page 13 of 104



deficient performance.9

        However, the state habeas court concluded no prejudice resulted from appellate

counsel’s deficient performance. (Doc. 16-23 at 17-18). The court found “that the best

evidence of what appellate counsel would have discovered in an independent mitigation

investigation [was] the evidence presented in the instant proceeding by present counsel.”

(Doc. 16-23 at 17-18). The court determined that, had that evidence been presented,

there was “no reasonable probability that the result of the Motion for New Trial or the

direct appeal would have been different.” (Doc. 16-23 at 18). The question is whether

this ruling is contrary to Strickland, or unreasonable either legally or factually.

        To answer this question, this Court, like the state courts, must analyze trial

counsel’s actions. This effectively means that the procedural default of most of Butts’s

ineffective assistance of trial counsel claims has little practical effect on this Court’s

analysis. It is necessary to review these ineffective assistance of trial counsel claims

because they are central to (1) Butts’s claim that appellate counsel were ineffective when

they failed to raise trial counsel’s ineffectiveness and (2) his argument that he has


9
   Christopher Huskins was appointed on August 20, 1999 and Green Berry Moore, III was appointed on
October 21, 1999. (Doc. 8-5 at 83; 10-17 at 4-7). Moore was lead appellate counsel, responsible for all
issues except those involving voir dire and the jury, for which Huskins was responsible. (Doc. 13-2 at 38).
Moore and Huskins raised several ineffective assistance claims, including that trial counsel were ineffective
for failing to offer mitigating evidence and pleas for mercy from family members. Butts, 273 Ga. at 762-63,
765-70, 546 S.E.2d at 478-84; (Doc. 10-13 at 9-11). Because appellate counsel alleged ineffective
assistance of trial counsel, the Georgia Supreme Court, on February 25, 2000, remanded that the case to
the trial court so it could conduct an evidentiary hearing. (Doc. 10-15). To prepare for the hearing, Moore
reviewed trial counsel’s files, read the trial transcript, spoke with Westin, and spoke with Butts once or twice.
(Doc. 13-2 at 40, 50). Huskins could not recall speaking with Butts or Westin or conducting any type of
investigation beyond reading the trial transcript. (Doc. 13-2 at 73). Neither appellate counsel conducted
any additional investigation to determine whether there was mitigating evidence that trial counsel should
have presented. (Doc 13-2 at 41). Instead, Moore just selected issues from the trial transcript that he
thought trial counsel should have handled differently. (Doc. 13-2 at 53-54, 58-61). The motion for new
trial hearing took place on August 22, 2000 and no witnesses other than Westin were called to testify.
(Doc. 10-16). Thus, during the year leading up to the evidentiary hearing, appellate counsel did little more
than briefly speak with Butts and Westin, review Westin’s file, and review the trial transcript. (Doc. 13-2 at
40-56). Without conducting any type of mitigation investigation, there was no way for appellate counsel to
specify what evidence trial counsel should have presented.


                                                      -13-
       Case 5:13-cv-00194-MTT Document 34 Filed 10/16/15 Page 14 of 104



established cause and prejudice necessary to entitle him to judicial review of these

procedurally defaulted claims.

       When a petitioner alleges that appellate counsel were ineffective for failing to raise

ineffectiveness of trial counsel claims, the Eleventh Circuit has recognized that, “the state

court could not effectively review appellate counsel’s performance in challenging trial

counsel’s effectiveness in mitigation without re-examining trial counsel’s performance as

well.” Ferrell v. Hall, 640 F.3d 1199, 1224-25 (11th Cir. 2011); DeYoung v. Schofield,

609 F.3d 1260, 1283 n.22 (11th Cir. 2010) (reasoning that “[r]ather than wade through

[the] complexities” of whether ineffective assistance of appellate counsel excused

procedural default of trial counsel ineffectiveness claims, the court would “discuss the

merits of [petitioner’s] trial counsel claims, as that alone resolves the case”).

       In other words, whether appellate counsel failed to properly challenge trial
       counsel’s mitigation inquiry focuses on essentially the same corpus of
       evidence and the same legal questions underlying trial counsel’s
       effectiveness—which strategies did trial counsel pursue, were those
       strategies reasonable under the circumstances, and what kinds of penalty
       phase evidence was developed, or could reasonably have been developed.

Ferrell, 640 F.3d at 1225. The state habeas court recognized this and explained that,

although Butts’s “ineffective assistance of trial counsel claims are procedurally barred or

procedurally defaulted, the [c]ourt considers the conduct of trial counsel as part of its

analysis of [Butts’s] ineffective assistance of appellate counsel.” (Doc. 16-23 at 5 n.2,

14).

       Thus, in the context of considering whether the state habeas court reasonably

concluded no prejudice resulted from appellate counsel’s deficient performance when

litigating the ineffectiveness of trial counsel, this Court must review trial counsel’s

performance.



                                             -14-
        Case 5:13-cv-00194-MTT Document 34 Filed 10/16/15 Page 15 of 104



       The record reveals the following:

               a. Trial counsel’s experience

       Cassandra Montford-Ford was the first attorney10 appointed to represent Butts.

(Doc. 13-15 at 41). She had been practicing law since 1991 and had been a sole

practitioner in the Ocmulgee Judicial Circuit since 1993, handling family law matters and

bankruptcies, as well as appointed misdemeanor and felony criminal cases. (Doc. 13-15

at 30-34). Between 1993 and the time of Butts’s trial, she was appointed to handle one

to two criminal cases per week and no more than two of the criminal cases went to trial

each year. (Doc. 13-15 at 35, 38). While she had handled numerous felony cases, she

had never handled a murder case. (Doc. 13-15 at 123-24). Montford-Ford met with

Butts approximately three times and attended his commitment hearing prior to the trial

court’s July 25, 1996 appointment of Robert Westin as lead counsel. (Docs. 8-1 at 24;

13-15 at 41-42).

       Westin graduated law school in 1979 and had been practicing criminal law in the

Ocmulgee Judicial Circuit for approximately 17 years at the time of Butts’s trial. (Doc.

10-16 at 29). He was known as the “de facto public defender” in Wilkinson County,

handling more than 90 percent of the criminal cases in that county. (Doc. 10-16 at 30,

32). Westin was lead or co-counsel in approximately 15 to 20 jury trials per year and,

over his legal career, had been involved in approximately 350 to 400 jury trials total, 175

to 200 of which were criminal jury trials. (Doc. 10-16 at 32). Prior to his appointment to

represent Butts, Westin had handled 16 to 18 murder cases. (Doc. 10-16 at 31). He

had been second-chair in five capital cases, and none of those five defendants were

10
  The date of Montford-Ford’s appointment is unclear. (Doc. 13-15 at 41). Her appointment would have
occurred between April 4, 1996, the date arrest warrants were issued, and July 25, 1996, the day Robert
Westin was appointed. (Doc. 8-1 at 8-17, 24)


                                                 -15-
        Case 5:13-cv-00194-MTT Document 34 Filed 10/16/15 Page 16 of 104



sentenced to death. (Docs. 10-16 at 35-39; 13-1 at 102).11

        Butts alleges that the state habeas court’s determination that Butts “was

represented by a death-qualified, experienced death penalty litigator” was unreasonable

because Westin and Montford-Ford had never been lead counsel in a death penalty case.

(Doc. 16-23 at 19). As noted, Westin had substantial experience trying criminal cases.

(Doc. 10-16 at 29-33). He “literally tried at least half and probably more of” his third

capital case. (Doc. 10-16 at 42). Westin was assisted by Montford-Ford, who had been

handling criminal cases since 1993, and a paralegal, Cindy Crawford, who had helped

prepare several death penalty cases in the past. (Docs. 10-16 at 41-42; 13-15 at 33-34).

There is no clearly established Supreme Court precedent holding that if trial counsel in a

death penalty case does not have a certain amount of experience he is per se ineffective.

Strickland, 466 U.S. at 681 (explaining that experience is just one factor to consider when

determining whether counsel’s strategic choices were reasonable). The Court knows of

no requirement that counsel have previous experience as lead counsel in a capital case.

Clearly, the state habeas court’s determination that Butts was represented by

experienced trial counsel was reasonable.

                b. Trial counsel’s mitigation investigation

        In Westin’s previous death penalty cases, he “was always the mitigation man” and

“was involved in mostly the sentencing phase of the case.” (Doc. 13-1 at 102-03). His

role shifted in Butts’s case, and he did not focus solely on mitigation but took “overall

control of the case,” making “organizational decisions, how to approach the case, [and

deciding] … the trial strategy.” (Doc. 13-1 at 103-04).


11
  After Butts’s trial, but prior to the state habeas evidentiary hearing, Westin handled three more death
penalty cases, and in none of the three did his client receive a death sentence. (Doc. 13-1 at 97-98).


                                                   -16-
        Case 5:13-cv-00194-MTT Document 34 Filed 10/16/15 Page 17 of 104



        Trial counsel hired Crawford to assist in preparation for trial.12 (Doc. 13-26 at

22-23). Crawford had assisted Westin on at least three of his previous death penalty

cases. (Docs. 10-16 at 42; 13-27 at 18). Prior to Butts’s trial, Crawford had worked on

approximately 600 criminal cases, including at least four capital cases. (Doc. 13-27 at

17-19).

        Westin testified that although he hoped Butts would not be convicted of murder,

they still focused “[a] great deal of” effort on the sentencing phase. (Doc. 13-1 at 55).

Westin, Montford-Ford, and Crawford met every weekend to work on Butts’s case.

(Docs. 13-2 at 3). Westin testified that he reviewed the American Bar Association

handbook on death penalty cases and the Southern Center for Human Rights Manual.

(Doc. 13-1 at 53-54). He also contacted Michael Mears and Palmer Singleton, who were

with the Southern Center for Human Rights, to discuss the case and to get assistance

preparing for trial. (Docs. 13-1 at 128; 13-22 at 67). Westin reviewed the district

attorney’s file and interviewed witnesses listed in the file. (Doc. 13-1 at 105-06).

        Westin, Montford-Ford, and Crawford met with Butts on numerous occasions.

(Docs. 10-16 at 39-41; 13-15 at 49). Crawford had Butts complete a form regarding his

personal history and background. (Docs. 13-1 at 68; 15-19 at 2-16).                       Westin explained

that he never suspected Butts suffered from any mental illness or any mental deficiency.

(Doc. 13-1 at 111). Thus, he thought using the form was appropriate, and he believed

12
  It is unclear exactly when Crawford was hired. At the time she was deposed on March 30, 2007, she did
not have any of her files regarding Butts’s case because they were all destroyed when her office burned in
March 2004. (Doc. 13-26 at 2, 16). The record shows that trial counsel’s motion for funds for paralegal
and investigative services was filed June 23, 1997. (Doc. 8-1 at 101-02). On June 26, 1997, the trial
court held an ex parte hearing and granted $8,000.00 for trial counsel to use as they “deem[ed] fit.” (Doc.
8-7 at 3). The trial court’s order granting “funds for support staff, paralegal services, investigative services,
and psychological testing” was not filed until September 30, 1998. (Doc. 13-28 at 53). However, billing
records show that trial counsel had a conference with Crawford on September 4, 1996 regarding her
“becoming [the] paralegal on [Butts’s] case” and she actually first interviewed Butts on September 6, 1996.
(Docs. 13-26 at 22-23; 13-28 at 30).


                                                      -17-
        Case 5:13-cv-00194-MTT Document 34 Filed 10/16/15 Page 18 of 104



Butts could provide correct information in response to the questions. (Doc. 13-1 at 110).

On the questionnaire, Butts reported he received normal medical attention while growing

up; the family always had food; he spent a lot of time at his grandmother’s house; his “real

father [was] never around”; and he had never been physically or sexually abused.

(Docs. 13-1 at 111; 15-19 at 2-16).

        Crawford spoke with Butts’s family members, including his half-brothers and his

younger half-sister, Tameica Butts.13 (Doc. 13-26 at 122-23). Crawford spoke with

Butts’s uncle, Earnest Waller, briefly on one occasion. However, Waller was intoxicated

at the time, and when she returned to ask additional questions, she was told that he did

not wish to speak with her. (Doc. 13-26 at 133-34). Montford-Ford testified that she

stayed in touch with family members but, by the time of her February 12, 2007 deposition,

she could not recall anything specific about his family or the conversations she had with

them. (Doc. 13-15 at 57). Westin spoke with Butts’s younger half-brother, Dominique

Hurt, and Butts’s uncle, Ernest Waller. (Doc. 13-1 at 121-22).                 According to Westin,

Butts’s mother, Laura Butts, refused to participate in the case. (Doc. 10-16 at 46). He

called her a “nonplayer,” explaining she would not visit his office, refused to talk to

members of the defense team, would not attend hearings, and did not attend Butts’s trial.

(Doc. 13-1 at 63). Laura’s testimony at the state habeas evidentiary hearing supported

Westin’s recollection. Following Butts’s arrest, she met with Montford-Ford once after a

pretrial hearing and met with Westin once or twice for five or ten minutes. (Doc. 13-6 at

123, 132). Laura testified she managed to “sober[] up” in time to attend only one day of


13
  As noted, Crawford’s files were destroyed in 2004. (Doc. 13-26 at 16). When she gave her deposition
on March 30, 2007, almost nine years after Butts’s trial, she had difficulty remembering exactly what tasks
she performed in Butts’s case. Thus, the extent of Crawford’s mitigation investigation is unclear. (Doc.
13-26 at 34, 44, 49-50, 54, 57, 106, 114).


                                                   -18-
        Case 5:13-cv-00194-MTT Document 34 Filed 10/16/15 Page 19 of 104



her son’s trial—the day he was sentenced. (Doc. 13-6 at 124, 133-34). Trial counsel

was unable to locate Butts’s father, Robert Butts, Sr. (Doc. 10-16 at 45-46). Westin

testified that Butts’s maternal great-aunt, Doris Cooper, and maternal grandmother, Mary

Frances Waller, stayed in constant contact with trial counsel, provided background

information, and attended every day of Butts’s trial. (Docs. 10-16 at 46; 13-15 at 58-59).

        On the questionnaire that Butts completed, he listed his former girlfriend, Angela

Simmons, and Westin spoke with her. (Docs. 13-1 at 115; 15-19 at 6). Butts listed

Antonio Redding as a friend, and Crawford spoke with him, as well as other members of

the FOLKS gang, on several occasions. (Docs. 13-26 at 52-55, 61; 15-19 at 5).

        Westin testified he spoke with all of Butts’s previous employers and co-workers.

(Docs. 10-16 at 57; 13-22 at 3-4). He explained that Butts had six or seven jobs in the

past, all of which he had lost due to his inability to get along with people. (Doc. 10-16 at

56-58). For example, Butts lost one job because he got into a fight with a customer.

(Doc. 10-16 at 57).

        Trial counsel reviewed Butts’s school records,14 medical records, employment

records, juvenile and adult criminal records, records from the Baldwin County Department

of Family and Children Services (“DFACS”), records from the Georgia Department of

Human Resources (“DHR”), records from the Oconee Psychoeducational Center, and jail

records. (Docs. 13-1 at 70; 13-2 at 8-12; 13-15 at 129-30; 13-16 at 3; 14-15 at 38 to

14-23 at 90). Trial counsel also reviewed records of Butts, Sr.’s mental illness and

Laura’s alcoholism and cocaine addiction.15 (Docs. 13-2 at 12-13, 27; 14-24 at 1-30).


14
   According to Westin, Butts’s school records revealed that he was an average student until he lost interest
in his education at age 15 or 16. (Doc. 13-2 at 9). At that time he was placed “in the alternative school a
couple of times and finally just quit after failing the tenth grade twice.” (Doc. 13-2 at 9).
15
    During the August 22, 2000 motion for new trial hearing, Westin testified that family members reported


                                                    -19-
        Case 5:13-cv-00194-MTT Document 34 Filed 10/16/15 Page 20 of 104



        On September 4, 1998, the State moved for Butts to undergo a mental evaluation

and he was examined by Dr. Jerold Lower on September 22, 1998. (Docs. 8-3 at

115-17; 10-9 at 66). On November 10, 1998, Lower reported to trial counsel, the district

attorney, and the trial court that

        [f]ormal intellectual testing yielded a score which falls at the bottom of the
        mild range of mental retardation, in the lowest one thousandth of the
        general population. The psychomotor testing also yielded one score at the
        bottom of the borderline range and one score at the bottom of the critical
        range, indicating possible organic impairment of the central nervous
        system. However, in my opinion this testing is invalid. School records
        revealed that Mr. Butts, in his first year of high school, earned passing
        grades in all except one of his courses (which appeared to constitute a
        standard high school curriculum). This is markedly inconsistent with the
        test results or with a diagnosis of retardation….

        My strong impression is that Mr. Butts was definitely not attempting to give
        his best performance on the intellectual test and that his score in no way
        reflects his true ability. Moreover, on the psychomotor tests I had the
        distinct impression that his errors were primarily the result of carelessness
        and lack of involvement in the task.

(Doc. 10-9 at 68-69). Lower opined that Butts “suffers from a long-standing personality

disorder characterized by … poor judgment and impulse control, disregard for social

mores, [and an] inability to form close relationships or become involved in others …

complicated by a great deal of substance abuse.” (Doc. 10-9 at 69). According to

Lower, this personality disorder would be “quite resistant to modification.” (Doc. 10-9 at

70). Lower found Butts was competent to stand trial, was not suffering from any mental


Butts, Sr. had psychological “issues,” and that led him to get records from Central State Hospital. (Doc.
10-16 at 45-46). He explained that Butts, Sr. had been in and out of Central State Hospital as a long-term
patient and had “some significant issues.” (Doc. 10-16 at 45-46). Seven years later, at the September
2007 state habeas evidentiary hearing, Westin at first testified that he was not aware of Butts Sr.’s
psychological problems, and he did not obtain any records of such. (Doc. 13-1 at 71). However, when his
testimony from the motion for new trial was read to him, Westin recalled getting Butts Sr.’s mental health
records. (Doc. 13-2 at 13). The transcript from a June 26, 1997 pretrial hearing confirms that Westin
knew Butts’s “family has a history of treatment at Central State Hospital,” and Westin’s notes showed Butts
Sr. was “in 1/2 way house @ Central State.” (Docs. 8-8 at 42; 15-6 at 57). Thus, it appears Westin
investigated Butts, Sr.’s mental health. However, the Court cannot locate Butts, Sr.’s Central State
Hospital records in the record.


                                                   -20-
       Case 5:13-cv-00194-MTT Document 34 Filed 10/16/15 Page 21 of 104



disorder that would have prevented him from knowing right from wrong at the time of the

crime, had no major disorder of mood or thought, and was not mentally ill or mentally

retarded. (Doc. 10-9 at 69-70).

       Trial counsel had Butts examined by psychologist James E. Stark. (Doc. 15-12 at

3-4). Stark reported to trial counsel that: Butts had low-average intelligence; was

antisocial and impulsive; was frequently in trouble with society or the law; lacked

self-control; was hostile toward, and very suspicious of, others; did not have “any organic

brain dysfunction”; might occasionally have had psychotic episodes; and was “quite

impulsive.” (Doc. 15-12 at 3-4). Stark’s diagnosis was “mood disorder with occasional

psychotic episodes” with “[u]nderlying … antisocial and possibly schizotypal personality

disorder.” (Doc. 15-12 at 4).

       Butts contends this pre-trial investigation was inadequate. (Doc. 24 at 51).

When preparing a capital case, trial counsel “‘has a duty to conduct a reasonable

investigation, including an investigation of the defendant’s background, for possible

mitigating evidence.’” Grayson v. Thompson, 257 F.3d 1194, 1225 (11th Cir. 2001)

(quoting Porter v. Singletary, 14 F.3d 554, 557 (11th Cir. 1994)). “Counsel has ‘no

absolute duty to investigate particular facts or a certain line of defense,’ although in some

circumstances, ‘a complete failure to investigate may constitute deficient performance of

counsel.’” DeYoung, 609 F.3d at 1283 (quoting Parker v. Sec’y for the Dep’t of Corr.,

331 F.3d 764, 787 (11th Cir. 2003)). Nor is counsel “required to pursue every path until it

bears fruit or until all hope withers.” Chandler v. U.S., 218 F.3d 1305, 1318 (11th Cir.

2000) (citation and quotation marks omitted). In this case, the state habeas court found

“that trial counsel’s investigation into [Butts’s] background was reasonable and thorough.”




                                            -21-
        Case 5:13-cv-00194-MTT Document 34 Filed 10/16/15 Page 22 of 104



(Doc. 16-23 at 32).

        Butts argues this finding is unreasonable for several reasons. He alleges that the

state habeas court ignored the fact that trial counsel’s sole focus was the guilt phase of

the trial and they, therefore, conducted only a cursory mitigation investigation. (Doc. 24

at 53). According to Butts, had the state habeas court “scrutinize[d]” Westin’s testimony,

along with that of Montford-Ford and Crawford, it would have realized that trial counsel

interviewed only Butts’s mother, grandmother, and aunt. (Doc. 24 at 64). The record

verifies that trial counsel did consider guilt or innocence to be the “heart” of Butts’s case.

(Doc. 10-16 at 45). Additionally, as the state habeas court acknowledged, it was

“unclear … which member of the defense team was primarily responsible for the pretrial

mitigation investigation.” (Doc. 16-23 at 23). However, the record shows trial counsel

and Crawford spoke with various persons in addition to Butts’s mother, grandmother, and

aunt, including Butts’s half-brothers,16 half-sister Tameica,17 uncle,18 former co-workers

and employers, ex-girlfriend, Redding, and other FOLKS gang members. (Docs. 10-16

at 57-58; 13-1 at 115-16, 122; 13-2 at 17-18; 13-22 at 2-4; 13-26 at 121-23, 133-34; 13-27

at 1, 27).

16
   Citing testimony from Westin’s February 2007 deposition and September 2007 state habeas evidentiary
hearing, Butts alleges Westin “was under the false impression that Mr. Butts had only one sibling, a younger
brother….” (Doc. 24 at 53). What Westin actually said at the state habeas evidentiary hearing was that
he was sure they knew Butts had several half-brothers and half-sisters, he just could not remember them at
the time, which was almost nine years after Butts’s trial. (Doc. 13-1 at 65). Trial counsel were aware of
Butts’s siblings because Butts listed them on the questionnaire trial counsel had him complete and
numerous records obtained by trial counsel showed their names. (Docs.14-23 at 43, 57, 79, 86; 15-19 at
3).
17
  Crawford recalled Tameica “didn’t really have anything to say to [her]. She just wanted [Crawford] to
answer all of her questions.” (Doc. 13-26 at 123).
18
   Crawford recalled speaking briefly with an intoxicated uncle, Ernest Waller. (Doc. 13-26 at 133-34).
When she returned on a later occasion to interview him, she was told to leave. (Doc. 13-26 at 134).
Westin testified that he spoke with Ernest Waller, and he “didn’t want to testify” at Butts’s trial. (Doc. 13-1
at 122).



                                                     -22-
        Case 5:13-cv-00194-MTT Document 34 Filed 10/16/15 Page 23 of 104



        Butts argues that trial counsel should have interviewed more family members,19

his former school teachers, or Laura’s various boyfriends. But “there comes a point at

which evidence from more distant relatives can reasonably be expected to be only

cumulative, and the search for it distractive from more important duties.” Bobby v. Van

Hook, 558 U.S. 4, 11 (2009). Given what trial counsel learned from Butts, family

members, co-workers, employers, ex-girlfriend, Redding, two psychologists, and various

records, their “‘decision not to seek more’ mitigating evidence from [Butts’s] background

‘than was already in hand’ fell within the range of professionally reasonable judgments.’”

Id. at 11-12 (quoting Strickland, 466 U.S. at 699).

        Butts argues the state habeas court unreasonably ignored the unrebutted

testimony from numerous family members and acquaintances who stated that they were

never contacted by trial counsel, but had they been, they would have been willing to

testify for Butts. (Doc. 24 at 54). This Court cannot assume the state habeas court

ignored testimony from Butts’s family members simply because it did not discuss or cite

such testimony in its order. A state court is not required to “accompany its decision with

any explanation, let alone an adequate one.” Gissendaner v. Seaboldt, 735 F.3d 1311,

1329 (11th Cir. 2013) (citations omitted). Fully explained or not, this Court must give the

state court’s opinion the “benefit of the doubt.” Lee v. Comm’r Ala. Dep’t of Corr., 726

F.3d 1172, 1212 (11th Cir. 2013) (quoting Woodford v. Visciotti, 537 U.S. 19, 24 (2002)).

        The state habeas court obviously believed Westin, Montford-Ford, and Crawford’s

testimony that they contacted several family members, but they were unable to find any of

19
   Butts faults trial counsel for failing to interview his biological father. Apparently they were not able to find
him. As discussed, trial counsel knew Butts, Sr.’s was Butts’s biological father and that he had mental
issues. (Doc. 10-16 at 45-46). Westin testified that they were “never able to locate him.” (Doc. 10-16 at
45-56). It is not clear what Butts, Sr. could have added. He did not testify or provide an affidavit during
the state habeas proceeding.


                                                       -23-
        Case 5:13-cv-00194-MTT Document 34 Filed 10/16/15 Page 24 of 104



them willing to testify for Butts.20 (Docs. 10-16 at 46-47; 13-1 at 120-21; 13-15 at 106-07;

13-27 at 32-33). According to Westin:

        [T]here’s nothing you would like better in a case like this to have a mom or
        grandmom or an aunt or somebody get up here and cry and say, he’s a
        good boy. Made the wrong decision…. And, you know, they wouldn’t do
        it. I mean they would not do it. I begged them to do it and they would not.

(Doc. 10-16 at 46-47).

        Moreover, Westin worried that family members’ testimony might not be helpful:

        [T]heir opinion of him, even these two, the aunt and the grandmother said
        he was a cold-blooded killer. His brother looked up to him because he was
        in a gang, and his mother wouldn’t even come to the hearing, she didn’t
        care. She never came to the pretrial hearing. She didn’t come to the trial.

        I mean, I was told by the people who probably knew him better than
        anybody, probably his real people who raised him, he was going down the
        wrong road early on and they weren’t surprised at all that he was involved in
        this.

(Docs. 13-22 at 3). Westin stated that Butts’s aunt and grandmother, “who were

probably the closest people to [Butts]” told him “they couldn’t get up and say a good thing

about [Butts], they’d have to tell the truth.” (Doc. 13-1 at 120).

        Butts acknowledges that trial counsel “collect[ed] a number of records … prior to

trial.” (Doc. 24 at 69). He claims, however, that they failed to “identify red-flags, gather

additional investigative leads, and … assess the value of the records as evidentiary



20
    Butts argues that Laura’s testimony at the state habeas evidentiary hearing directly contradicts Westin’s
testimony that she would not talk to trial counsel, attend hearings, or testify at trial. (Doc. 24 at 55-56). At
the state habeas evidentiary hearing, Laura stated that she would have testified at trial if she had been
asked and if she had been sober. (Doc. 13-6 at 123-24). Butts calls this testimony “particularly
instructive” and argues that it shows “no one on the defense team ever conducted a substantive interview of
her.” (Doc. 24 at 56-58). He also argues that the fact she testified at the state habeas evidentiary hearing
when asked proves she would have testified at Butts’s trial if asked. (Doc. 24 at 57). It does not. Butts’s
trial occurred nine years before the state habeas evidentiary hearing, and Laura admitted she was too
intoxicated from alcohol and/or drugs to even show up for his trial until the very last day. (Doc. 13-6 at
121-23; 130-31). When her testimony is read as a whole, it supports Westin’s recollection that they were
unable to get Laura involved in Butts’s case—she would not attend meetings, failed to show up for hearings,
and would not even talk to them. (Doc. 13-1 at 63).


                                                     -24-
        Case 5:13-cv-00194-MTT Document 34 Filed 10/16/15 Page 25 of 104



exhibits during the penalty phase.” (Doc. 24 at 69). Trial counsel obtained most, if not

all, of the records that were submitted by state habeas counsel. (Docs. 13-1 at 70; 13-2

at 5, 8-14; 13-15 at 129-30; 13-16 at 3; 14-15 at 38 to 14-23 at 90). From these records,

trial counsel learned of Laura’s drug and alcohol abuse, Butts, Sr.’s mental health issues

and his absence from the home, and Dominique’s behavioral problems. (Docs. 10-16 at

45-46; 13-2 at 8-13; 14-23 at 36-90). They knew the records suggested that Butts had

been neglected, but there was nothing in the records about physical or sexual abuse, and

Butts denied any such abuse.21 (Docs. 13-1 at 111-13; 13-2 at 14-15). School records

verified that Butts was an average student until around age 15 or 16 when he had to be

placed in an alternative school for behavioral problems. (Docs. 13-1 at 112; 14-15 at 47,

49, 77, 87; 14-16 at 6, 28, 32-33; 14-17 at 3, 5, 35-37).

        Butts argues that if trial counsel had carefully reviewed the records, they would

have learned that Laura left 13 to 15 year old Butts and his siblings alone for days at a

time while she abused crack cocaine and alcohol. (Doc. 24 at 71). The record shows

trial counsel were aware that Butts’s mother “wasn’t around very much” and Butts, Sr.

was not involved in Butts’s life. (Doc. 13-1 at 113, 122-23). Westin testified that he

knew Laura was a neglectful mother, who “didn’t care much about what was going on with

her son.” (Doc. 13-1 at 64). He explained,

        the two that I spent the most time with was his grandmother and his aunt
        and you’ve got to remember, I think this is his mother’s mother, okay? …
        I’m almost certain. And so she didn’t want to say an awful lot of bad stuff
        about his mother, but it was pretty clear that he didn’t have a lot of guidance

21
   At the state habeas evidentiary hearing, the only testimony of any type of physical abuse was Laura’s
statement that one of her boyfriends, Isaac Jones, once threw Butts to the floor, put his knee in Butts’s back,
and pulled Butts’s arms behind his back. (Doc. 13-6 at 118). Butts’s half-sister testified that she could not
recall any type of physical abuse, and Butts’s mitigation expert testified that Butts was not physically
abused. (Doc. 13-4 at 76-77, 109-10). Prior to trial, Butts reported that he had not been physically or
sexually abused. (Doc. 15-19 at 3-4).


                                                     -25-
       Case 5:13-cv-00194-MTT Document 34 Filed 10/16/15 Page 26 of 104



      when he was growing up. It was pretty clear. Men in and out, didn’t know
      his father, mother apparently had some problems, criminal, drug, alcohol. I
      know she was just nonexistent during the trial….

(Doc. 13-1 at 122-23).

      However, Westin testified that his “impression” and what he was actually told by

Butts and his family members is that Butts’s grandmother and aunt, who “were just

wonderful people,” “essentially raised … Butts.” (Doc. 13-2 at 14-15). Butts reported

that he “spent a lot of time at [his grandmother’s] house [and] she helped raise him.”

(Doc. 15-19 at 5). The records they obtained verified this. Butts’s school records and

probation file showed his grandmother as the contact person. (Doc. 13-7 at 24-25).

Additionally, records obtained from DHR and DFACS showed his grandmother, uncle,

and Harold Burton, one of Laura’s long-term live-in boyfriends, took care of the Butts

children. (Doc. 13-7 at 17-18).

      In its conclusion regarding trial counsel’s sentencing phase investigation, the state

habeas court found:

      The record is clear that trial counsel obtained [Butts’s] background records
      and information regarding [Butts’s] family members. Trial counsel were
      aware of the substance abuse problems of [Butts’s] mother, the mental
      health problems of [Butts’s] father, the behavioral problems of [Butts’s]
      brother Dominique, and [Butts’s] dysfunctional family life, which trial
      counsel described as neglectful. [Butts] has failed to establish that trial
      counsel were deficient in their investigation prior to trial.

(Doc. 16-23 at 32-33). This Court is unable to say that “no ‘fairminded jurist’ could agree

with” this determination. Holsey v. Warden, 694 F.3d 1230, 1257 (11th Cir. 2012)

(quoting Richter, 562 U.S. at 101). Therefore, the state habeas court’s finding that trial

counsel’s pretrial mitigation investigation was sufficient was reasonable and cannot be

upset by this Court.




                                           -26-
       Case 5:13-cv-00194-MTT Document 34 Filed 10/16/15 Page 27 of 104



               c. Trial counsel’s failure to hire a mitigation expert

       According to Butts, the 1989 American Bar Association Guidelines for the

Appointment and Performance of Counsel in Death Penalty Cases (“Guidelines”) and the

capital case training manual (“Manual”) published by the Southern Center for Human

Rights both stress the need to employ a “mental health clinician or forensic social worker,

who could explain the significance of [a defendant’s] social and family history.” (Doc. 24

at 95). Trial counsel did not hire such an expert, and the state habeas court found their

failure to do so did not amount to deficient performance. (Doc. 16-23 at 35 n.9). Butts

argues this ruling constituted an unreasonable application of Strickland because the

Guidelines and Manual show trial counsel’s conduct “‘fell below prevailing professional

norms.’” (Doc. 24 at 98) (quoting Strickland, 466 U.S. at 688). Also, he claims the state

habeas court’s decision was based on the unreasonable factual determination that

Westin could develop mitigating evidence without the assistance of a mitigation expert.

(Doc. 24 at 98).22

       The Guidelines and Manual are “are ‘only guides’ to what reasonableness means,

not its definition.” Van Hook, 558 U.S. at 8 (quoting Strickland, 466 U.S. at 688). Butts

cites no Supreme Court precedent holding that trial counsel must retain a mitigation

expert, and his reliance on Wiggins v. Smith, 539 U.S. 510 (2003), is misplaced. In

Wiggins, testimony revealed that it was “standard practice in Maryland in capital cases at

the time of Wiggins’s trial” to have a social history report prepared. Id. at 524. “Despite

the fact that the Public Defender’s office made funds available for the retention of a

forensic social worker, counsel chose not to commission such a report.” Id. Thus, trial


22
  The Court has already determined that Westin, along with Montford-Ford and Crawford, conducted a
reasonable mitigation investigation.


                                                -27-
       Case 5:13-cv-00194-MTT Document 34 Filed 10/16/15 Page 28 of 104



counsel’s actions fell below “the professional standard that prevailed in Maryland” at the

time of Wiggin’s trial. Id. The Court “did not find counsel’s failure to utilize a social

worker per se ineffective; rather, it was that such failure rendered counsel’s performance

deficient under the relevant professional standards.” Newland v. Hall, 527 F.3d 1162,

1206 (11th Cir. 2008) (citing Wiggins, 539 U.S. at 524-25).

       Butts proffered no evidence that professional standards in the Ocmulgee Judicial

Circuit or Georgia in 1998 required using a mitigation expert. To the contrary, testimony

revealed that mitigation experts were not routinely used in death penalty cases. Westin

stated that he employed mitigation experts in two previous cases in which mental health

issues warranted it. (Doc. 13-1 at 61-62, 67). However, he had “never been a big …

fan of them unless [he] had a specific issue.” (Doc. 13-1 at 68). He opined that “if you

were to talk to a lot of people that have been death penalty qualified, have tried a lot of

cases like I have, they would probably agree that they’re not all they’re cut out to be.”

(Doc. 13-1 at 68). District Attorney Fred Bright, who had been a prosecutor in the

Ocmulgee Judicial Circuit for 13 years at the time of Butts’s trial, testified that he did not

believe it was “effective to have both witnesses and an expert who can explain what all

those witnesses’ testimony means.” (Doc. 13-6 at 35). He explained that he rarely

sees mitigation experts testify in death penalty cases. (Doc. 13-6 at 33). In fact, he had

been involved in approximately 25 death penalty cases and he could recall only one

mitigation expert testifying during sentencing. (Doc. 13-6 at 33-34). Of course, the

Court is not suggesting that prosecutors can set performance standards for defense

counsel. The point is that neither legal authority nor actual experience supports Butts’s

argument that a defense lawyer must hire a mitigation expert.




                                             -28-
        Case 5:13-cv-00194-MTT Document 34 Filed 10/16/15 Page 29 of 104



        Therefore, the state habeas court’s finding that trial counsel did not perform

deficiently when they failed to hire a mitigation expert was not factually or legally

unreasonable.

                d. Trial counsel’s trial strategy and presentation

        Westin testified that trial counsel’s mitigation investigation yielded little helpful

information. (Doc. 10-16 at 56-57). The investigation revealed Butts had a “tough

upbringing” as “do a lot of kids,” but Westin did not think Butts’s “upbringing was

extremely different from anybody else’s, many other young men.” (Doc. 13-1 at 123).

Westin felt that jurors in the Ocmulgee Judicial Circuit were not as sympathetic to the fact

that someone had a bad childhood as they may have been at one time. (Doc. 13-2 at

12-13). He explained, “there’s just been too many high publicity cases where people

claim that they were victims and so now somehow that mitigates what they may or may

not have done.” (Doc. 13-2 at 13).

        Specifically, Westin testified that no former employer would speak favorably about

Butts. (Doc. 13-1 at 119). Also, no family member was willing to testify for Butts.

(Doc. 10-16 at 47). Westin stated he “[c]ouldn’t have drug them up there with wild

horses.” (Doc. 13-1 at 123). Westin could not call jailers to speak favorably about Butts

because he had been in a fight with another inmate, threatened to hit a guard, and started

a fire in his cell.   (Docs. 10-6 at 33-35; 10-7 at 1-13). Westin explained that “[o]utside

of his aunt and grandma, there was nobody that could say a kind word about him,” and

even they refused to testify on his behalf. (Docs. 10-16 at 58; 13-1 at 120).

        Instead of using mitigation witnesses, trial counsel opted to use a residual doubt or

lingering doubt theory at sentencing. Their theory of the case was that Wilson, who was




                                               -29-
       Case 5:13-cv-00194-MTT Document 34 Filed 10/16/15 Page 30 of 104



the leader of the FOLKS gang and already serving a death sentence, led Butts down the

wrong path, and it was Wilson who actually killed Parks. (Docs. 13-1 at 57; 13-2 at 16).

“Our strategy from the very beginning in this case was to shift all of … the blame … to Mr.

Wilson…. Our … trial strategy from early on was that Mr. Butts was an unknowing and

unwilling participant in this really unfortunate event.” (Doc. 10-16 at 8). The “thrust”

was that Butts should be acquitted but, if not, residual doubt should prevent the imposition

of the death penalty. (Doc. 10-16 at 18-19). Westin explained:

       We had a real shot at – if not an outright acquittal – a verdict of something
       less than first degree murder…. [W]e felt like even … if we lost in the guilt
       and innocence phase … and he gets convicted of murder…. residual doubt
       … was going to flow right through to the sentencing phase and … coupled
       with Mr. Wilson’s prior record, and the fact that he was already on death
       row, that … was an effective argument to make to this jury that there was
       just one gunshot and there’s already a man on death row for that killing.

(Doc. 10-16 at 18-19). Westin summed up his strategy for sentencing: “I was just trying

to keep it as simple as I could…. [T]he lowest common denominator, basically, in this

case …was who done it … and if he didn’t do the shooting, then he shouldn’t get the death

penalty.” (Doc. 13-2 at 36).

       In his opening statement and closing argument during the guilt phase, Westin

argued that Butts was guilty of only stealing Parks’s car. (Docs. 9-7 at 61; 10-4 at 21).

He was not guilty of murder because Butts did not know, or have reason to know, that

Wilson would murder Parks. (Doc. 9-7 at 52-57, 61). He claimed Butts never saw

Wilson with a gun on the night of the murder, and, other than asking Parks for a ride, there

was nothing linking Butts to Parks’s murder. (Docs. 9-7 at 58-60; 10-4 at 34). Westin

claimed that Butts did not exit the car while Wilson and an unidentified third person in a

truck murdered Parks. (Doc. 9-7 at 51-53). The jury was told that Wilson had been




                                            -30-
        Case 5:13-cv-00194-MTT Document 34 Filed 10/16/15 Page 31 of 104



found guilty of murdering Parks and sentenced to death. (Doc. 9-7 at 51, 64).

        Through witnesses called during the guilt phase, Westin tried to establish that

Wilson owned the murder weapon, but he did not have it in the car on the night of the

murder. Instead, a third person, with whom Wilson had contact that night, had the gun

and brought it to Felton Drive, where this other person and Wilson used it to murder Parks

while Butts waited in the car.23 (Docs. 9-7 at 122, 129-30, 133; 9-8 at 69, 72-73, 82; 10-1

at 127, 130, 10-2 at 14-16, 91).

        During the guilt phase, Butts testified24 that on the night of the murder, he and

Wilson were driving around looking for a car to steal because Wilson needed money.

(Doc. 10-2 at 116-17). He explained that Wilson lost all of his money gambling and had

no way of making more because his drugs had been stolen. (Doc. 10-2 at 116). Wilson

hoped to steal a car to sell to a chop-shop in Atlanta. (Doc. 10-2 at 116-17). When they

were unable to locate a car to steal, Wilson instructed Butts that he should ask someone

for a ride so they could steal the person’s car. (Doc. 10-2 at 120). Butts agreed and

they drove to the Wal-Mart where Wilson talked to “some guy” in the parking lot. (Doc.

10-2 at 121). Butts entered the Wal-Mart to purchase gum and when he returned,

Wilson instructed him to ask Parks for a ride. (Doc. 10-2 at 123). Butts did so and when

Parks agreed, Butts got in the front passenger seat, Wilson got into the back seat behind

Parks, and the other man, to whom Wilson had been speaking, got into the backseat

beside Wilson. This other person exited the car before Parks, Wilson, and Butts left the



23
  The State countered this version of events with evidence that Butts told two of his fellow inmates that he
was the one who actually shot Parks. (Doc. 9-14 at 43-45, 102).
24
   Westin stated that Butts wanted to testify on his own behalf, and Westin agreed with his decision, thinking
it would provide an opportunity to “humanize” Butts. (Doc. 13-20 at 29). Westin spent 12 to 15 hours
preparing Butts to testify. (Docs. 10-16 at 47; 13-20 at 29).


                                                    -31-
        Case 5:13-cv-00194-MTT Document 34 Filed 10/16/15 Page 32 of 104



parking lot in Parks’s car. (Doc. 10-2 at 124). As Wilson directed Parks to turn onto

Felton Drive, a truck drove up behind Parks’s vehicle and flashed its lights. (Doc. 10-2 at

125). Wilson told Parks to stop the car because he thought he knew the driver of the

truck. (Doc. 10-2 at 125). When Parks stopped, Wilson exited the car, opened the

driver’s side door, “snatched [Parks] out [of] the car by his tie,” and drug him to the back of

the car. (Doc. 10-2 at 125-26). While Butts remained in Parks’s car, he overheard

someone say “give us all your money,” and then heard a gunshot. (Doc. 10-2 at 126).

Butts testified that he never got out of the car, and he never saw Wilson with a gun the

night of the murder. (Doc. 10-2 at 117, 127). After hearing the gunshot, Butts claimed

that he was “scared,” “upset,” “sick at the stomach,” and afraid of Wilson. (Doc. 10-2 at

128-29).25

        During the sentencing phase, the State presented evidence of Butts’s criminal

history. In March and April 1994, when he was 16, Butts committed three burglaries and

one attempted burglary. (Doc. 10-5 at 36-44, 59-65, 108-10). Although Butts agreed to

return the items he had stolen, he never did. (Doc. 10-5 at 65). He failed to report to his

probation officer on a regular basis, showing up only two or three times between August

1994 and May 1996. (Doc. 10-5 at 123). In March 1996, his probation officer filed a

petition to revoke Butts’s probation because of his failure to report and pay restitution.

(Doc. 10-5 at 126-28). His probation was not revoked because Butts was employed at

the time and the court wanted to give him an opportunity to pay restitution to the burglary

victims. (Doc. 10-5 at 127-28). He never did. He paid only $50.00 of the $1,223.23

restitution he owed. (Doc. 10-5 at 121).


25
   After Butts’s testimony and closing arguments, it took the jury approximately one hour and five minutes to
find him guilty on all counts. (Doc. 10-5 at 11, 15).


                                                    -32-
        Case 5:13-cv-00194-MTT Document 34 Filed 10/16/15 Page 33 of 104



        In January 1995, 17 year old Butts pumped gas into his car and drove off without

paying. (Doc. 10-5 at 132).

        In October 1995, Milledgeville police officers responded to a call that shots were

being fired in the vicinity of the Milledgeville Manor Apartments (“the Manor”).26 (Doc.

10-6 at 13). When an officer stopped Butts and several other men in the area, Butts

threw down a matchbox and started to walk away. (Doc. 10-6 at 13-14). At gunpoint,

the officer ordered him to stop and retrieved the matchbox, which contained crack

cocaine. (Doc. 10-6 at 14). Officers frisked Butts and found a loaded .380 caliber

semi-automatic handgun. (Doc. 10-6 at 16). Butts was charged with violation of the

Georgia Controlled Substances Act, possession of cocaine, and carrying a concealed

weapon. (Doc. 10-6 at 17).

        In November 1995, Butts was fined $500.00 and placed on 12 months probation

for shoplifting. (Docs. 10-5 at 151-52; 10-6 at 7-9).

        In January 1996, Butts pled nolo contendre to driving under the influence. (Doc.

10-5 at 140-42).

        Also at sentencing, the State presented evidence that police found cocaine and a

holster in Butts’s car when it was searched following his arrest for Parks’s murder. (Doc.

10-7 at 17-19, 38). They also found FOLKS gang paraphernalia in Butts’s home, room,

and car. (Docs. 10-5 at 67, 69, 73-74, 86; 10-7 at 29 32, 34-37).

        The State also presented evidence that after Butts was jailed for Parks’s murder,

he had been in a fight with another inmate, threatened a guard, started a fire in his cell,



26
  The Milledgeville Manor Apartments are referred to in various places in the record as “the Manor.”
(Docs. 9-8 at 71; 9-11 at 143; 10-2 at 144-45). It is a low income housing project that is “notorious” for
gang-related and non-gang-related crime. (Doc. 13-3 at 29-30).


                                                    -33-
          Case 5:13-cv-00194-MTT Document 34 Filed 10/16/15 Page 34 of 104



and wrote OG27 on his tennis shoes. (Docs. 10-6 at 33-35; 10-7 at 1-13).

          Through cross-examination of the State’s sentencing phase witnesses, trial

counsel established that none of the gang paraphernalia found in Butts’s home had his

name on it, and that it may have belonged to one of his siblings; Butts’s name was not on

the list of known gang members, and, until Park’s murder, the authorities had no

information that Butts was involved in gang activity; Wilson was the leader of the local

FOLKS gang; and, while Butts was not a model inmate, he was not the worst prisoner

jailers had encountered. (Docs. 10-5 at 103-04; 10-6 at 1, 40; 10-7 at 42-43).

          Trial counsel presented the testimony of an expert polygraphist, Georgia Bureau of

Investigation (“GBI”) special agent David Rush. (Doc. 10-7 at 54). Rush testified that

he performed a voluntary polygraph examination of Wilson. (Doc. 10-7 at 61-62). Rush

testified that “[i]t was [his] opinion, based on the polygraph exam that Mr. Wilson was the

shooter.” (Doc. 10-7 at 67).

          Trial counsel had Sheriff Howard Sills read a portion of his testimony from Wilson’s

trial. (Doc. 10-7 at 78). In this testimony, Sills stated that Butts had committed no

violent felonies in the past. (Doc. 10-7 at 80, 84). His criminal records consisted mainly

of misdemeanor convictions, and his only prior felonies were violation of the Georgia

Controlled Substances Act, possession of a firearm during commission of a crime, and

concealing a weapon; all of which stemmed from his October 1995 arrest. (Doc. 10-7 at

80-81).

          In his closing argument, Westin told the jury that they did not have to sentence

Butts to death just because the State proved Parks was robbed and murdered. Instead,

they should consider the “principle ... called residual doubt.” (Doc. 10-7 at 109). He
27
     OG stands for “original gangster” in gang terminology. (Doc. 10-7 at 12-13).


                                                    -34-
          Case 5:13-cv-00194-MTT Document 34 Filed 10/16/15 Page 35 of 104



argued Butts was young and mistakenly let Wilson lead him into this situation. While

Butts was culpable, “his culpability may not rise to the level of execution.” (Doc. 10-7 at

112). Westin told the jury that the following facts made it more likely that Wilson, not

Butts, was the shooter: the murder weapon was found at Wilson’s home; Wilson was a

violent person with an “extensive criminal history,” while Butts’s criminal career was brief

and consisted of mainly misdemeanors; Wilson was the leader of the FOLKS gang, but

Butts was not even known to be a gang member; and there was testimony that Butts was

in a daze following the murder.28 (Doc. 10-7 at 110-13).

          The state habeas court found that trial counsel, after conducting the defense

investigation, made a strategic decision “to present a mitigation theory of residual doubt”

instead of evidence of Butts’s family life or background. (Doc. 16-23 at 32). The court

found this strategy was reasonable. (Doc. 16-23 at 31-33). Next, the state habeas

court determined that trial counsel’s actual presentation of evidence and argument to

support the residual doubt theory was reasonable. (Doc. 16-23 at 34-35). Butts argues

that these findings were factually and/or legally unreasonable. (Doc. 24 at 83-95).

          Westin testified that trial counsel made the “conscious decision” to use residual

doubt:

          Q. You collected all of this information and evidence on [Butts’s]
          background, and you previously stated that you made a conscious decision
          not to put it up. What was your reason for that?

          A. Most of it really wasn’t positive. The only spin today that I can put on it
          that would be positive is that because his mother had some, a lot of issues
          and neglected him and unfortunately he didn’t, either the aunt and the
          grandmother came in too late, but for whatever reason, he was, I could have
          used that spin, he was a victim because he was brought up in a neglected
          household, was able to run the streets, nobody could control him, he didn’t
          have a father figure, he was a victim, society made him what he was. But
28
     The jury returned a death sentence in approximately 48 minutes. (Doc. 10-7 at 136).


                                                   -35-
      Case 5:13-cv-00194-MTT Document 34 Filed 10/16/15 Page 36 of 104



      that almost gives up the point that he wasn’t the killer. You see what I’m
      saying? On the one hand you’re trying to get this jury to say, to understand
      our position, that he didn’t shoot Mr. Parks, but if you’re saying that he was
      a victim, they made him do this, then you’re sort of counterproductive, if that
      makes any sense.

      But I will say this. I laid awake … hours upon hours upon hours, and I
      talked it through with myself, I talked it through with my staff or the people
      that were working for me, [Crawford], [Montford-Ford], the aunt, the
      grandmother. This wasn’t a decision I made by myself but it was a
      conscious decision to do it just as it was done, no more and no less. It
      probably could have been done better but –

      Q. And that conscious decision was to focus on residual doubt during
      mitigation?

      A. Residual doubt. I felt like if we could carry the fact over from the – I
      mean, if he was convicted, which there was a high probability, there is no
      question about that, I mean, he’s a party to the crime …, but it’s better than
      being the shooter in this case. And I felt like the jury might give him the
      benefit of the doubt since … Wilson had already had been convicted. They
      already had their man. He was already up here on death row, and there
      was only one shot fired. So, that was how we, that’s how I approached it.

(Doc. 13-2 at 22-23).

      Despite this testimony, Butts argues that one phrase Westin said in his closing

argument—“taking into account what I believe I could easily infer to you as a lack of any

family structure”—shows Westin did not strategically choose to exclude such evidence.

(Docs. 10-7 at 122; 24 at 35). Westin ended his closing argument by saying

      I stand here hat in hand. Robert cannot stand here. Unfortunately, he
      has to rely on – on me. I may not have done a very good job talking for him
      and on his behalf. But I’m the only one here who can talk for him. And I’m
      going to just do some real talking right now. I’m standing here hat in hand,
      asking you to think about all of the–the facts and circumstances of this case;
      all of the dynamics involved; what may have happened and what may not
      have happened; taking into account the youth of this young man; taking into
      account what I believe I could easily infer to you as a lack of any family
      structure; taking into account his—his getting with older men—other young
      men, but older than him who were influencing him down a very bad road;
      taking into account the lure of being—trying to be older than we really are.
      Very common. Taking all that into consideration and weighing it



                                           -36-
        Case 5:13-cv-00194-MTT Document 34 Filed 10/16/15 Page 37 of 104



        against—weighing it right along with the fact that whatever happens to
        Robert as a result of your sentence will not change the pain that anyone in
        this courtroom’s feeling. And I am asking you, hat in hand, to find a reason,
        if you would, just do that one favor for me, think about it, and give life a
        chance. Thank you.

(Doc. 10-7 at 121-22).

        Looking at the phrase, “taking into account what I believe I could easily infer to you

as a lack of any family structure,” in context, the Court cannot find it undermines Westin’s

assertion that he deliberately chose to use residual doubt instead of background

evidence during sentencing. Rather, Westin’s closing argument as a whole, along with

the evidence presented during both phases of trial, all support trial counsel’s “strategy …

to shift all of that attention—to actually shift the blame in this case to Mr. Wilson.” (Doc.

10-16 at 8). Certainly, this phrase alone would not allow the Court to say that no

“fairminded jurist” could agree with the state habeas court’s factual finding that trial

counsel strategically chose to use residual doubt instead of background evidence. See

Richter, 562 U.S. at 101 (holding factual finding unreasonable only if no “fairminded jurist”

could agree with it); Provenzano v. Singletary, 148 F.3d 1327, 1330 (11th Cir. 1998)

(explaining that “[t]he question of whether an attorney’s actions were actually the product

of a tactical or strategic decision is an issue of fact, and a state court’s decision

concerning that issue is presumptively correct”).

        Butts argues that “Westin’s claim … that ‘residual doubt’ was a carefully thought

out strategy … is … undermined” by Westin’s concession during his closing that the State

had proven the existence of the alleged statutory aggravating circumstance—that the

murder was committed during the commission of an armed robbery.29 (Doc. 24 at 88).


29
   Butts also argues that, in addition to casting doubt on whether trial counsel were deliberately pursuing a
strategy of residual doubt, Westin’s concession that the statutory aggravating factor had been proven


                                                    -37-
        Case 5:13-cv-00194-MTT Document 34 Filed 10/16/15 Page 38 of 104



After telling the jury that the State had proven the killing took place during an armed

robbery, Westin told the jury that their “inquiry goes much deeper.” (Doc. 10-7 at 109).

He told them that they did not have to sentence Butts to death “simply because [they] …

found a statutory aggravating circumstance.” (Doc. 10-7 at 109). Instead, they should

consider that Wilson was likely the triggerman because the gun was found at his home,

he was the leader of the FOLKS gang, and he was a violent person with an extensive

criminal record. (Doc. 10-7 at 110-11). Westin asked the jury not to impose the ultimate

penalty of death if they thought Wilson was the shooter and if they believed Butts’s

culpability did “not rise to the level” of execution. (Doc. 10-7 at 112). Thus, conceding

that the jury could find Parks was killed during the commission of an armed robbery did

not undermine trial counsel’s strategy to put as much blame as possible on Wilson and

make the jury believe Wilson was the actual shooter.

        When making the factual determination that Westin strategically chose to use

residual doubt, the state habeas court quoted Westin’s testimony from the motion for new

trial hearing. (Docs. 10-16 at 19; 16-23 at 20). Westin testified that Wilson’s criminal

record was part of the reason he chose to use residual doubt, and he “brought in Mr.


amounted to ineffective assistance. (Doc. 24 at 88). On appeal, the Georgia Supreme Court denied this
claim. Butts, 273 Ga. at 770, 546 S.E.2d at 484. The court held that “[b]ecause the jury had just found
Butts guilty of armed robbery beyond a reasonable doubt in the guilt phase, it was reasonable for counsel to
concede that point and to argue for a sentence less than death based on other factors.” Id. Without
citation to authority, Butts argues this finding was unreasonable because “[i]t is simply per se unreasonable,
if trial counsel’s strategy was allegedly residual doubt, to concede to the jury the presence of an aggravating
factor.” (Doc. 24 at 89). Trial counsel informed the jury that the court would instruct them that they did
“not have to sentence Robert to death simply because [they] … found a statutory aggravating
circumstance.” (Doc. 10-7 at 109). Instead, they should consider “residual doubt” regarding whether
Butts was the actual shooter. (Doc. 10-7 at 109-11). Westin implored them to consider that it was more
likely that Wilson, not Butts, shot Parks and, therefore, Butts’s “culpability [did] not rise to the level of that
most final of all sentences.” (Doc. 10-7 at 112). The Georgia Supreme Court’s decision—that trial
counsel were not ineffective when they argued for a sentence less than death based on these “other
factors”—was not legally or factually unreasonable. Butts, 273 Ga. at 770, 546 S.E.2d at 484. Indeed, if
anything is “per se unreasonable,” it is Butts’s argument that Westin should have argued to jurors, who had
found Butts guilty of armed robbery based on essentially undisputed evidence that an armed robbery had
occurred, that there was no robbery.


                                                      -38-
        Case 5:13-cv-00194-MTT Document 34 Filed 10/16/15 Page 39 of 104



Wilson’s prior record; … [and] read from the sentencing phase of Mr. Wilson’s trial, that he

had shot at least two people that I recall; shot a dog.” (Docs. 10-16 at 19; 16-23 at 20).

Butts correctly points out that trial counsel did not present Wilson’s record to the jury.

(Doc. 29 at 42). Butts argues Westin was trying to “bolster his allegedly tactical decision

to pursue a strategy of residual doubt” by misstating the evidence that he presented at the

sentencing phase and the state habeas court unreasonably “rubber stamp[ed]” his

testimony. (Doc. 29 at 42). Notwithstanding the inaccuracy of Westin’s recollection of

what he presented during sentencing, the state habeas court’s factual finding that Westin

made the strategic decision to pursue residual doubt remains supported. Westin

testified that he chose residual doubt because they were unable to locate family members

who would testify for Butts, there was no physical evidence linking Butts to the murder

weapon, Wilson was older than Butts and was a gang leader, and Wilson had already

been found guilty of murdering Parks and was on death row. (Doc. 10-16 at 18-19).

The Court finds that the state habeas court’s ultimate conclusion that Westin made the

strategic choice to use residual doubt rests on sufficient factual bases apart from any

unreasonable finding regarding what Westin ultimately presented at the sentencing

hearing.30 Pineda v. Warden, Calhoun State Prison, 2015 WL 5521565, at *2 (11th Cir.

2015) (determining that the state court’s ultimate conclusion was entitled to deference

because it was based on adequate facts in spite of one incorrect and unreasonable

factual finding); Gill v. Mecusker, 633 F.3d 1272, 1292 (11th Cir. 2011) (questioning

whether the state court’s ultimate determination rests on a sufficient factual basis apart

30
   Perhaps a better argument would be that trial counsel were ineffective for failing to present Wilson’s
record during sentencing. In a September 4, 1998 pretrial hearing, trial counsel discussed their desire to
present Wilson’s criminal record, including his juvenile record, during sentencing. (Doc. 8-10 at 92-95). It
is unclear why Wilson’s record was not presented. However, Butts did not raise this argument before the
state courts, and he does not make it here.


                                                   -39-
        Case 5:13-cv-00194-MTT Document 34 Filed 10/16/15 Page 40 of 104



from erroneous factual finding).

        In addition to finding that trial counsel made a strategic choice to use residual

doubt instead of background evidence, the state habeas court found their decision to do

so was reasonable. (Doc. 16-23 at 19-22). As explained above, trial counsel

conducted a thorough investigation into Butts’s life history.31 They determined that “[t]his

was not so much a case where we had a lot of mitigation”: although Butts was neglected

by his mother and father, his grandmother and aunt “raised him”; there was no evidence

that he was ever physically or sexually abused; the family had adequate food; he received

adequate medical care; he was an average student until age 15 or 16, when he “went to

alternative school twice … for class disruptions, fights”; employment records revealed he

managed to find employment but lost most of his jobs due to fighting with co-workers,

supervisors, or customers; and jail records showed he had to be transferred for fighting

with other inmates and starting a fire in his jail cell. (Docs 10-16 at 18, 56-57; 13-1 at

110, 119; 13-2 at 7-9; 14-15 at 38; 14-17 at 37). While Westin thought that Butts’s

childhood had been difficult and knew that his mother was addicted to alcohol and drugs,

he believed, based on his years of experience in the Ocmulgee Judicial Circuit, that “the

bad childhood thing doesn’t play as well as it did at one time…. Jurors aren’t as

sympathetic to … the fact that somebody’s just had a, kind of a bad” childhood. (Doc.

13-2 at 12). Also, no family members were willing to testify for Butts or about Butts’s

background. (Docs. 10-16 at 46-47, 58; 13-1 at 120-23).




31
   Butts argues that even if trial counsel’s strategy was to use residual doubt, their choice “was not based on
a sound investigation and therefore was unreasonable and deserves no deference.” (Doc. 24 at 86). The
Court has already considered the record and determined that trial counsel’s investigation into possible
mitigating evidence was reasonable. (See pages 16 to 26 of this Order).


                                                     -40-
       Case 5:13-cv-00194-MTT Document 34 Filed 10/16/15 Page 41 of 104



       With these factors in mind, and after discussing the issue on numerous occasions,

trial counsel decided to use a residual doubt strategy. (Doc. 10-16 at 43). Such

decisions, when “made after thorough investigation of law and facts relevant to plausible

options[,] are virtually unchallengeable….” Strickland, 466 U.S. at 690. Also, Westin’s

“sense of the jury’s reaction to testimony or evidence is a sound basis on which to make

strategic decisions.” Spaziano v. Singletary, 36 F.3d 1028, 1040 (11th Cir. 1994). To

prove trial counsel’s strategy was “outside the wide range of reasonable professional

assistance,” Butts must show “’that the approach taken by defense counsel would not

have been used by professionally competent counsel.’” Id. at 1041 (quoting Harich v.

Dugger, 844 F.2d 1464, 1470 (11th Cir. 1988)). He has not made such a showing. “At

most, he has established that his present counsel would not have pursued the same

strategy, a showing which misses the target by a wide mark.” Id.

       Butts argues that to be reasonable, trial counsel’s strategy had to include evidence

concerning the impact of Butts’s dysfunctional family and background. However, there is

“[n]o absolute duty … to introduce mitigating or character evidence” during the sentencing

phase of trial. Chandler, 218 F.3d at 1319. In fact, the Eleventh Circuit has noted “that

residual doubt is perhaps the most effective strategy to employ at sentencing.”

Chandler, 218 F.3d at 1320 n.28 (citing Tarver v. Hopper, 169 F.3d 710, 715-16 (11th Cir.

1999)).

       [F]ocusing on acquittal at trial and then on residual doubt at sentencing
       (instead of other forms of mitigation) can be reasonable. Especially
       when—as in this case—the evidence of guilt was not overwhelming, we
       expect that petitioners can rarely (if ever) prove a lawyer to be ineffective for
       relying on this seemingly reasonable strategy to defend his client.

Id. at 1320 (citing Tarver, 159 F.3d at 715-16).




                                             -41-
       Case 5:13-cv-00194-MTT Document 34 Filed 10/16/15 Page 42 of 104



       One of the reasons trial counsel offered for not presenting background evidence is

that do so

       almost gives up the point that [Butts] wasn’t the killer…. On the one hand
       you’re trying to get this jury to say, to understand our position, that he didn’t
       shoot Mr. Parks, but if you’re saying that he was a victim, they made him do
       this, then you’re sort of counterproductive ….

(Doc. 13-2 at 22). Quoting this testimony, the state habeas court ruled that the Georgia

Supreme Court and the Eleventh Circuit have recognized such concerns can reasonably

“preclude[ ] the presentation of potentially mitigating evidence of this type.” (Doc. 16-23

at 42-43) (citing Turpin v. Christenson, 269 Ga. 226, 244, 497 S.E.2d 216, 231 (1998),

Chandler, 218 F.3d at 1319, and Dill v. Allen, 488 F.3d 1344, 1357 (11th Cir. 2007)).

Butts argues this ruling was “unreasonable as a matter of law,” and the reasonable

strategy would have been for trial counsel to argue residual doubt and present evidence

of Butts’s difficult childhood to explain how he came to make a series of unfortunate

choices on the night of Parks’s murder. (Doc. 24 at 89-90). Butts may, or may not, be

correct that combining these two strategies would have been beneficial. However, trial

counsel is not required to present every possible theory that might be helpful to his client.

Dill, 488 F.3d at 1357. “[C]ounsel’s reliance on particular lines of defense to the

exclusion of others—whether or not he investigated those other defenses—is a matter of

strategy and is not ineffective unless the petitioner can prove the chosen course, in itself,

was unreasonable.” Chandler, 218 F.3d at 1318. Butts has not made such a showing.

       After finding that trial counsel’s decision to use residual doubt at sentencing was

strategic and reasonable, the state habeas court found that trial counsel’s presentation of

evidence and argument to support this strategy was reasonable. (Doc. 16-23 at 35).

Starting in the guilt phase of the trial, trial counsel argued and presented evidence that



                                             -42-
         Case 5:13-cv-00194-MTT Document 34 Filed 10/16/15 Page 43 of 104



Butts was not the shooter. (Docs. 9-7 at 52-57, 61, 122, 129-30, 133; 9-8 at 79, 72-73,

82; 10-1 at 127, 130; 10-2 at 14-16, 91, 126-29). At sentencing, Rush testified that he

administered a voluntary polygraph to Wilson, and, based on the results of that

examination, he concluded Wilson was the shooter. (Doc. 10-7 at 54, 62, 67-68).

Sills’s testimony from Wilson’s trial, which was read into the record, established that Butts

did not have a violent criminal history. (Doc. 10-7 at 79-80). In closing, trial counsel

argued that a “youthful” Butts made a foolish mistake when he was led into this situation

by Wilson. (Doc. 10-7 at 111). In an effort to convince the jury that Wilson was the

triggerman, trial counsel argued Wilson had “a propensity to be a violent person,” “a very

extensive criminal history,” and was known to be “right at the top of the list of the F[OLK]

Gang membership.” (Doc. 10-7 at 110-11). In contrast, Butts had a “brief,” nonviolent

criminal career, and, prior to Park’s murder, was not on local law enforcement’s list of

gang members. (Doc. 10-7 at 111-13). Westin stressed that Butts’s culpability, or the

“unwarranted actions of [Butts] … under the tutorledge [sic] of Marion Wilson, who … is

already on death row,” did “not rise to the level of that most final of all sentences.” (Doc.

10-7 at 112, 118). After careful examination of the record, the Court finds that the state

habeas court’s determination that trial counsel made a reasonable presentation to

support their residual doubt strategy did not involve an objectively unreasonable

application of Strickland, nor was it based on any unreasonable determination of the

facts.

               e. The prejudice allegedly suffered because trial counsel failed to
                  investigate and present mitigating evidence

         Butts presented 16 witnesses at the state habeas evidentiary hearing, eight of

whom were family members, friends, teachers, and a guidance counselor who offered



                                            -43-
        Case 5:13-cv-00194-MTT Document 34 Filed 10/16/15 Page 44 of 104



personal background information about Butts and his family. He also presented

testimony from a former DFACS case worker and an expert “clinical social worker with

expertise in conducting biopsychosocial assessments for the courts in capital cases.”32

(Doc. 13-4 at 98).

        Butts’s mother, Laura, testified that her biological father and mother never married,

and she grew up with a verbally and physically abusive stepfather. (Doc. 13-6 at

100-02). Laura’s brother, Johnny Waller, provided similar testimony. (Doc. 13-6 at

70-72). Laura explained that she was suspended from school at least seven times for

fighting and ultimately dropped out of school in the ninth grade. (Doc. 13-6 at 103-04).

She became pregnant at age 16 and in 1975 gave birth to her first child, Tammy. (Doc.

13-6 at 104-05, 109). She never married or lived with Tammy’s father. (Doc. 13-6 at

108).

        Although Laura had long been married to Robert Butts, Sr., they lived together for

only 11 months after Butts was born on May 14, 1977. (Docs. 13-6 at 109-10; 13-13 at

80). Laura testified that she left Butts, Sr. because of his increasingly bizarre behavior,

and neither she nor her children had any contact with him again. (Doc. 13-6 at 109-10,

129; 13-13 at 80). She said that Butts, Sr. had been in and out of mental institutions and

prisons since that time. (Doc. 13-6 at 110-11).

        When Laura left Butt’s Sr., she, Tammy, and Butts moved into Riverbend

Apartments in Milledgeville, Georgia. (Doc. 13-6 at 111-12). They, along with Laura’s

various male companions, lived in this apartment for the next 12 years. (Doc. 13-6 at



32
  The other witnesses were Westin; Moore; Huskins; Detective Ricky Horn; John Hagedorn, a gang expert;
and District Attorney Fred Bright. (Doc 13-1 at 10-11).



                                                 -44-
          Case 5:13-cv-00194-MTT Document 34 Filed 10/16/15 Page 45 of 104



111). Jerome Wright, who is the father of Laura’s third child, Tamayo,33 lived with Laura

and her children for two and one-half years before leaving for unknown reasons. (Doc.

13-6 at 112-13). Next, Calvin Hurt, Dominique’s34 father, moved in for approximately two

to three years. (Doc. 13-6 at 114). Hurt drank heavily and was physically abusive to

Laura. (Doc. 13-6 at 114). Next, Harold Burton, Tameica’s35 father, lived with the Butts

family for approximately eight to ten years.36 (Doc. 13-6 at 115, 126-27). When Burton

moved out, Laura became involved with Isaac Jones, a drug dealer, who physically

abused her. (Doc. 13-6 at 117-18). Laura recalled one occasion when Jones threw

Butts on the floor, put his knee in his back, and pulled his arms behind his back. (Doc.

13-6 at 118). After breaking up with Jones, Laura dated Harold Jimerson, a drug dealer

who was married to someone else during the 12 years he and Laura were together.

(Doc. 13-6 at 119).

          Laura testified that she started abusing alcohol as a teenager and began using

crack cocaine in 1986. (Doc. 13-6 at 105-06). The only period of time during which she

did not drink to excess was a six-year span that started after Butts’s trial ended.37 (Doc.


33
     Tamayo was born on May 16, 1980. (Doc. 13-11 at 4).
34
     Dominique Hurt, Laura’s fourth child, was born on December 1, 1982. (Doc. 13-11 at 4).
35
     Tameica, Laura’s fifth child, was born on July 5, 1986. (Doc. 13-11 at 4).
36
   It is unclear exactly how long Burton lived with, or was involved with, the Butts family. In his affidavit,
Burton stated he became involved with Laura in approximately 1985 and lived with the family “on and off” for
approximately nine years. (Doc. 13-13 at 77). Jan Vogelsang, Butts’s mitigation expert, estimated that
Burton was involved with the Butts family from 1986 until 1995. (Doc 13-4 at 127). Laura estimated that
she and Burton lived together for eight years. (Doc. 13-6 at 126-27). Tracy Burton, Harold Burton’s
sister-in-law, testified that Burton and Laura were together for approximately ten years, until at least 1996.
(Doc. 13-4 at 50). On the undated questionnaire that Butts completed following Westin’s appointment in
July 1996, he indicated that his mother and Burton “broke up about 7 weeks ago.” (Docs. 13-1 at 111;
15-19 at 4).
37
  Laura’s oldest daughter, Tammy, testified that her mother did not drink alcohol between 1997 and 2003.
(Doc. 13-4 at 65). Tameica testified that she remembered her mother was sober from 1998 until 2004.
(Doc. 13-6 at 65). Laura testified she was sure she did not stop drinking until after Butts’s trial was over.


                                                     -45-
          Case 5:13-cv-00194-MTT Document 34 Filed 10/16/15 Page 46 of 104



13-6 at 106). She stopped using crack cocaine four months before the September 2007

state habeas evidentiary hearing. (Doc. 13-6 at 106). Laura stated she consumed

alcohol during all five of her pregnancies,38 and ended up on welfare after losing various

jobs because of her alcoholism and drug addiction. (Doc. 13-6 at 105, 113).

          According to Laura, when she used crack cocaine, she would stay away from

home for months at a time, spend all of her money on drugs, and pawn whatever she had

to get money for drugs. (Doc. 13-6 at 108). Laura explained she left home to smoke

crack cocaine because she was not comfortable taking drugs in front of her children.

(Doc. 13-6 at 108). When she was absent from the home, the children sometimes were

left alone, but her grandmother Mary Lee Waller, mother Mary Frances Cooper, aunt

Doris Cooper, brother Johnny Waller, or boyfriend Burton frequently kept the children.

(Doc. 13-6 at 126-27). Laura testified that she went through at least seven detoxification

and rehabilitation programs. (Doc. 13-6 at 107).

          Laura admitted she was never involved in Butts’s life. She never spoke with his

teachers, did not know what school activities or sports he was involved in, did not take him

to church, did not know that he had to repeat the tenth or eleventh grades, did not know

he had dropped out of school, and did not know that he was arrested for burglary and

attempted burglary in 1994 or shoplifting in 1995. (Doc. 13-6 at 121-22, 130-31). She

did know that Butts was arrested in 1995 for possession of cocaine, possession of a

firearm during the commission of a crime, and carrying a concealed weapon. (Doc. 13-6

at 130). However, she did not go to juvenile court with Butts when he pled guilty to these


(Doc. 13-6 at 106). In fact, she was too impaired to attend any day of his trial except the last. (Doc. 13-6
at 123-24).
38
     There was testimony that her alcohol consumption did not impact Butts’s birth. (Doc. 13-4 at 118).


                                                    -46-
       Case 5:13-cv-00194-MTT Document 34 Filed 10/16/15 Page 47 of 104



charges, and she never spoke with his probation officer. (Doc. 13-6 at 130).

       Tammy, Butts’s older half-sister, testified that she could not recall ever living with

Butts, Sr., but she knew he was mentally ill and frequently in jail. (Doc. 13-4 at 59).

Tammy testified that Dominique’s father, who lived with them for a period of time, was

physically and verbally abusive to Laura and would “whip” or “spank” Butts and Tamayo to

discipline them. (Doc. 13-4 at 62). Tammy could not recall ever being physically

abused by any of her mother’s various boyfriends. (Doc. 13-4 at 76-77). She testified

that Burton lived with their family for “over ten years,” and he was “a decent guy” who

worked and took care of them when their mother was not home. (Doc. 13-4 at 65-66).

       Tammy testified that after working at various factory jobs, her mother went on

welfare and received food stamps. (Doc. 13-4 at 61-62). She recalled that her mother

always abused alcohol and, in 1985 or 1986, started abusing crack cocaine. (Doc 13-4

66). She said Laura and various other people drank alcohol and used drugs in their

home.39 (Doc. 13-4 at 71-72). When her mother drank alcohol to excess, she “fussed,

cursed, was loud, [and] wanted her way.” (Doc. 13-4 at 64). After Laura started using

drugs, “[s]he would stay away from home for days at the time.” (Doc. 13-4 at 66).

Tammy recalled that either Burton or her grandmother took care of the children when

Laura was gone. (Doc. 13-4 at 66, 68). She explained that her grandmother and aunt

“were always constant providers” for her and her siblings. (Doc. 13-4 at 78). In

approximately 1990, Tammy moved in with her grandmother. (Doc. 13-4 at 78).

       Tameica, Butts’s younger half-sister, testified that she could never depend on

Laura because she was under the influence of drugs and alcohol more often than not.

39
  Tammy explained that she never saw anyone actually using any drugs. However, she “saw them come
out of the bathroom where they did something with … [a] Coca-Cola can.” (Doc. 13-4 at 71). She did not
“exactly know what particular drug [the can] was used for.” (Doc. 13-4 at 71).


                                                 -47-
          Case 5:13-cv-00194-MTT Document 34 Filed 10/16/15 Page 48 of 104



(Doc. 13-6 at 53-54). She stated that when Laura disappeared for days or weeks at a

time, she would go to her grandmother’s home, Tracy Burton’s40 home, or stay with

Burton. (Doc. 13-6 at 55, 59-62). She recalled that after Burton moved out, various

men who abused Laura spent time in the Butts’s home. However, she did not recall

seeing any of these men use drugs while in the home. (Doc. 13-6 at 55-57). She

testified that Butts cooked and helped her with homework when Laura was not at home.

(Doc. 13-6 at 58).

          Johnny, Butts’s uncle, described Butts as a quiet child who had no direction or

guidance. (Doc. 13-6 86). He acknowledged that he also abused drugs and alcohol

and would frequent Laura’s house to drink and use drugs. (Doc. 13-6 at 83-84). Johnny

explained that when Laura was absent, he, his mother, or Burton cared for the children.

(Doc. 13-6 at 79).

          Burton testified that he lived with Laura from the mid-1980’s until approximately

1991 or 1992.41 (Doc. 13-4 at 20-21, 35). He said Laura was addicted to crack cocaine,

was frequently absent from the home for weeks at the time, and would regularly pawn

household items to get drug money. (Doc. 13-4 at 22-24). Burton testified that he

cooked, cleaned, disciplined the children, and made sure they attended school. (Doc.

13-4 at 24-25). DFACS records verify that he worked with the school to resolve the

children’s problems. (Doc 13-7 at 18).

          Burton stated that after he moved from the home, Isaac Jones moved in. (Doc.

13-4 at 26). Although Jones was controlling, Burton was not sure if he physically abused


40
     Tracy Burton is Harold Burton’s former sister-in-law. (Doc. 13-4 at 40).
41
  As explained previously, other witnesses testified that Burton lived with the Butts’s family off-and-on until
1996. See footnote 36 above.


                                                     -48-
       Case 5:13-cv-00194-MTT Document 34 Filed 10/16/15 Page 49 of 104



Laura, and Burton did not indicate that Jones abused Butts or his siblings. (Doc. 13-4 at

26).

       Burton confirmed that Butts’s grandmother and aunt helped care for the children.

(Doc. 13-4 at 32). He testified that there was always food to eat, and the children had a

television, Nintendo, radios, and various toys. (Doc. 13-4 at 32-33). He said Laura

never physically abused Butts or any of his siblings. In fact, she did not even like to

spank them. (Doc. 13-4 at 33).

       Tracy Burton, Burton’s former sister-in-law, testified that Laura was a good mother

before she became addicted to crack cocaine in 1986. (Doc. 13-4 at 45, 49). After she

began using drugs, however, she “would disappear for days and weeks” at a time. (Doc.

13-4 at 43). During Laura’s absences, Burton or the children’s grandmother took care of

the children. (Doc. 13-4 at 45, 49-50). Tracy explained that Burton made sure the

children were well fed, attended school, and had clothes and toys. (Doc. 13-4 at 49-50).

She described Burton as a “great father figure” for Butts and his siblings. (Doc. 13-4 at

43).

       Two teachers, Lois Reeves and Henrietta Taylor, testified. Reeves, who taught

Butts in the second grade, described him as a nice, but sad, child who needed special

attention. (Doc. 13-4 at 9-10). She never saw Butts’s mother and thought that Butts

could have done better in school if he had a better support system. (Doc. 13-4 at 10-11).

Reeves acknowledged having no contact with Butts since he left her second grade class..

(Doc. 13-4 at 14).

       Taylor, who taught Butts health in the ninth or tenth grade, described Butts as quiet

and respectful, but noted that he started missing class and became inattentive when he




                                            -49-
          Case 5:13-cv-00194-MTT Document 34 Filed 10/16/15 Page 50 of 104



began associating with the “wrong crowd.” (Doc. 13-3 at 129-31). Taylor spoke with

Butts and told him that she “was worried that he was headed in the wrong direction.”

(Doc. 13-13 at 96). Because he was living with his grandmother at the time, Taylor

expressed her concerns to Mary Frances. (Doc. 13-3 at 130; 13-13 at 96). Taylor

acknowledged her only contact with Butts occurred during this one school year. (Doc.

13-4 at 5).

          Jan Vogelsang, a licensed “clinical social worker with expertise in conducting

biopsychosocial assessments for the courts in capital cases,” testified that she conducted

a biopsychosocial assessment of Butts. (Doc. 13-4 at 98). She defined a

biopsychosocial assessment as “a professional social work method of gathering

extensive information across a broad spectrum of sources in an effort to … shed light on a

person’s behavior.” (Doc. 13-4 at 93). Vogelsang interviewed Butts’s family members;

schoolteachers; a DHR caseworker; Dr. John Hagedorn (an expert on gangs); Wayne

Rogers (an attorney); Dr. George Woods (a neuropsychiatrist in Oakland, California); Dr.

Alex Morton (a doctor at the Medical University of South Carolina); and Dr. Jim Evans (a

psychiatrist retained by Butts’s state habeas counsel).42 (Docs. 13-4 at 99; 13-7 at

13-14). She reviewed school records; employment records; affidavits from friends and

family members; mental health and medical records of Butts, Butts, Sr., Laura, and

Dominique; DHR and DFACS records; Department of Corrections and probation records;

depositions; and Lower’s and Stark’s evaluations of Butts. (Doc. 13-4 at 99-100).

Although Vogelsang can diagnose patients, she was not asked to diagnose Butts, and

she did not prepare a report or evaluation of Butts. (Doc. 13-7 at 9, 14).



42
     State habeas counsel did not call Evans to testify at the state habeas evidentiary hearing.


                                                      -50-
        Case 5:13-cv-00194-MTT Document 34 Filed 10/16/15 Page 51 of 104



       Vogelsang testified about Butts’s family history, much of which had already been

provided by other witnesses: Laura grew up watching her mother get physically abused

by her drunk stepfather (Doc. 13-4 at 114-15); Butts, Sr. grew up watching his stepfather

abuse his mother, who had been diagnosed as a schizophrenic paranoid type (Doc. 13-4

at 116-17, 120); Laura dropped out of school in the ninth grade because she was

pregnant and “getting in a lot of fights” (Doc. 13-4 at 115-16); Laura began drinking and

was sexually promiscuous at a young age (Doc. 13-4 at 115); Butts, Sr. had a mental

breakdown shortly after Butts’s birth, quit his employment, and began engaging in bizarre

behavior (Doc. 13-4 at 119-20); Butts, Sr. was admitted to Central State Hospital in

September 1978 and diagnosed as schizophrenic paranoid type (Doc. 13-4 at 120);

Butts, Sr. was admitted to Central State Hospital approximately 30 times in 16 years (Doc.

13-4 at 120); Butts, Sr. was absent from Butts’s life (Doc. 13-4 at 108); Laura was a crack

addict who disappeared for weeks at a time (Doc. 13-4 at 108-09); when Laura was

absent, Butts had to be the primary caregiver for his brother Dominique, who was

“severely mentally disturbed” (Doc. 13-4 at 109); and Laura invited a series of violent,43

drug-abusing men in and out of the home during Butts’s childhood (Doc. 13-4 at 109-10).

       Voselsang testified that Butts’s life grew “increasingly worse” as he progressed

through childhood into adolescence. (Doc. 13-4 at 122-23). During his early childhood,

his home was filled with turmoil, which caused him to be a sad, worried, and withdrawn

child. (Doc. 13-4 at 124-26). During his middle childhood, Burton moved in with Laura

and her children. (Doc. 13-4 at 127-28). Burton paid the bills, fed the children, bought

the children gifts, and made sure they attended school. (Doc. 13-4 at 129-30).


43
  Vogelsang testified that these men did not physically abuse Butts. The abuse was directed at Laura.
(Doc. 13-4 at 109-10).


                                                 -51-
        Case 5:13-cv-00194-MTT Document 34 Filed 10/16/15 Page 52 of 104



Vogelsang testified that although Burton, their grandmother, aunt Doris, and uncle

Johnny were present in their lives, the children were frequently left alone and Butts was

forced to care for his younger siblings.44 (Doc. 13-4 at 128-29).

        Vogelsang testified that Laura’s relationships with Jones and Jimerson, both of

whom were cruel and abusive to Laura, had a detrimental effect on Butts. (Docs. 13-4 at

133-34; 13-5 at 1). According to Vogelsang, Jones was involved with Laura from the

time Butts was ten until he was 15.45 (Doc. 13-5 at 1). When Butts was 15, Laura

became involved with Jimerson, a drug dealer, who introduced Butts to guns.46 (Doc.

13-5 at 1). During this time Laura was in and out of detox facilities, and Butts was forced

to be the primary caretaker of Dominique, who suffered from “severe behavioral

disorders” and was uncontrollable. (Docs. 13-5 at 14-15). According to Vogelsang,

Laura started pressuring Butts to sell drugs and/or buy drugs for her. (Doc. 13-5 at 6-7,

21). Vogelsang opined that all of this resulted in the erosion of Butts’s resilience and

“[h]e just gave up.” (Doc. 13-5 at 4). He started missing school, receiving failing

grades; associating with the wrong crowd, drinking alcohol, smoking marijuana, selling

crack cocaine, burglarizing homes, and carrying a gun. (Doc.13-5 at 4-5).

        Based on this, Vogelsang opined that Butts suffered from emotional abuse and

neglect, which can be difficult to detect. (Doc. 13-5 at 22-25). She said this could
44
   According to Vogelsang, Tammy, as the oldest child, was initially responsible for taking care of her
siblings. (Doc. 13-4 at 129). However, when Tammy moved out of the home and went to live with her
grandmother, Butts had to become the primary caretaker of his siblings. (Doc. 13-4 at 129).
45
   There is obviously overlap between Laura’s relationship with Jones and her relationship with Burton. If
Laura dated Jones from 1987 to 1992, this is during the time Burton lived with the Butts family. (Doc. 13-4
at 127-29). According to Vogelsang, at some point between 1987 and 1992, Laura, not her children,
moved in with Jones and he introduced her to crack cocaine. (Doc. 13-4 at 128-29). During this time,
Butts apparently continued to live with Burton. (Doc. 13-4 at 129).
46
   Vogelsang testified that on one occasion, Jimerson had 15 year-old Butts use a gun to threaten another
man with whom Laura was spending time. (Doc. 13-5 at 1). However, on the questionnaire he completed
for trial counsel, Butts stated that he had never even met Jimerson. (Docs. 13-1 at 111; 15-19 at 4).


                                                   -52-
        Case 5:13-cv-00194-MTT Document 34 Filed 10/16/15 Page 53 of 104



explain why DHR and DFACS caseworkers failed to remove Butts and his siblings from

the home.47 (Doc. 13-5 at 26-27). According to Vogelsang, Butts was not physically

abused, but there were always “threats of abuse” or “threats of harm” in the home. (Doc.

13-7 at 1-2).

        On cross-examination, Vogelsang acknowledged Butts knew the difference

between right and wrong, yet he chose to hang around the wrong people, violate the

conditions of his probation, drink alcohol, and use drugs. (Doc. 13-7 at 41-43, 47).

Vogelsang also acknowledged that Stark diagnosed Butts as having an antisocial

personality disorder, and Lower found he had a “longstanding personality disorder,” the

characteristics of which were “poor judgment, impulse control, disregard for social mores,

inability to form close relationships or become involved in others.” (Doc. 13-7 at 46-47).

        State habeas counsel also tendered affidavits from childhood friends, family

members, teachers, and a guidance counselor stating that Butts was intelligent,

well-mannered, sensitive, lonely, nice, quiet, pleasant, polite, friendly, and

nonaggressive. (Doc. 13-13 at 76, 85, 88, 89, 95, 96; 13-14 at 3).

        The state habeas court found “[e]ven if this Court were to determine that the failure

to present evidence of [Butts’s] background and home life … constituted deficient

performance on the part of either trial or appellate counsel, the Court finds no prejudice:

there is a not a reasonable probability that the result of the trial or appeal would have been

different if such evidence had been presented at either stage.” (Doc. 16-23 at 45-46).



47
   Celia Cooper, a former child protective services worker with DFACS in Baldwin, Wilkinson, and Fulton
Counties, testified “generally about some of the DFACS policies” in Baldwin County. (Doc. 13-3 at 119).
She explained that case workers are assigned to handle a large number of cases each month and it is
difficult to substantiate emotional abuse or neglect. (Doc. 13-3 at 119-20). Also, it is a lengthy and
tedious process to remove a child from a neglectful or abusive home. (Doc. 13-3 at 119-25). However,
Cooper had absolutely no recollection of Butts or his family. (Doc. 13-3 at 119).


                                                  -53-
       Case 5:13-cv-00194-MTT Document 34 Filed 10/16/15 Page 54 of 104



The court also determined that Butts did not establish he was prejudiced by trial counsel’s

failure to hire a mitigation expert. (Doc. 16-23 at 35 n.9). Butts argues the state habeas

court’s decision was unreasonable because the court “failed to weigh the new mitigating

evidence against the original aggravating evidence.” (Doc. 24 at 100). He also

maintains that the court’s decision is “unreasonable substantively, as no reasonable jurist

could deny a reasonable probability that the powerful new mitigating evidence could have

altered the outcome.” (Doc. 24 at 101).

       Contrary to Butts’s assertion, the state habeas court did not fail to “reweigh the

evidence in aggravation against the totality of available mitigating evidence.” Wiggins,

539 U.S. at 534. The court provided a detailed analysis of the evidence presented at the

state habeas evidentiary hearing. (Doc. 16-23 at 35-46). The court determined that the

testimonial and documentary evidence presented showed that Laura was frequently

absent from her children’s lives and used drugs; Butts, Sr. was mentally ill and had no role

in Butts’s life, and Butts’s younger brother Dominique had behavioral problems. (Doc.

16-23 at 36-37). It also found that trial counsel knew all this prior to trial. (Doc.16-23 at

33). The record supports these findings.

       The state habeas court also found that Vogelsang, Butts’s mitigation expert,

testified about four significant influences in Butts’s life: his mentally-ill father; his

drug-abusing, alcoholic, and neglectful mother; his mentally disturbed younger brother;

and the use and sale of drugs by Laura’s various boyfriends. (Doc. 16-23 at 36). The

court determined that Vogelsang’s testimony was undermined or contradicted in several

respects:




                                              -54-
         Case 5:13-cv-00194-MTT Document 34 Filed 10/16/15 Page 55 of 104



        Vogelsang was not licensed in the State of Georgia, and she was not a licensed
         medical doctor, psychologist, or psychiatrist48 (Doc. 16-23 at 36);

        When performing her biopsychosocial assessment, she never spoke with Lower or
         Stark, the psychologists who examined Butts prior to trial, or Nancy Bowers, the
         school social worker who Vogelsang acknowledged “had an enormous amount of
         contact with the family”49 (Doc. 16-23 at 36);

        Although she concluded Butts, Sr.’s mental illness may somehow mitigate Butts’s
         sentence and a large portion of her presentation and evidence concerned his
         mental illness, Butts’s last contact with Butt’s, Sr. occurred when he was
         approximately one year old;50 (Doc. 16-23 at 36-37);

        While Voglesang testified that ten-year-old Butts was left home alone to be the
         primary care-taker of his “severally mentally handicapped younger brother,”51
         numerous witnesses testified and documentary evidence showed that Butts’s
         grandmother, aunt, uncle, and Burton took care of Butts and his siblings while their
         mother was absent52 (Doc. 16-23 at 37-39); and

48
   Butts argues this is the “wrong standard” because “[a] mitigation expert does not need to be licensed as
a medical doctor, psychologist, or psychiatrist in order to testify.” (Doc. 24 at 110). The state habeas
court did not find that Vogelsang could not testify, and it did not completely discount her testimony because
she was not a doctor, psychologist, or psychiatrist. Her credentials were just one factor the state habeas
court considered when it determined that there was not a reasonable probability that her testimony would
have resulted in a different sentence for Butts. See Sears v. Upton, 561 U.S. 945, 949 (2010) (noting that
the petitioner’s expert was a “well-credentialed” psychologist).
49
   Again, Butts argues this is the “wrong standard,” and these facts should simply have been used as a
basis for cross-examination. (Doc. 24 at 110). Butts’s point is not at all clear; they were used as a basis
for cross-examination. (Doc. 13-7 at 12-13). On direct, Vogelsang testified that she gathered “extensive
information across a broad spectrum of sources in an effort to … shed light on [Butts’s] behavior.” (Doc.
13-4 at 93). On cross-examination, she admitted that she did not speak with two psychologists who
evaluated Butts prior to trial or Bowers, a social worker who was very familiar with the Butts’s family. (Doc.
13-7 at 12-13). Vogelsang acknowledged that she thought “it was very important to get with” Bowers, but
she was unable to do so despite making “every effort.” (Doc. 13-7 at 13). It was appropriate for the state
habeas court to consider her failure to speak with these three individuals, all of whom unquestionably had
insight into Butts and/or his family. Her failure goes toward the weight a jury—or motion for new trial or an
appellate court—may have given Vogelsang’s testimony.
50
   Butts argues this was an unreasonable factual finding. However, Laura testified that she left Butts, Sr.
approximately 11 months after Butts was born and neither she, nor Butts, had any contact with him after
that. (Doc. 13-6 at 110, 129).
51
   While Vogelsang variously described Dominique as “profoundly disturbed,” “severely emotionally
disturbed,” or “severely mentally handicapped,” his initial diagnosis was “minimal brain damage,” which was
the original term for Attention Deficient Hyperactivity Disorder (“ADHD”). (Docs. 13-4 at 133; 13-5 at 11,
14, 31-32, 36). He was later diagnosed as having ADHD and a conduct disorder. (Doc. 13-7 at 31).
Despite these behavioral or conduct disorders, both Bowers and Vogelsang said he was actually a “bright
boy.” (Doc. 13-7 at 33).
52
  Tammy testified that her grandmother and aunt “were always constant providers” for her and her siblings.
(Doc. 13-4 at 78). Tameica testified that Burton or her grandmother kept them when her mother was


                                                    -55-
        Case 5:13-cv-00194-MTT Document 34 Filed 10/16/15 Page 56 of 104




       Vogelsang was completely unaware of the facts of the crime Butts was convicted
        of committing because she “did not go into it.” (Docs. 13-7 at 47).

        Notably, Vogelsang’s assertions that Butts suffered from emotional abuse,

neglect, and abandonment while he lived in an “unsettled home” under a “constant threat

of harm or constant threat of violence” were undercut by testimony from Nancy Bowers,

who worked with Dominique from 1991 to 1993 while she was employed as a parent

worker or social worker with the Oconee Psychoeducational Program. (Docs. 13-5 at

36; 13-6 at 143; 13-12 at 46-47, 53). Bowers testified that DFACS investigated the Butts

family but did not remove the children because they were not “in any immediate danger.”

(Docs. 13-13 at 21; 14-29 at 68-72). She recalled that Butts’s grandmother, aunt, and

Burton provided financial support and helped take care of the children when Laura was

absent or unable to care for them. (Doc. 13-12 at 70, 72-74, 77). Bowers testified:

        [T]hat’s my memory, that there was a lot of family support. And that’s what
        we expect when we see an adult, a parent struggling, that family usually
        steps in. And that’s what we want because we don’t want children in foster
        care. We want the family to come in and support the children and give
        them what they need short of their own mother being able to do it or their
        parents.

        And so, that’s what we saw a lot going on in this family. That if she wasn’t

absent. (Doc. 13-6 at 55, 60-61). Johnny Waller, Butts’s uncle, testified that he, his mother, or Burton
cared for the children when Laura was absent. (Doc. 13-6 at 79). Burton testified that he cared for the
children when Laura was not there and he acknowledged that Butts’s grandmother and aunt helped care for
them. (Doc. 13-4 at 24-25, 32). Tracy Burton testified that Burton or the children’s grandmother took care
of them while Laura was away. (Doc. 13-4 at 45, 50). Butts’s former ninth grade teacher, Taylor, testified
that when Butts was in her class, he was living with his grandmother. (Doc. 13-3 at 130). Records
obtained by trial counsel and submitted during the state habeas evidentiary hearing verified that other
family members or Burton cared for the children while Laura was away. For example, records from the
Oconee Psychoeducational Center dated June 16, 1992 showed that his grandmother and uncle were
“quite involved with Dominque.” (Doc. 14-29 at 46). These records described Burton as Laura’s fiancé, a
“father figure,” and a person who provided “great assistance to the school” when school officials were
unable to locate Laura. (Doc. 14-29 at 45-48). DFACS records dated November 16, 1993 showed that
Laura and her children live with her fiancé; “[t]he home is adequate”; “[t]he family seems to function well”;
and Laura has support from “her fiancé, other relatives, and numerous community resources.” (Doc.
14-23 at 73). Additionally, Butts told trial counsel that he spent a considerable amount of time with his
grandmother and she helped raise him. (Doc. 15-19 at 5).


                                                    -56-
          Case 5:13-cv-00194-MTT Document 34 Filed 10/16/15 Page 57 of 104



          there, and I don’t recall her being gone that much, but I do think that she had
          some rehab issues and -- relapse issues, rather.

(Doc. 13-13 at 41-42). Bowers explained, “I think we felt very comfortable that the family

was taking care of the kids. And believe you me, I’m an old DFACS worker, so if I had

any concern, I would have called that in. But I don’t recall worrying about it at all.” (Doc.

13-12 at 73).

          Baldwin County DFACS, DHR, and the Oconee Psychoeducational Program

Records from 1993 and 199453 substantiate Bower’s recollection. These agencies

investigated allegations of possible sexual abuse54 and medical negligence55 regarding

Dominique. (Doc. 14-23 at 41). When DFACS representatives visited the family in

June 1993, December 1993, January 1994, and February 1994,56 the house was clean,

the children were being cared for, and “things looked just fine.” (Docs. 13-7 at 27-29;

14-23 at 68-69, 81, 86). DFACS records from a May 31, 1994 “unannounced” visit and a

June 23, 1994 visit57 showed Laura was present in the home, as were all of her children,

Dominique’s prescriptions had been filled, and the house was clean. (Docs. 13-7 at

29-30; 14-23 at 88). On June 29, 2004, Bowers reported that Laura had failed to fill

Dominique’s prescriptions only once in the past year and “she didn’t think that was reason

for concern.” (Doc. 14-23 at 89). Thus, the case was closed. (Doc. 14-23 at 89-90).

53
  Trial counsel had obtained all of these records. (Docs. 13-1 at 16-17; 14-18 to 14-23; 14-29 at 1 to
14-30 at 6).
54
   It was alleged that Dominique might have been sexually abused when he visited his paternal aunt’s
home. (Doc. 14-23 at 63, 67). It was determined that the sexual abuse allegations were “unfounded” and
the case was closed on July 2, 1993. (Doc. 14-23 at 38, 72).
55
  Bowers notified DFACS that Laura was not giving Dominique his ADHD medication as prescribed.
(Doc. 14-23 at 41-42, 77).
56
  These visits were “announced,” meaning that prior to the visit, Laura was told when a representative from
DFACS would be coming to the home. (Doc. 13-7 at 29).
57
     It is not clear if this visit was “announced” or “unannounced.” (Doc. 14-23 at 88).


                                                      -57-
       Case 5:13-cv-00194-MTT Document 34 Filed 10/16/15 Page 58 of 104



       The state habeas court also considered the testimony of Butts’s former teachers.

(Doc 16-23 at 40). The court noted that while Reeves testified Butts appeared “sad”

when he was in her class, she had not seen him since he was in the second grade—13

years before his trial. (Doc. 16-23 at 40 n.20). Also, there was nothing in Butts’s school

records from that time which suggested any concern about Butts. (Doc. 16-23 at 40-41

n.20). Taylor, his ninth grade teacher, testified that Butts started missing school, was

always tired, and began hanging around the wrong crowd. (Doc. 16-23 at 40).

Although this led Vogelsang to conclude that Butts’s dysfunctional home life finally “wore

him down,” she acknowledged that another interpretation of Taylor’s testimony is that

when Butts got a car, he made the choice to skip school, hang around with gang

members, use and sell drugs, drink alcohol, steal, and carry concealed weapons. (Doc.

13-7 at 38-40). His choice to engage in such behavior, as opposed to any dysfunction

occurring at home, could have led him to perform poorly in school. (Doc. 13-7 at 42-43).

Clearly, the state habeas court could reasonably find that Taylor’s testimony would not,

with any reasonable probability, have changed the outcome. (Doc. 16-3 at 41).

       In conclusion, the state habeas court did not fail to analyze the effect of the new

mitigating evidence and reweigh it against the evidence in aggravation. Nothing in the

state habeas court’s opinion indicates it “discount[ed] entirely the effect” that the new

evidence, including Vogelsang’s testimony, would have had on the jury. Porter, 558 U.S.

at 43. Instead, the court determined that had the jury heard all of the new evidence,

there is no reasonable probability they would have given Butts a different sentence.

After a thorough review of the record, the Court is unable to say that no reasonable jurist

could agree with the state habeas court’s prejudice determination.




                                            -58-
         Case 5:13-cv-00194-MTT Document 34 Filed 10/16/15 Page 59 of 104



                  f. Supreme Court precedent

         Butts acknowledges that Strickland is the “clearly established Federal Law”

governing the disposition of ineffective assistance of counsel claims. 28 U.S.C. § 2254

(d)(1); (Doc. 24 at 19). He argues, however, that the state habeas court’s decision

cannot be squared with Strickland’s holding as the Supreme Court has applied the

holding in several later cases: Williams v. Taylor, 529 U.S. 362 (2000); Wiggins v. Smith,

539 U.S. 510 (2003); Rompilla v. Beard, 545 U.S. 374 (2005); Porter v. McCollum, 558

U.S. 30 (2009); and Sears v. Upton, 561 U.S. 945 (2010).58 The Court notes initially that


58
    Butts also relies on several decisions from the Eleventh Circuit: Ferrell v. Hall, 640 F.3d 1199 (11th Cir.
2011); Johnson v. Sec’y, DOC, 643 F.3d 907 (11th Cir. 2011); and Williams v. Allen, 542 F.3d 1326 (11th
Cir. 2008). These cases are factually distinguishable. In Ferrell, it was apparent that Ferrell had mental
health problems, but trial counsel failed to learn of his severe organic brain damage, bipolar disorder, and
temporal lobe epilepsy because they never asked any of his family members about his mental health and
unreasonably told their mental health expert to determine only if Ferrell was mentally retarded or if he had
any problems that affected the waiver of rights he signed before giving statements to the police. Ferrell,
640 F.3d at 1203, 1227-28. There is no contention that Butts suffers from brain damage or other serious
mental disorder about which his trial counsel failed to learn, or that trial counsel unreasonably limited the
scope of Butts’s psychological evaluation. Ferrell’s trial counsel spoke with potential witnesses, other than
Ferrell’s parents, only after the guilt phase of the trial and they failed to learn that Ferrell’s father regularly
beat him with whips and straps, that he and his family were repeatedly evicted from their homes, and that he
often went without food. Id. at 1230. Here, trial counsel, well in advance of trial, spoke with numerous
witnesses, reviewed various records, and had Butts examined by a psychologist. They knew Butts’s father
was mentally ill and absent from his life, his mother was a neglectful alcoholic who abused drugs, he was
cared for by his grandmother and aunt, his younger brother had a conduct disorder, and he did well in
school until the ninth or tenth grades. In Ferrell, trial counsel testified that they chose to use a residual
doubt strategy, but they did not present evidence of such or argue residual doubt to the jury. Id. at 1123.
Here, trial counsel presented evidence and argument supporting their residual doubt strategy. In Johnson,
trial counsel waited until “the eleventh hour” to begin their mitigation investigation. Johnson, 643 F.3d at
932. Faced with overwhelming evidence of guilt and having been told by Johnson that he was abused by
his alcoholic father, trial counsel still waited until after the guilt stage of Johnson’s trial was over to attempt to
investigate mitigating circumstances. Id. Johnson’s trial counsel could not explain why he failed to talk to
Johnson’s friends or family members, “other than the obvious fact that he had waited too late to start
investigating his client’s background.” Id. at 933. That clearly did not happen here. In Williams, trial
counsel’s sentencing phase preparation consisted of three sources: speaking only with Williams’s mother,
obtaining a psychological evaluation, and reviewing a pre-sentence investigation report. Williams, 542
F.3d at 1339. Williams’s trial counsel’s sentencing phase strategy “focused on establishing that Williams
had a troubled background,” so “they had every incentive to develop the strongest mitigation case
possible.” Id. at 1340 (citing Wiggins, 539 U.S. at 526). “It thus is apparent that counsel’s failure to
expand their investigation ‘resulted from inattention, not reasoned strategic judgment.’” Id. (quoting
Wiggins, 539 U.S. at 526). Again, that did not happen here. Additionally, the mitigating evidence
uncovered in Williams far exceeds anything presented during the state habeas proceeding in Butts’s case:
Williams suffered severe beatings several times a week, his father physically assaulted him with “deadly
weapons,” his mother beat him with belts and “other instruments,” he was left unsupervised and allowed to


                                                        -59-
        Case 5:13-cv-00194-MTT Document 34 Filed 10/16/15 Page 60 of 104



“[t]hese cares are … relevant only to the extent they might demonstrate that [Butts’s]

counsel, confronted with circumstances like those presented at the time and place of

[Butts’s] trial, failed to adhere to the standard of reasonable representation.” Anderson

v. Sec’y, Fla. Dep’t of Corr., 752 F.3d 881, 904 (11th Cir. 2014). The Supreme Court has

faulted lower courts for reading these cases to establish “a ‘constitutional duty to

investigate’ capital cases in a particular, prescribed way.” Id. at 906 (quoting Pinholster,

131 S.Ct. at 1406). They do not create any “mechanistic rule[s] of law at all for

investigation or for presentation of evidence in capital cases.” Chandler, 218 F.3d at

1317 n.21. Nor can any of these cases “command the outcome for this case” because

the facts here are “materially different, allowing for different outcomes under Strickland.”

Id.

        Butts claims the state habeas court’s decision is “contrary to” Williams because

“the state habeas court confronted a set of facts ‘materially indistinguishable’ from those

in Williams, and yet reached the opposite result.” (Doc. 24 at 115). The Court

disagrees. In Williams, trial counsel did not start preparing for the sentencing phase until

one week prior to trial and “failed to conduct an investigation that would have uncovered

extensive records graphically describing Williams’s nightmarish childhood, not because

of any strategic calculation but because they incorrectly thought that state law barred

access to such records.” Williams, 529 U.S. at 395. Counsel failed to discover records

showing Williams had been “severely and repeatedly beaten by his father,” his parents

were imprisoned for two years for criminal neglect of Williams and his siblings, and, during

their incarceration, Williams was forced to endure an abusive foster home. Id. There


roam the streets alone at ages four or five; he did not have adequate food to eat or clothes to wear, and he
did not receive adequate medical attention for serious injuries. Id. at 1331-34.


                                                   -60-
       Case 5:13-cv-00194-MTT Document 34 Filed 10/16/15 Page 61 of 104



clearly was no such failure in Butts’s case. As discussed, Butts’s trial counsel conducted

a timely, reasonable investigation into his background and obtained most, if not all, of the

records that were tendered to the state habeas court.

       As for prejudice, the Virginia Supreme Court in Williams read Lockhart v. Fretwell,

506 U.S. 364 (1993), “to require a separate inquiry into fundamental fairness even when

Williams [was] able to show that his lawyer was ineffective and that his ineffectiveness

probably affected the outcome of the proceeding.” Williams, 529 U.S. at 393. This was

unreasonable. Id. at 393-94. So was the Virginia Supreme Court’s failure to consider

that mitigating evidence unrelated to future dangerousness might have “alter[ed] the

jury’s selection of penalty, even if it [did] not undermine or rebut the prosecution’s

death-eligibility case.” Id. at 393-94, 398. The state habeas court committed no such

errors in Butts’s case. Instead, it considered all the mitigating evidence presented and,

applying the correct Strickland prejudice test, determined that there was “not a

reasonable probability that the result of the trial or appeal would have been different if

such evidence had been presented at either stage.” (Doc. 16-23 at 45-46).

       Wiggins is also distinguishable. There, trial counsel had a presentence

investigation report that showed Wiggins spent most of his childhood in foster care, noted

his “misery as a youth,” and quoted him as saying his background was “disgusting.”

Wiggins, 539 U.S. at 523. They also had records revealing that Wiggins’s mother was a

chronic alcoholic; he was moved from one foster home to another; he had emotional

difficulties; he had frequent, lengthy absences from school; and his mother left him and

his siblings at home alone for days without food. Id. at 525. Notwithstanding this

information, trial counsel did no further investigation into Wiggins’s background. Id. at




                                             -61-
       Case 5:13-cv-00194-MTT Document 34 Filed 10/16/15 Page 62 of 104



526. The Supreme Court held that trial counsel’s limited investigation was unreasonable

in light of what the records actually revealed. Id. at 525, 527. Because Wiggins’s trial

counsel abandoned their investigation at an “unreasonable juncture” they necessarily

failed to make a fully informed decision regarding their sentencing strategy. Id. at 527.

Again, there is no indication that Butts’s trial counsel prematurely abandoned their

investigation. As discussed above, they spoke with numerous witnesses and obtained

records (again, essentially the same records state habeas counsel got), through which

they learned Butts’s life history.

       Moreover, in Wiggins, trial counsel told jurors they were “‘going to hear that …

Wiggins has had a difficult life.’” Id. at 515. But they presented “no evidence of

Wiggins’s life history.” Id. In contrast, Butts’s trial counsel made a considered decision

to focus on residual doubt after they investigated Butts’s background and they pursued

this theory during both the guilt and sentencing phases of Butts’s trial.

       Also, the prejudice to Wiggins resulting from trial counsel’s ineffectiveness was

plain. Evidence presented at Wiggins’s post-conviction hearing showed: he and his

siblings often had to beg for food or eat paint chips and garbage when their alcoholic

mother left them home alone for days; his mother had sex with men while the children

slept in the same bed; his mother beat him for breaking into the kitchen, which she kept

locked; his mother once forced Wiggins’s hand against a hot stove burner, burning him so

badly he had to be hospitalized; after he was placed in foster care, at age six, the first and

second foster mothers physically abused him, and he was repeatedly raped and

molested by the father in the second foster home; in a later foster home setting he was

“gang-raped . . . on more than one occasion”; and when he entered the Job Corps




                                             -62-
       Case 5:13-cv-00194-MTT Document 34 Filed 10/16/15 Page 63 of 104



program, he was sexually abused by his supervisor. Id. at 517. Obviously, the

mitigating evidence introduced at Wiggins’s post-conviction proceeding was much more

compelling than the evidence Butts presented during his state habeas evidentiary

hearing. Grayson v. Thompson, 257 F.3d 1194, 1230 n.20 (11th Cir. 2001) (noting that

Williams was “easily distinguished,” in part, because the mitigating evidence presented in

Williams was “far more compelling” than that presented by Grayson).

       Finally, no state court had decided whether Wiggins was prejudiced by his

counsel’s failures, and, therefore, the federal court decided this issue without the

constraint of AEDPA deference. Wiggins, 539 U.S. at 534. This Court is

“circumscribed by a state court conclusion with respect to prejudice.” Id. The Court can

grant relief only if it finds no fairminded jurist could agree with state habeas court’s

conclusion that Butts was not prejudiced by trial or appellate counsel’s failure to introduce

the testimonial and documentary evidence presented during the state habeas evidentiary

hearing. This Court cannot make such a finding.

       In Rompilla, the Supreme Court held trial counsel were ineffective because they

failed to examine a readily available file that contained information about Rompilla’s prior

conviction for rape and assault when trial counsel knew the prosecutor was going to use

the prior conviction as an aggravating factor in seeking a death sentence. 545 U.S. at

383. There is no allegation of a similar failure here. Rompilla is inapposite.

       In Porter, no state court had decided whether trial counsel’s performance was

deficient, so the Supreme Court reviewed that element of his Strickland claim de novo

rather than with AEDPA deference. 558 U.S. at 39. In any event, the facts of Porter

bear no similarity to the facts here. Porter’s trial counsel had only one meeting with




                                             -63-
       Case 5:13-cv-00194-MTT Document 34 Filed 10/16/15 Page 64 of 104



Porter prior to sentencing and “did not obtain any of Porter’s school, medical, or military

service records or interview any members of Porter’s family.” Id. Trial counsel “did not

even take the first step of interviewing witnesses or requesting records.” Id. (citing Van

Hook, 130 S. Ct. at 18-19). It cannot be seriously argued that trial counsel’s conduct in

Butts’s case is analogous to the conduct held to be ineffective in Porter.

       Finally, in Sears, the state habeas court found that trial counsel’s investigation into

mitigating evidence was “‘on its face . . . constitutionally inadequate’” because he spent

only a “day or less[,] talking to witnesses selected by [Sears’s] mother.” Sears, 561 U.S.

at 952 (citations omitted). Having found deficient performance, the state habeas court

committed two errors in its prejudice analysis: (1) it unreasonably assumed trial

counsel’s theory—how a death sentence would impact his family—was reasonable; and

(2) it expressly refused to conduct the Strickland prejudice analysis because trial counsel

had presented some evidence during sentencing. Id. at 953-54.

       The state habeas court here committed no such errors. It found that trial counsel

conducted a reasonable investigation and then made a reasonable strategic decision to

present a mitigation theory of residual doubt. (Doc. 16-23 at 19-33, 41-43). Also, unlike

the state court in Sears, it did not find a lack of prejudice simply because trial counsel

presented some mitigating evidence. Instead, it considered all of the mitigating

evidence presented both at trial and during state habeas proceeding and reweighed it

against the evidence in aggravation before deciding that there was no reasonable

probability that the additional testimony would have changed the outcome of Butts’s

sentence. (Doc. 16-23 at 35-41, 45-46). This is the appropriate Strickland prejudice

analysis.




                                             -64-
       Case 5:13-cv-00194-MTT Document 34 Filed 10/16/15 Page 65 of 104



              g. Conclusion

       When evaluating appellate counsel’s effectiveness, the state habeas court

properly analyzed Butts’s claim that trial counsel were ineffective for failing to investigate,

develop, and present evidence of Butts’s background. Having found that appellate

counsel performed deficiently, the state habeas court assumed that effective appellate

counsel would have introduced all the evidence presented at the state habeas evidentiary

hearing. (Doc. 16-23 at 17-18). Applying Strickland, the court considered this evidence

and concluded there was no reasonable probability that the motion for new trial or appeal

would have ended differently. (Doc. 16-23 at 18). In other words, had appellate

counsel presented the same evidence that state habeas counsel did, there was not a

reasonable probability they could have established that trial counsel’s performance was

deficient or that Butts was prejudiced. This Court finds the state habeas court’s

determinations were not contrary to and did not involve an unreasonable application of

Strickland, nor were they based on any unreasonable factual determinations. Thus, the

Court must deny relief on this claim.

          3. Claims that trial and appellate counsel were ineffective in their handling of
             evidence of gang activity

       Butts makes three ineffective assistance claims in relation to evidence of gang

activity: trial counsel were ineffective when they failed to voir dire prospective jurors

about their views on gangs; trial and appellate counsel were ineffective when they failed

to investigate and challenge speculative, inaccurate, and prejudicial evidence suggesting

Parks’s murder was gang-related; and trial and appellate counsel were ineffective when

they failed to secure the services of an expert on gang issues. (Doc. 24 at 124-25).




                                             -65-
       Case 5:13-cv-00194-MTT Document 34 Filed 10/16/15 Page 66 of 104



             a. Trial counsel’s failure to voir dire jurors regarding their views on gangs

      Appellate counsel argued that trial counsel rendered ineffective assistance when

they failed to voir dire jurors regarding their views about gangs. The Georgia Supreme

Court held that

      [t]rial counsel testified in the evidentiary hearing held on remand that he
      made a strategic decision not to question potential jurors about their views
      on gangs because he intended to focus attention on Butts’s co-perpetrator
      as a gang member and because he thought drawing premature attention to
      the issue of gangs would have been counterproductive. This strategic
      decision was reasonable and, accordingly, Butts’s claim that his trial
      counsel rendered ineffective assistance in making that decision fails.

Butts, 273 Ga. at 765, 546 S.E.2d at 480 (footnote omitted).

      Butts argues that the failure to voir dire on gangs “clearly amounts to deficient

performance, and the state court findings to the contrary are unreasonable.” (Doc. 24 at

140). The Court disagrees. The record supports the Georgia Supreme Court’s

findings. Westin testified “[t]here was a great deal of discussion amongst the defense

team” regarding how to deal with the gang issue during voir dire. (Doc. 10-16 at 7).

They feared that raising the issue during voir dire would be “counter-productive” because

“from that point forward, [the jurors] would have associated Mr. Butts with a gang,” while

there was actually very little evidence tying him to the gang. (Doc. 10-16 at 9). While

the wisdom of trial counsel’s decision is debatable, Butts has not shown that no

“’professionally competent counsel’” would have refrained from questioning jurors about

their views on gangs. Spaziano, 36 F.3d 1028 at 1041 (quoting Harich v. Dugger, 844

F.2d 1464, 1470 (11th Cir. 1988)). Thus, he has not shown trial counsel’s strategy was

“outside the wide range of reasonable professional assistance.” Id. Certainly, he has

not shown that no fairminded jurist could agree with the Georgia Supreme Court’s




                                           -66-
       Case 5:13-cv-00194-MTT Document 34 Filed 10/16/15 Page 67 of 104



conclusion. Holsey, 694 F.3d at 1257.

       Butts faults the Georgia Supreme Court for accepting Westin’s “rationales without

any scrutiny.” (Doc. 24 at 155). In effect, he argues the state court engaged in too little

analysis when it determined trial counsel’s actions were reasonable. State courts simply

are not required to “put forth rationales for their decisions so that federal courts can

examine their thinking.” Wright v. Sec’y, Dep’t of Corr., 278 F.3d 1245, 1255 (11th Cir.

2002) (citing Hennon v. Cooper, 109 F.3d 330, 335 (7th Cir. 1997)). Applying AEDPA

deference, this Court cannot find the Georgia Supreme Court’s decision legally or

factually unreasonable.

              b. Trial and appellate counsel’s alleged failure to investigate and challenge
                 the evidence suggesting Parks’s murder was gang–related

       Trial counsel investigated Butts involvement with FOLKS. After Butts told

Crawford that he was in FOLKS, she interviewed several gang members, including

Antonio Redding. (Doc. 13-26 at 53-56). When Crawford informed Butts that FOLKS

gang members were denying his involvement, “he would get aggravated … and kind of

laugh and say, ‘Well, they just don’t want to tell you….’” (Doc. 13-27 at 53). In his

statement to investigators, Wilson said he and Butts were in FOLKS. (Doc. 14-27 at 90).

Westin testified at the state habeas evidentiary hearing that he thought Butts and his

younger half-brother were in a gang. (Doc. 13-2 at 16). Crawford visited Butts’s home

and found “gang paraphernalia all over the house.” (Doc. 13-26 at 50).

       Investigators had seized various papers containing gang graffiti from the top left

dresser drawer in Butts’s bedroom and composition notebooks containing gang graffiti in

Tamayo’s bedroom. (Doc. 10-5 at 68-70, 86). They had also photographed the word

“FOLKS” that appeared twice on the dresser in Butts’s bedroom and various gang graffiti



                                            -67-
       Case 5:13-cv-00194-MTT Document 34 Filed 10/16/15 Page 68 of 104



that appeared in other areas of Butts’s home. (Doc. 10-5 at 71-76, 78-85). From

Butts’s car, they seized a dark blue bandanna and various gang-related drawings. (Doc.

10-7 at 31-38).

       Trial counsel moved in limine to exclude this evidence, arguing that any relevance

of the evidence was outweighed by its prejudicial impact. (Doc. 8-3 at 99-103). The

trial court denied the motion.

       During the sentencing phase of Butts’s trial, Detective Bobby Langford testified

about the gang paraphernalia that was seized from Butts’s house following his arrest for

Parks’s murder. (Doc. 10-5 at 67-87). Detective Ricky Horn testified about the gang

paraphernalia that was seized from Butts’s car. (Doc. 10-7 at 31-38).

       Detective Ricky Horn also testified about gang activity in Milledgeville, Georgia.

He testified that he began collecting evidence on Milledgeville gangs in 1989, which is

when authorities became aware of gang activity in that area. (Doc. 10-7 at 21). By

1991, Horn saw indications of “more serious, more dangerous gangs,” including the

FOLKS gang, which originated in Chicago. (Doc. 10-7 at 21-12). Around that time,

Horn attended a comprehensive gang seminar sponsored by the United States Attorney’s

Office, Federal Bureau of Investigation, and the Atlanta Police. (Doc. 10-7 at 22). At

the seminar, Horn learned more about gang culture and studied Chicago-based gangs.

(Doc. 10-7 at 22). Following the seminar, he performed independent study regarding

gangs, including reading periodicals, speaking with other law enforcement agencies

throughout the country, and speaking with local persons involved with gangs in

Milledgeville. (Doc. 10-7 at 21-23).




                                           -68-
        Case 5:13-cv-00194-MTT Document 34 Filed 10/16/15 Page 69 of 104



        Horn testified that an “O.G.” is a gang member with some standing in the gang, and

members attain standing by performing certain, sometimes criminal, acts.59 (Doc. 10-7

at 27). The more serious crimes afford higher status. (Doc. 10-7 at 27). Horn said that

FOLKS gang members committed everything from “simple battery up to … murder,

armed robbery, [and] aggravated assault.” (Doc. 10-7 at 46).

        Appellate counsel argued that trial counsel were ineffective when they “failed to

object to the introduction of evidence of ‘gang paraphernalia’ by the State in the

sentencing phase” and when they “failed to object to testimony concerning gangs and

gang activity in [Milledgeville] during the sentencing phase.” (Doc. 10-22 at 10).

        The Georgia Supreme Court found:

        Butts contends that evidence about the F[OLKS] gang and gangs in general
        was irrelevant to the issues in the sentencing phase of his trial and that
        presentation of the evidence violated his freedom of speech and his
        freedom of association under the Constitution of the United States. The
        evidence in question suggested that Butts was involved with the F[OLKS]
        gang and that the gang required acts of violence for promotion within its
        ranks. We conclude that, because the “violent nature of that gang was
        relevant to the issues to be decided by the jury during the sentencing phase
        of [Butts’s] trial,” the contested evidence was not an invitation for the jury to
        punish Butts based upon his exercise of constitutional rights and,
        accordingly, that the evidence was admissible. Finally, although we find
        no error, we also note that Butts has waived this issue by failing to object at
        trial.

        Because the evidence about the F[OLKS] gang and gangs in general was
        not improper, Butts’s trial counsel did not render ineffective assistance by
        failing to object to it.

        Butts argues that an investigator gave testimony during the sentencing
        phase of Butts’s trial about gangs that would have been improperly
        perceived by the jury as being expert testimony. This issue is waived
        because Butts raised no objection at trial. Furthermore, we find nothing

59
  Captain Russell Blenk testified that when he was escorting Butts to a September 25, 1998 pretrial
hearing, he noticed that “O.G. Butts” was written on the top of Butts’s right shoe. (Doc. 10-7 at 12-13).
Blenk explained that “O.G.” “is gang terminology for original gangster” and that “FOLKS are right side
dominant.” (Doc. 10-7 at 13).


                                                   -69-
       Case 5:13-cv-00194-MTT Document 34 Filed 10/16/15 Page 70 of 104



       improper in the testimony, as it appears from the transcript that the witness
       would have qualified easily as an expert on gangs.

       Evidence showing that while incarcerated Butts had set a fire, had fought
       with another inmate, and had “O.G. [Original Gangster] Butts” written on his
       shoes was not objected to during the sentencing phase of Butts’s trial and,
       therefore, cannot be complained of now on appeal. Furthermore, we note
       that the evidence was not improper.

       Because the evidence complained of here was not improper, Butts’s trial
       counsel did not render ineffective assistance by failing to object to it.

Butts, 273 Ga. at 768-69, 546 S.E.2d at 482-83 (footnotes omitted).

       Before the state habeas court, Butts argued that trial counsel ineffectively handled

gang evidence in several respects: (1) trial counsel failed to challenge gang evidence,

including their failure to investigate and challenge the testimony of Detective Ricky Horn;

(2) “trial counsel failed to file discovery motions that would have provided defense

counsel with an opportunity to learn of, prepare for, and seek the exclusion of putative

expert testimony regarding Petitioner’s alleged membership in the F[OLKS] gang”; (3)

“trial counsel provided no rebuttal to the prosecution’s inflammatory use of testimony

regarding gang membership and activities”; and (4) “trial counsel failed to raise a

challenge under Daubert v. Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579 (1993) as to

the reliability and admissibility of expert testimony regarding gangs.” (Doc. 16-23 at 7-8,

47).

       The state habeas court found that the Georgia Supreme Court had already

addressed some of these claims and noted that “[n]othing in the record before this Court,

including the testimony of Petitioner’s gang expert, Dr. John Hagedorn, leads the Court to

conclusions different than those of the Supreme Court.” (Doc. 16-23 at 48). The state

habeas court found some of the claims were procedurally defaulted. However, the court




                                           -70-
       Case 5:13-cv-00194-MTT Document 34 Filed 10/16/15 Page 71 of 104



ultimately considered claims that trial counsel failed to adequately investigate and

challenge the gang evidence when it evaluated the properly raised claims of appellate

counsel’s ineffectiveness:

      The Court finds that [Butts] has failed to establish any deficient performance
      on the part of trial counsel with respect to his claims regarding gang
      evidence, including the failure to investigate and to challenge the state’s
      evidence…. Accordingly, to the extent that such claims are not already
      barred by the doctrine of res judicata, the Court finds that appellate
      counsel’s failure to raise such claims … did not constitute deficient
      performance. Even if the Court were to find such deficient performance,
      the Court finds no prejudice.

(Doc. 16-23 at 54).

      Butts argues that the decisions of both the Georgia Supreme Court and the state

habeas court are factually and legally unreasonable in several respects.

                      1.   Admissibility of gang evidence, including Horn’s testimony

      Butts argues that the Georgia Supreme Court’s rulings on his gang-related

challenges were based on its determination that the “violent nature of [the FOLKS] gang

was relevant to the issues to be decided by the jury during the sentencing phase of

[Butts’s] trial.” Butts, 273 Ga. at 768, 546 S.E.2d at 482 (citations and quotation marks

omitted). That finding, according to Butts, was “based on an unreasonable factual

determination.” (Doc. 24 at 128). Specifically, he argues that, unlike the situation with

his codefendant, the evidence connecting him to FOLKS was tenuous, at best. (Doc. 24

at 128). Because there was no connection between Butts and the gang-related

evidence, Butts argues the Georgia Supreme Court unreasonably failed to determine that

the slight probative value of the gang-related evidence was far outweighed by its

prejudicial effect. (Doc. 24 at 128-29).




                                            -71-
        Case 5:13-cv-00194-MTT Document 34 Filed 10/16/15 Page 72 of 104



        Certainly, the evidence that linked Butts to the FOLKS gang was not as strong as

the evidence that linked Wilson to the same gang. Wilson v. Humphrey, 2013 WL

6795024, at *24, *35 (M.D. Ga. 2013). Butts, unlike Wilson, did not confess to authorities

that he was a gang member or write letters to his fellow gang members advocating

violence. Id. However, the evidence seized from his bedroom and his car, as well as

the shoes he had on his feet, linked him to the FOLKS gang.60

        While Butts faults trial counsel for failing to object to Horn’s testimony, he has not

shown that the Georgia Supreme Court’s decision that Horn “would have qualified easily

as an expert on gangs, and therefore trial counsel were not ineffective for failing to

object,” was based on any unreasonable factual determinations or that it involved an

unreasonable application of Strickland.. Butts, 273 Ga. at 769, 546 S.E.2d at 483. As

the Court explained in Wilson, both Georgia and federal courts have allowed experienced

law enforcement officers, such as Horn, to testify as gang experts. Wilson, 2013 WL

6795024, at *41 (citations omitted). As an expert, Horn would be allowed to rely on

hearsay for his opinions.61 Id. (citations omitted).

                         2. Trial counsel’s investigation of gang evidence

        Butts claims the state habeas court unreasonably found that trial counsel had

investigated the gang evidence. As explained above, trial counsel investigated Butts’s
60
  Butts maintains that “[u]nderscoring the vast gap between the evidence in the two cases, Mr. Wilson did
not even challenge the relevance of the gang evidence to his case and, derivatively, did not challenge the
deficiency of his counsel for failing to object to its admissibility.” (Doc. 24 at 130). This is not correct.
Wilson argued that “trial counsel were deficient because they failed ‘to protect [him] from irrelevant,
unreliable, false, and misleading evidence regarding gangs.’” Wilson, 2013 WL 6795024, at *38.
61
   Also, the Court notes that Westin was aware that trial courts and Georgia appellate courts had ruled
gang-related evidence in aggravation admissible during sentencing. (Doc. 10-16 at 56). Having attended
Wilson’s trial, he reasonably thought that the trial court was going to allow Horn to testify in Butts’s
sentencing phase, just as the trial court had done in Wilson’s case. (Doc. 10-16 at 51, 55). Knowing that
the testimony would be allowed, Westin explained that he thought objecting to the evidence would simply
“put … more emphasis on what you know is already going to be a bad part of your case.” (Doc. 10-16 at
11).


                                                    -72-
       Case 5:13-cv-00194-MTT Document 34 Filed 10/16/15 Page 73 of 104



involvement with FOLKS and discovered ample evidence that Butts was a member of

FOLKS. Given the wealth of evidence trial counsel discovered that suggested Butts was

in FOLKS, trial counsel’s investigation was not deficient.

       Butts complains that trial counsel did not demand “discovery of any files on the

FOLKS gang maintained by the prosecutor’s office.”       (Doc. 24 at 155). However, Butts

has not explained how trial counsel would have benefited from pre-trial discovery of these

files, much less shown a reasonable probability that but for their failure to obtain these

files, the result of the trial would have been different. (Doc. 24 at 155-56); Strickland, 466

U.S. at 694.

                     3. Trial counsel’s strategy and performance at trial

       Butts complains that trial counsel failed to challenge adequately the State’s gang

evidence. However, trial counsel did move to exclude the gang evidence seized from

Butts’s car and home. (Doc. 8-3 at 99-102). Having lost the motion in limine and

knowing how gang evidence had been used in Wilson’s trial, Westin testified that trial

counsel discussed how to handle the gang evidence “thousands and thousands of times.”

(Doc. 10-16 at 43). Ultimately, they determined the evidence was “a two-edged sword.”

(Doc. 10-16 at 8). Butts was not “implicated deeply in … the gang with the physical

evidence that the State had.” (Doc. 10-16 at 8). Westin testified,

       I knew Mr. Horn was going to testify about gangs, but there was no way to
       put [Butts] in a gang. Okay? He didn’t have any, like, other than that stuff
       on his wall, and that wasn’t even his room. I mean, it’s just that the
       implication was that he was in the gang. But I don’t think … they ever
       testified that he was or wasn’t.

(Doc. 13-1 at 93). However, the fact that Wilson was “deeply involved with the gang was

certainly something that [they] … wanted the jury to hear.” (Doc. 10-16 at 8). Westin




                                             -73-
        Case 5:13-cv-00194-MTT Document 34 Filed 10/16/15 Page 74 of 104



explained, “[T]he worse we made Mr. Wilson look and being associated with the gang, the

better I thought it looked for Mr. Butts.” (Doc. 10-16 at 8).

        Trial counsel implemented this strategy through cross-examination. (Doc. 10-16

at 8). Specifically, Horn testified on cross-examination that he had “a fairly good

foundation of information” about who in Milledgeville belonged to gangs, and Butts was

not known to be a gang member. (Doc. 10-7 at 42). Redding testified on

cross-examination that he was familiar with FOLKS, and Butts was not a FOLKS member.

(Docs. 10-5 at 154, 157-58, 163-65; 10-6 at 1). Langford acknowledged that none of the

seized gang evidence was directly linked to Butts. (Doc. 10-15 at 102-04). Redding

testified that he was the one who gave Butts the gang-related writings and graffiti that

police seized from Butts’s bedroom dresser.62 (Doc. 10-5 at 163-165; 10-6 at 1). He

explained that a person called “Skid” gave them to him to give to Butts. (Doc. 10-5 at

163). Redding stated that he visited Butts’s home often, and prior to the time he gave

Butts’s these gang-related materials, he had never seen gang paraphernalia in Butts’s

bedroom. (Doc. 10-5 at 164).

        Butts argues that trial counsel should have called other FOLKS gang members or

Butts’s family members who could have testified that Tamayo and Dominique were in the

FOLKS gang, but Butts was not. (Doc. 24 at 156-57). This would have been

cumulative of Redding’s testimony. Rhode v. Hall, 582 F.3d 1273, 1287 (11th Cir. 2009)

(explaining trial counsel not ineffective for failing to present cumulative evidence). Also,

trial counsel explained that they were unable to find any family member willing to testify at

trial. (Docs. 10-16 at 27; 13-1 at 123).


62
  Prior to trial, Westin met with Redding to have him view and discuss the gang writings and drawings that
police seized from Butts’s bedroom dresser and car following Parks’s murder. (Docs. 10-5 at 162-63).


                                                   -74-
      Case 5:13-cv-00194-MTT Document 34 Filed 10/16/15 Page 75 of 104



      Trial counsel established that Wilson was the leader of FOLKS. Horn testified

that Wilson’s name was “at the top of [the] list” of known FOLKS. (Doc. 10-7 at 42).

      Trial counsel challenged Horn’s testimony about the violent nature of gangs.

Horn acknowledged that young people do not join gangs solely to commit crimes. Often

impoverished youth with low self-esteem join gangs simply because they are looking for a

family unit. (Doc. 13-7 at 103-04). Horn admitted that “just because one is … in a gang

does not necessarily mean that one is predisposed to kill someone,” and not all gang

members end up committing crimes.       (Doc. 10-7 at 41-42).

      Trial counsel established that law enforcement had no evidence that Parks’s

murder was gang-related. Horn admitted he had no personal knowledge that Parks was

murdered so Butts could be elevated in the gang. (Doc. 10-7 at 44-45). Horn also

admitted that if a gang member commits a crime to further his interests in the gang or to

further the gang’s interest in general, he can be charged with a separate “gang-related

activity” crime, and Butts was not charged with such a crime. (Doc. 10-7 at 46-47).

      In short, trial counsel developed a reasonable strategy for handling the gang

evidence and, through cross-examination of the State’s witnesses, established that Butts

was not a known member of FOLKS, that the gang paraphernalia might not have

belonged to him, and that Wilson was the leader of FOLKS. Therefore, the state habeas

court’s decision that trial counsel effectively challenged and handled the gang evidence

was not factually or legally unreasonable.

                    4. Appellate counsel

      Butts faults appellate counsel for failing to “conduct any investigation to rebut the

gang evidence” and argues that he was prejudiced because they were unable to show




                                             -75-
       Case 5:13-cv-00194-MTT Document 34 Filed 10/16/15 Page 76 of 104



what trial counsel could have presented to the jury. (Doc. 24 at 141). Presumably, the

best evidence appellate counsel could have presented was admitted at the state habeas

evidentiary hearing and the state habeas court, after considering that evidence, found

that Butts failed to establish deficient performance on the part of appellate counsel with

respect to the gang evidence. (Doc. 16-23 at 54). The state habeas court also found

that, even if it found deficient performance, no prejudice resulted. (Doc. 16-23 at 54).

Butts has not shown this was factually unreasonable or that it involved an unreasonable

application of Strickland.

              c. Trial and appellate counsel’s failure to hire a gang expert

       Butts concedes his claim that trial counsel were ineffective for failing to hire a gang

expert is procedurally defaulted. (Doc. 24 at 142). However, he argues the ineffective

assistance of appellate counsel constitutes cause to overcome the default. (Doc. 24 at

142). The state habeas court considered the conduct of trial counsel as part of its

analysis of Butts’s ineffective assistance of appellate counsel claim and determined that

trial and appellate counsel were not deficient for failing to retain a gang expert. (Doc.

16-23 at 5 n.2, 54). The state habeas court also found no prejudice. (Doc. 16-23 at 54).

       Butts argues these findings are factually unreasonable and/or constitute an

“unreasonable application of … clearly established Federal law.” 28 U.S.C.

§ 2254(d)(1). Citing Wiggins, Butts argues that because the State had a gang expert

(Horn), trial counsel should have hired one. (Doc. 24 at 150). Wiggins does not stand

for the proposition that trial counsel must hire an expert when they know the State plans to

call an expert. In Wiggins, one of the factors supporting the Supreme Court’s

determination that trial counsel were ineffective was their failure, despite the availability of




                                              -76-
        Case 5:13-cv-00194-MTT Document 34 Filed 10/16/15 Page 77 of 104



funds, to hire an expert to prepare a social history report when the preparation of such

was “standard practice” in capital cases. Wiggins, 539 U.S. at 524. In Butts’s case,

there is no indication that it was “standard practice” to hire a gang expert simply because

the State has one.

        Citing Ake v. Oklahoma, 470 U.S. 68 (1985), Butts claims that the trial court could

not have denied him funds for a gang expert, and, therefore, trial counsel were per se

ineffective for failing to request funds and hire such an expert. (Doc. 24 at 143). In Ake,

the Supreme Court held that when a defendant carries his burden to show that “sanity at

the time of the offense is to be a significant factor at trial, the State must, at a minimum,

assure the defendant access to a competent psychiatrist who will conduct an appropriate

examination….” Id. at 83. This holding is simply not relevant. Thus, the state habeas

court’s decision that trial counsel’s performance was not deficient because they failed to

hire a gang expert did not involve an unreasonable application of Ake. Newland v. Hall,

527 F.3d 1162, 1183 (11th Cir. 2008) (quoting Williams, 529 U.S. at 412-13) (explaining

that the “‘[c]learly established Federal law’ consists of the ‘holdings, as opposed to dicta,

of the [United States Supreme] Court’s decisions as of the time of the relevant state-court

decision’”).

        Butts argues trial counsel were ineffective for failing to hire a gang expert because

the impressive credentials of an expert such as Hagedorn stand in “stark contrast” to

Horn’s credentials and would have been useful in a motion in limine challenging the

expertise of Horn. (Doc. 24 at 145). However, Hagedorn’s credentials,63 would not


63
    Hagedorn holds a PhD in urban studies, is an associate professor of criminal justice at the University of
Illinois, Chicago, and a senior research fellow at the Great Cities Institute in Chicago. (Doc. 13-3 at 43).
At the time of the state habeas evidentiary hearing, he had studied gangs for 25 years, with the majority of
his research based in Milwaukee, Wisconsin and Chicago, Illinois. (Doc. 13-3 at 43, 53). His book, John


                                                    -77-
        Case 5:13-cv-00194-MTT Document 34 Filed 10/16/15 Page 78 of 104



have prevented Horn from qualifying as an expert on gangs in the Milledgeville area. As

discussed above and in Wilson, Horn’s “expertise was based primarily on his experience.”

Wilson, 2013 WL 6795024 at *40. “Georgia courts, like federal courts, permit law

enforcement officers with sufficient experience to testify as gang experts.” Id. (citing

Burgess v. State, 292 Ga. 821, 822, 742 S.E.2d 464, 466 (2013); Williams v. State, 279

Ga. 731, 732, 620 S.E.2d 816, 818 (2005); and United States v. Augustin, 661 F.3d 1105

(11th Cir. 2011)). Thus, even if trial counsel hired an expert such as Hagedorn, Horn

would have been allowed to testify about the local FOLKS gang.

        Butts argues that an expert, such as Hagedorn, could have testified that there was

no evidence that Butts killed Parks so that he could be elevated in the ranks of the gang.

(Doc. 24 at 146-47). However, Horn’s and Hagedorn’s testimony on this issue was

virtually identical. Horn testified that gang members commit crimes to advance their

ranks in the gang. (Doc. 10-7 at 27). Hagedorn agreed. (Doc. 13-3 at 98-99). Horn

admitted he had no personal knowledge that Parks was killed so that Butts could move up

in rank in the FOLKS gang. (Doc. 10-7 at 44-45). Hagedorn agreed, stating, “I agree

with Detective Horn, there was no evidence that this was a gang related crime.” (Doc.

13-3 at 61). Accordingly, the state habeas court’s finding that Hagedorn “corroborated”

Horn’s testimony was reasonable.64 (Doc. 16-23 at 52).



Hagedorn, People and FOLKS: Gangs, Crime and Underclass in a Rust Belt City (Lakeview, 2d ed. 1998),
describes the origins and behavior of gangs in Milwaukee, Wisconsin. (Doc. 13-3 at 44-45). He has
never lived in Georgia, never visited Milledgeville before being retained in Butts’s case, and never met or
spoke with any Milledgeville FOLKS gang members before 2005, when he met Wilson. (Doc. 13-3 at
54-57). The state habeas court accepted Hagedorn as an expert on gangs in general, explaining that “the
specifics of his ability to have … information about Milledgeville particularly within the time frame that we’re
talking about … goes more to the weight of it than his being able to testify….” (Doc. 13-3 at 59).
64
   Butts complains that the state habeas court cited Wilson’s statement that committing crimes give a gang
member “more range” and Angela Johnson’s statement that Butts killed Parks to improve his rank within the
gang. (Doc.24 at 150-51) (quoting Doc. 16-23 at 52 n. 23). He argues that these statements are not
admissible because they are both hearsay. (Doc. 24 at 150-51). This Court is not sure why the state


                                                     -78-
        Case 5:13-cv-00194-MTT Document 34 Filed 10/16/15 Page 79 of 104



        Butts argues that an expert, such as Hagedorn, could have testified that FOLKS

does not, in fact, stand for “Followers of Our Lord King Satan.” (Doc. 24 at 148-49).

While Hagedorn testified he and his associates in Chicago had “never heard of such a

thing,” he acknowledged that local gangs create their own signs and symbols and have

their own identities. (Doc. 13-3 at 79, 89). Thus, while Hagedorn could have “provided

the jury with an alternative narrative,” he did not actually rebut Horns testimony. (Doc. 24

at 152). Horn himself provided an “alternative narrative,” telling the jury that FOLKS also

stands for “followers of Lord King Solomon.” (Doc. 10-7 at 24).

                d. Conclusion

        The Georgia Supreme Court’s determination that trial counsel were not ineffective

for failing to voir dire potential jurors about their views on gangs was not contrary to clearly

established federal law or unreasonable, either legally or factually. The Georgia

Supreme Court’s determination that evidence about the FOLKS gang and testimony from

Horn was admissible was not based on any unreasonable factual determinations. Thus,

that court’s determination that trial counsel were not ineffective for failing to object to the

evidence and testimony was not contrary to Strickland, did not involve an unreasonable

application of Strickland, nor was it based on any unreasonable factual determinations.

The state habeas court reasonably determined that trial counsel did not perform

deficiently in their investigation of gang evidence, their challenge to gang evidence, and

their failure to hire a gang expert. Finding no deficiency in trial counsel’s performance,

the state habeas court reasonably concluded that appellate counsel were not deficient

for, and Butts was not prejudiced by, their failure to raise these claims on direct appeal.

habeas court cited this testimony. But, Horn testified that gang members commit crimes to rise in the
ranks of the gang, and Hagedorn agreed. They both also testified that they could not say that Butts shot
Parks to elevate his position in this gang. (Docs. 10-7 at 27, 44-45; 13-3 at 61, 98).


                                                  -79-
       Case 5:13-cv-00194-MTT Document 34 Filed 10/16/15 Page 80 of 104



          4. Claim that trial counsel failed to argue in the sentencing phase that a
             sentence of death was disproportionate and, therefore, precluded by
             Enmund v. Florida, 458 U.S. 782 (1982), and its progeny

       Butts argues that trial counsel were ineffective during the sentencing phase of his

trial because they failed to argue that a death sentence is disproportionate punishment

given that the evidence did not conclusively establish he killed Parks. (Doc. 24 at 160).

He acknowledges that the state habeas court found this claim to be procedurally

defaulted. (Doc. 24 at 160) (citing Doc. 16-23 at 8). Without further explanation, he

argues this claim should have been presented on direct appeal but was not due to

ineffective assistance of appellate counsel, which provides the cause to overcome this

default. (Doc. 24 at 164). Respondent has not addressed the claim in his briefs.

       For ineffective assistance of appellate counsel to constitute cause to overcome

procedural default, the ineffective assistance of appellate counsel claim must be “both

exhausted and not procedurally defaulted.” Ward, 592 F.3d at 1157. In his state

habeas petition, Butts argued that the death sentence in his case was disproportionate

under Enmund v. Florida, 458 U.S. 782 (1982). (Doc. 12-13 at 21). He also argued,

“[t]o the extent counsel failed to raise this issue on direct appeal or to research, brief, and

argue it effectively, appellate counsel were ineffective.” (Doc. 12-13 at 21 n.6). The

state habeas court did not specifically address this issue, but rather disposed of it in a

catch-all ruling: “As to any of [Butts’s] ineffective assistance of appellate counsel claims

not directly addressed, this Court finds that [Butts] has failed to establish the deficiency or

the prejudice prong of any of his claims of ineffective assistance of appellate counsel and

they are hereby denied.” (Doc. 16-23 at 58). Therefore, Butts’s claim that appellate

counsel were ineffective for failing to raise the disproportionate sentence allegation has




                                             -80-
       Case 5:13-cv-00194-MTT Document 34 Filed 10/16/15 Page 81 of 104



been exhausted and is not procedurally defaulted. The remaining issue is whether the

state habeas court reasonably determined the claim was without merit.

       In Enmund v. Florida, 458 U.S. 782 (1982), the Court held that the death penalty

may not be imposed on a defendant who “aids and abets a felony in the course of which a

murder is committed by others but who does not himself kill, attempt to kill, or intend that

a killing take place or that lethal force will be employed.” Id. at 797. In Tison v. Arizona,

481 U.S. 137 (1987), the Supreme Court limited Enmund, holding that “major

participation in the felony committed, combined with reckless indifference to human life, is

sufficient to satisfy the Enmund culpability requirement.” Id. at 158. Butts concedes he

was a “major participant” in the crime but argues that the State did not show he was

recklessly indifferent to human life. (Doc. 24 at 162). A finding of the requisite

culpability may be made by a jury, the trial judge, or an appellate court. Cabana v.

Bullock, 474 U.S. 376, 392 (1986). Under 28 U.S.C. § 2254(d), the factual findings as to

culpability are presumed correct and, unless the petitioner overcomes the presumption,

this Court must hold that the Eighth Amendment is not offended by the death sentence.

Cabana, 474 U.S. at 388.

       There was evidence that Butts was the actual shooter. (Doc. 9-14 at 43-45, 102).

The jury was charged as follows:

       I further charge you that the sentence of life imprisonment without parole or
       death shall not and cannot be imposed unless you find beyond a
       reasonable doubt that the defendant either (a) committed the murder; (b)
       attempted to kill the victim; or, (c) intended that deadly force be used by
       another to accomplish the criminal enterprise.

(Doc. 10-7 at 129). It took the jury less than one hour to make such a finding and

determine Butts should receive a sentence of death. (Doc. 10-7 at 136).




                                            -81-
       Case 5:13-cv-00194-MTT Document 34 Filed 10/16/15 Page 82 of 104



       On direct appeal, the Georgia Supreme Court determined the facts supported the

verdict and sentence:

       We find that, viewed in the light most favorable to the verdicts, the evidence
       presented at trial was sufficient to authorize the jury to find beyond a
       reasonable doubt that Butts was guilty of all charges and that the one
       statutory aggravating circumstance existed….

                                          ….

       Although the trial judge’s report indicates that the evidence did not
       “foreclose all doubt” in this case, we note that the evidence supporting the
       jury’s finding of guilt was very strong. The fact that Butts asked the victim
       for a ride, even though he had driven his own automobile to the store,
       shows that he was involved in the motor vehicle hijacking from the
       beginning. The evidence also suggested that Butts carried the shotgun
       with him into the store as he sought out a victim. Testimony at trial showed
       that Butts had worked with the victim previously, suggesting that Butts
       intended from the beginning to murder the victim in order to ensure the
       victim’s silence. Several of Butts’s former jail mates testified that he had
       admitted being the triggerman…. These circumstances all might
       reasonably have urged the jury to impose a death sentence.

Butts, 273 Ga. at 762, 771, 546 S.E.2d at 478, 484-85 (footnotes omitted).

       Given these findings, it was reasonable for the state habeas court to determine

that appellate counsel were not ineffective for failing to raise the claim that trial counsel

should have argued Butts’s sentence was disproportionate under Enmund. Also

reasonable was the state court’s finding that there was no reasonable probability of a

different result had the issue been raised during direct appeal. Because appellate

counsel were not ineffective, Butts cannot overcome the procedural default of his claim

that trial counsel were ineffective for failing to argue that his death sentence was

precluded by Enmund.




                                               -82-
       Case 5:13-cv-00194-MTT Document 34 Filed 10/16/15 Page 83 of 104



       B. Claim Two: The trial court’s improper rulings and other errors
          deprived Petitioner of a fair trial and reliable sentencing in
          violation of the First, Fourth, Fifth, Sixth, Eighth, and Fourteenth
          Amendments to the United States Constitution.

          1. The trial court’s failure to excuse Juror Charles Osborne, Jr. for cause

       Butts argues that the trial court violated his constitutional rights when it failed to

strike Juror Charles Osborne, Jr. for cause. (Doc. 24 at 166). At the time of Butts’s trial,

Osborne “was the current City Marshal and former 14-year Chief of Police, who had

investigated murders, knew several of the witnesses in [Butts’s] trial personally, including

many of the officers, and who still possessed arrest powers in his current position with the

City.” (Doc. 24 at 167). Butts argues that because he was alleged to have killed a

correctional officer, Osborn had “‘such a close connection to the circumstances of the

case that bias must be presumed.”’ (Doc. 24 at 167) (quoting United States v. Trujillo,

146 F.3d 838, 842-43 (11th Cir. 1998)).

       The Georgia Supreme Court rejected this argument in Butts’s direct appeal.

       Butts argues that juror Osborne should have been excused for cause
       because he was serving as City Marshal and had formerly served as Chief
       of Police. Although we have held that actively-serving full-time police
       officers with arrest powers must be excused upon request in a criminal trial,
       we have refused to extend that automatic disqualification rule to other
       persons who are less-connected with law enforcement. Juror Osborne
       indicated that he was no longer serving as Chief of Police and that his duties
       as City Marshal concerned “building code [and] other miscellaneous”
       matters. He explained that, although he believed he possessed arrest
       powers, he was not involved in criminal matters. The trial court properly
       found that this juror was not automatically disqualified, and Butts has failed
       to show that the juror should have been disqualified for favor.

Butts, 273 Ga. at 763-64, 546 S.E.2d at 479 (footnotes omitted).

       Butts faults the state court for “ignoring” his argument that, in addition to being City

Marshal and former police chief, Osborn had reviewed the witness list and knew quite a




                                             -83-
        Case 5:13-cv-00194-MTT Document 34 Filed 10/16/15 Page 84 of 104



few of the witnesses, particularly those involved with law enforcement. (Doc. 24 at 167).

State courts are not required to explain all, or any, of the reasons for their decisions.

Evans v. Sec’y, Dep’t of Corr., 703 F.3d 1316, 1329-30 (11th Cir. 2013); Wright, 278 F.3d

at 1255 (holding that “[r]equiring state courts to put forward rationales for their decision so

that federal courts can examine their thinking smacks of a ‘grading papers’ approach that

is outmoded in the post-AEDPA era”). This Court cannot simply assume the Georgia

Supreme Court “failed to consider all of the circumstances” because it did not list each of

Butts’s arguments regarding juror Osborn. To the contrary, the Eleventh Circuit has

expressly rejected the argument that a state court’s opinion is unreasonable unless it

“actually ‘consider[ed] every relevant circumstance’ (and every argument) by explicitly

mentioning each one.” Lee v. Comm’r, Ala. Dep’t of Corr., 726 F.3d 1172, 1211 (11th

Cir. 2013). Additionally, Butts has pointed to no clearly established Supreme Court case

law that would have required the trial court to strike Osborne for cause because of his

current position, former position, or his knowledge of others in the law enforcement

community. See Woods v. Donald, 135 S. Ct 1372, 1376 (2015) (explaining that “clearly

established Federal law for purposes of § 2254(d)(1) includes only the holdings … of this

Court’s decisions”) (citations and quotation marks omitted). For these reasons, the

Court denies relief on this claim.

             2. The trial court’s admission of photographs of the victim

        Butts argues that crime scene photographs65 of Parks’s body should not have


65
  These include State’s Exhibits 3 through 6 admitted at trial. State’s Exhibit 3 is a photograph of Parks’s
entire body at the scene (Doc. 9-7 at 126); State’s Exhibit 4, which was admitted over objection that it was
duplicative of State’s Exhibit 3, is a photograph of Parks’s body from the waist up (Doc. 9-8 at 9-10); State’s
Exhibit 5 is a close-up photograph of the wound, which was admitted over objection that it was duplicative of
State’s Exhibit 4 (Doc. 9-8 at 10-11); State’s Exhibit 6 is a photograph of the “pool of blood in relation to the
house,” which was admitted over objection that it was duplicative and prejudicial. (Doc. 9-8 at 11).



                                                      -84-
        Case 5:13-cv-00194-MTT Document 34 Filed 10/16/15 Page 85 of 104



been admitted because they were irrelevant and duplicative. (Doc. 24 at 170). He also

argues that the trial court failed to “carefully screen[] for relevancy” three autopsy

photographs66 that the Deputy Chief Medical Examiner for the G.B.I. Crime Laboratory

discussed during his testimony regarding Parks’s autopsy. (Doc. 24 at 170-71).

        Appellate counsel raised this issue and the Georgia Supreme Court held that

        [p]retermitting the question of waiver raised by trial counsel’s failure to raise
        an objection to certain photographs of the victim’s wounds, we find that the
        photographs, the originals of which appear in the record of Butts’s
        co-perpetrator’s trial, were admissible. We also find that, because the
        photographs were admissible, trial counsel did not render ineffective
        assistance by failing to raise meritless objections to them.

Butts, 273 Ga. at 765, 546 S.E.2d at 480 (footnotes omitted).

        This Court’s review of a state court’s decision regarding the admissibility of

evidence is extremely proscribed.

        [I]n reviewing the evidentiary determination of a state trial judge, we
        are mindful of the fact that we do not sit as a super state supreme
        court. Unlike a state appellate court, we are not free to grant the
        petitioner relief simply because we believe the trial judge has erred.
        The scope of our review is severely restricted. Indeed, the general
        rule is that a federal court will not review a trial court’s actions with
        respect to the admission of evidence. A state evidentiary violation
        in and of itself does not support habeas corpus relief. Before such
        relief may be granted, the violation must rise to the level of a denial of
        fundamental fairness

Shaw, 695 F.2d at 530 (citations and quotation marks omitted).

        In many cases, the Georgia Supreme Court has considered the admissibility of

crime scene photograhs and has held that “unless there are some very exceptional

circumstances[,] the photographs of the deceased are generally admissible to show the

66
   These include State’s Exhibits 15, 16, and 18. (Doc. 24 at 170). State’s Exhibit 15 was a photograph of
lacerations and abrasions to Parks’s chin (Doc. 9-10 at 51); State’s Exhibit 16 was a photograph of Parks’s
eyes and shows the superficial lacerations on Parks’s left upper eyelid and the ecchymosis of both eyelids
(Doc. 9-10 at 51-52); State’s Exhibit 18 was a photograph of the entrance gunshot wound on the back of
Parks’s head (Doc. 9-10 at 52). The three photographs were admitted without objection.


                                                   -85-
       Case 5:13-cv-00194-MTT Document 34 Filed 10/16/15 Page 86 of 104



nature and extent of the wounds, the location of the body, the crime scene, the identity of

the victim and other material issues.” Moses v. State, 245 Ga. 180, 186, 263 S.E.2d 916,

922 (1980) (overruled on other grounds by Nagel v. State, 262 Ga. 888, 891 n.1, 427

S.E.2d 490, 492 n.1 (1993) (citing Godfrey v. State, 243 Ga. 302, 253 S.E.2d 710 (1979);

Stevens v. State, 242 Ga. 34, 247 S.E.2d 838 (1978); and Lamb v. State, 241 Ga. 10, 243

S.E.2d 59 (1978)). “Doubtless, photographs of the victim are prejudicial to the accused,

but so is most of the state’s pertinent testimony. The picture may be gory, but murder is

usually a gory undertaking.” Id.; see also Russell v. State, 267 Ga. 865, 867, 485 S.E.2d

717, 719 (1997) (finding that photographs were admitted to show nature and extent of

victim’s wounds and “[a]ny gruesome or inflammatory aspect of the photographs

stemmed entirely from acts of the defendant”). Finally, it appears the autopsy

photographs showed “mutilation of the victim resulting from the crime against him” and

not “further mutilation of [the] body at autopsy.” Brown v. State, 250 Ga. 862, 866, 302

S.E.2d 347, 351 (1983). Therefore, the Georgia Supreme Court’s finding that the

photographs were properly admitted appears reasonable, both factually and legally.

       Even if this Court were to find error occurred, and it does not, habeas relief would

be “warranted only when the error ‘so infused the trial with unfairness as to deny due

process of law.’” Taylor v. Sec’y, Fla. Dep’t of Corr., 760 F.3d 1284, 1295 (11th Cir.

2014) (quoting Lisenba v. California, 314 U.S. 219, 228 (1941)). “In the context of state

evidentiary rulings, the established standard of fundamental fairness is that habeas relief

will be granted only if the state trial error was material in the sense of a crucial, critical,

highly significant factor.” Shaw, 695 F.2d at 530 (citations and quotations marks

omitted). Butts has not shown that the trial court’s admission of these seven




                                              -86-
       Case 5:13-cv-00194-MTT Document 34 Filed 10/16/15 Page 87 of 104



photographs rendered his trial fundamentally unfair. Therefore, the Court denies relief

on this claim.

          3. Alleged victim impact testimony and arguments during the guilt and
             sentencing phases

       Trial counsel moved in limine to exclude victim worth, victim impact, and other

inflammatory and prejudicial evidence. (Doc. 8-1 at 66-71). During a pretrial hearing,

the district attorney indicated he did not intend to use victim impact evidence, and the

court granted trial counsel’s motion. (Docs. 8-4 at 28; 8-8 at 51). Butts argues that,

despite this ruling, the trial court improperly allowed the following victim impact and victim

worth evidence: (1) the district attorney’s statement in his guilt phase opening that

Parks’s father “saw the body of a man sprawled out, face down, lying there in the middle

of the road, lying in a pool of his own blood, with his brains—part of his brains splattered

on the cement” (Doc.9-7 at 28); (2) the statement in his guilt phase opening that

“somebody was speaking to [Parks’s father] maybe and said—maybe an angel, I don’t

know—said, Mr. Parks, go on down to the … Baldwin County Hospital [and] find out who

that man was who had his brains splattered in the road there” (Doc. 9-7 at 29); (3) Parks’s

father’s response, during the guilt phase, to a question about seeing his son’s body at the

hospital; (3) the district attorney’s various references to the spirituality of Parks and his

family; and (4) the district attorney’s various reference to Parks’s gentle nature. (Doc. 24

at 178-87).

       Appellate counsel raised these issues on direct appeal and the Georgia Supreme

Court found that

       even in the guilt/innocence phase of a death penalty trial, some facts about
       the victims, including, possibly, some of their personal characteristics, will
       inevitably be developed, not only because the jurors must be provided



                                             -87-
       Case 5:13-cv-00194-MTT Document 34 Filed 10/16/15 Page 88 of 104



       those details of context that allow them to understand what is being
       described, but also because evidence relating to the victims’ character and
       personality may be probative of critical aspects of the trial....

       Here, the incidental characterizations of the victim as a nice and charitable
       person and as being a person who attended services at a religious
       establishment were relevant to the facts of the crime. The victim offered a
       ride to persons pretending to be in need, and the victim was identified, in
       part, by the semi-formal clothing he was wearing after a religious service.
       Likewise, the victim's father’s statement in response to a question by the
       State about how the victim’s remains were identified was an incidental
       outgrowth of the relevant fact that the father had, in an extraordinary and
       tragic turn of events, discovered his own son’s body moments after the
       murder. Pretermitting the waiver involved in the fact that most of the
       contested testimony and comments were not objected to, we find that they
       were not improper.

Butts, 273 Ga. at 767, 546 S.E.2d at 481-82 (footnotes and quotation marks omitted).

       Payne v. Tennessee, 501 U.S. 808 (1991), provides the clearly established federal

law regarding victim impact evidence and testimony. To understand Payne, however, it

is necessary to review the cases that it overruled. The Supreme Court first addressed

the issue of victim impact testimony in Booth v. Maryland, 482 U.S. 496 (1987), and held

that the Eighth Amendment prohibits a capital sentencing jury from considering victim

impact testimony, which includes descriptions of the victim’s personal characteristics,

statements concerning the emotional impact of the crime on the victim’s family, and the

family members’ opinions about the crime and the defendant. Id. at 508-09. Next, in

South Carolina v. Gathers, 490 U.S. 805 (1987), the Court extended Booth to statements

made by the prosecutor about the personal characteristics of the victim. Id. at 811. In

Payne, the Court overruled Booth and Gathers and held “that if the State chooses to

permit the admission of victim impact evidence and prosecutorial argument on that

subject, the Eighth Amendment erects no per se bar.” Payne, 501 U.S. at 827. Instead,

“[i]n the event that evidence is introduced that is so unduly prejudicial that it renders the



                                             -88-
        Case 5:13-cv-00194-MTT Document 34 Filed 10/16/15 Page 89 of 104



trial fundamentally unfair, the Due Process Clause of the Fourteenth Amendment

provides a mechanism for relief.”67 Id. at 825 (citing Darden v. Wainwright, 477 U.S. 168

(1986)). In a footnote, the Court explained that its

        holding today is limited to the holdings of Booth … and Gathers …, that
        evidence and argument relating to the victim and the impact of the victim’s
        death on the victim’s family are inadmissible at a capital sentencing
        hearing. Booth also held that the admission of a victim’s family members’
        characterizations and opinions about the crime, the defendant, and the
        appropriate sentence violates the Eighth Amendment. No evidence of the
        latter sort was presented at the trial in this case.

Id. at 830 n.2 (citations omitted).

        Butts argues the prosecutor’s remarks about brains on the cement and angels

telling Parks’s father to go to the hospital inappropriately characterized the crime scene,

were irrelevant, and were improper because the prosecutor knew Parks’s father was not

going to testify to such. Butts’s argument that the prosecutor inappropriately

characterized the crime scene fails. (Doc. 24 at 184-85). While a family member’s

characterization and opinion of a crime or crime scene may still be impermissible under

Payne, the Supreme Court has never held that a district attorney cannot provide a

characterization of a crime scene.68

        Butts’s remaining arguments regarding the district attorney’s opening statement

seem more relevant to a claim for prosecutorial misconduct than a claim regarding victim

impact evidence. Regardless of how the claim is labeled, however, Butts is not entitled

to relief. “[T]he bar for granting habeas based on prosecutorial misconduct is a high

67
   Therefore, the standard of review would be the same as that for other state evidentiary rulings, which is
exceedingly “narrow” Felker v. Turpin, 83 F.3d 1303, 1311 (11th Cir. 1996). As explained previously, a
state court’s evidentiary rulings are reviewed only to determine whether the error “so infused the trial with
unfairness as to deny due process of law.” Id. (citations and quotation marks omitted).
68
   At issue in Gathers was the prosecutor’s “statement … concerning personal characteristics of the victim.”
Gathers, 490 U.S. at 811. The Court held that a prosecutor may not characterize the victim’s personal
qualities. Id. This case did not address whether a prosecutor could provide opinions about or
characterize a crime scene.


                                                    -89-
          Case 5:13-cv-00194-MTT Document 34 Filed 10/16/15 Page 90 of 104



one.” Land v. Allen, 573 F.3d 1211, 1220 (11th Cir. 2014). Just as with evidentiary

errors, habeas relief is warranted only when the improper remarks have “‘so infected the

trial with unfairness as to make the resulting conviction [or sentence] a denial of due

process.’” Darden, 477 U.S. at 181 (quoting Donnelly v. DeChristoforo, 416 U.S. 637,

643 (1974)). Butts has not made such a showing. Looking at the record as a whole, the

prosecutor’s remarks, even if inappropriate, did not render Butts’s trial fundamentally

unfair.

          With regard to Parks’s father’s response to a question about seeing his son’s body

at the hospital, Parks’s father was the first person to arrive at the crime scene. Butts, 273

Ga. at 767, 546 S.E.2d at 482. However, he did not realize the victim was his son.

(Doc. 9-7 at 89). He testified that, after speaking with police, he started to drive away

and “what dawned on [him] and what came in [his] mind was that suit that [the victim] had

on … resembled the suit that [his] son left the house with on and that’s what got [him]

scared.” (Doc. 9-7 at 90). He explained that, after trying to locate his son, he went to

the hospital and the deputies informed him his son was dead. (Doc. 9-7 at 92-93). The

district attorney asked Parks’s father if he viewed his son’s body and Mr. Parks

responded, “I wouldn’t go back there. I didn’t want to look because I saw enough on

Felton Drive. What I saw [will] last me a lifetime. As long as I live, I’ll never forget that.”

(Doc. 9-7 at 93). Trial counsel objected “to the impact” testimony, and the district

attorney explained that Parks’s father was just testifying to what he saw, but he would

“move on.” (Doc. 9-7 at 93).

          Butts argues this was a family member’s characterization of the crime, which

remains impermissible under the Eighth Amendment. Payne, 501 U.S. at 830 n.2




                                             -90-
       Case 5:13-cv-00194-MTT Document 34 Filed 10/16/15 Page 91 of 104



(explaining that Booth’s Eighth Amendment ban on admission of victim’s family members’

characterizations and opinions about the crime or the defendant not addressed in Payne).

Citing Bryant v. State, 288 Ga. 876, 708 S.E.2d 362 (2011), Butts maintains that Parks’s

father’s statements are the type of characterization that the Georgia Supreme Court

continues, post-Payne, to hold impermissible. Id. at 897-98, 708 S.E.2d at 382-83. In

Bryant, family members testified that the victims were “‘shot and left in a patch of kudzu as

if they were a piece of trash on the side of the road,’ that the victims were ‘left under trash

and branches, left to die,’ and that the crimes were ‘a senseless, selfish act of nothing but

wickedness and evil.’” Id. at 897, 708 S.E.2d at 383. Noting that the family members

had no personal first-hand knowledge of these facts, the Georgia Supreme Court held

that the testimony amounted to an impermissible characterization of the crime and the

defendant. Id. at 897-98, 708 S.E.2d at 383.

       Parks’s father, however, had personal first-hand knowledge of the crime scene.

As the Georgia Supreme Court found, his statement was an “incidental outgrowth of the

relevant fact that the father had, in an extraordinary and tragic turn of events, discovered

his own son’s body moments after the murder.” Butts, 273 Ga. at 767, 546 S.E.2d at

482. This finding was not unreasonable factually and did not involve an unreasonable

application of Booth or Payne.

       Butts complains that the district attorney made numerous references to the

spirituality of Parks and his family and to Parks’s gentle nature. (Doc. 24 at 186).

Specifically, he complains: the district attorney, in his opening statement during the guilt

phase, referenced an angel telling Parks’s father to go to the hospital (Doc. 9-7 at 28-29);

the district attorney, in his opening statement during the guilt phase, told the jury that




                                             -91-
       Case 5:13-cv-00194-MTT Document 34 Filed 10/16/15 Page 92 of 104



Parks and his family were active members of the Kingdom Hall of Jehovah Witnesses and

that he believed the courtroom was “[l]ike that church that the victim went in” (Doc. 9-7 at

31, 38); the district attorney, during the guilt phase, asked a witness about Parks’s nature,

and she responded that he was a gentle, non-aggressive person (Doc. 9-8 at 96); the

district attorney, during the guilt phase, asked a witness how long Parks had attended

church, and she replied that he attended “[p]ractically all his life” (9-8 at 85); the district

attorney, during the guilt phase closing argument, referred to Parks as a “nice young man”

(Doc. 10-4 at 75); and the district attorney, during the sentencing phase closing

argument, stated Parks “chose to worship in the church of his choice on that fateful

Thursday. And, unfortunately, [Parks] made his last and untimely final choice and that

was to be a good Christian man and to give two of his fellow men a ride on that rainy

night.” (Docs. 10-7 at 104-05; 24 at 181).

       The Georgia Supreme Court found these “incidental characterizations … were

relevant to the facts of the crime.” Butts, 273 Ga. at 767, 546 S.E.2d at 482. The court

reasoned this evidence was relevant because Parks agreed to give a ride to persons who

pretended to be in need and Parks was identified, in part, by the semi-formal attire he had

worn to a religious service that night. Id. Butts claims this ruling was unreasonable.

(Doc. 24 at 182). It was not.

       Even when it announced a per se rule forbidding testimony concerning the

personal characteristics of a crime victim, the Supreme Court acknowledged that its

disapproval of such testimony did not mean “that this type of information will never be

relevant in any context. Similar types of information may well be admissible because

they relate directly to the circumstances of the crime.” Booth, 482 U.S. at 507 n.10.




                                              -92-
        Case 5:13-cv-00194-MTT Document 34 Filed 10/16/15 Page 93 of 104



This is exactly what the Georgia Supreme Court held regarding the testimony about which

Butts complains. This Court cannot find that no reasonable jurist could agree with that

determination. Furthermore, even if there was an evidentiary error, this Court could not

find that these victim characterizations were so unduly prejudicial that it rendered Butts’s

trial fundamentally unfair. Payne, 501 U.S. at 825. Therefore, habeas relief must be

denied.69

             4. Trial court’s failure to charge the jury on mere presence during the guilt
                phase

        Butts argues that the trial court committed reversible error by failing to charge the

jury on mere presence at the scene during the guilt phase. (Doc. 24 at 190-94).

Appellate counsel raised this issue and the Georgia Supreme Court held:

        Pretermitting the issue of waiver involved in Butts’s failure to request a
        charge on mere presence, we conclude that, because the trial court’s
        charge, as actually given, was full and fair and substantially covered all the
        legal principles relevant to the determination of appellant’s guilt [,] the trial
        court’s failure to charge specifically on mere presence was not reversible
        error.

Butts, 273 Ga. at 768, 546 S.E.2d at 482 (footnotes and quotation marks omitted).

        The trial court charged the jury that “[e]very party to a crime may be charged with

and convicted of commission of the crime. A person is a party to a crime only if that

person, (a) directly commits the crime; or, (b) intentionally helps in the commission of the

crime.” (Doc. 10-4 at 118). Also, it charged:

        It is for you to say whether under the evidence in this case, the testimony of
        the witnesses and the facts and circumstances of the case sufficiently

69
   Butts also argues that trial counsel were ineffective for failing to object to the victim impact evidence.
(Doc. 24 at 188-90). The Georgia Supreme Court held that “[b]ecause the testimony and comments
complained of by Butts were not improper in their context, Butts’s trial counsel did not render ineffective
assistance in failing to object to them.” Butts, 273 Ga. at 767, 546 S.E.2d at 482. This ruling was not
contrary to, or involve an unreasonable application of, Strickland, nor was it based on any unreasonable
findings of fact. Trial counsel are not ineffective for failing to object to evidence that is properly admitted.


                                                      -93-
        Case 5:13-cv-00194-MTT Document 34 Filed 10/16/15 Page 94 of 104



        identify this defendant beyond a reasonable doubt as the perpetrator of the
        alleged crime or that the defendant was a party to it. It is not necessary
        that the defendant show that another person committed the alleged offense.
        It is sufficient if there are facts and circumstances in this case which would
        raise a reasonable doubt whether this defendant is, in fact, the person who
        committed the crime or was a party to it.

        If you do not believe that the defendant has been sufficiently identified as
        the person who committed the alleged crime or was a party to it, or if you
        have any reasonable doubt about such, then it would be your duty to acquit
        the defendant.

(Doc. 10-4 at 119).

        “A defective jury charge raises an issue of constitutional dimension only if it

renders the entire trial fundamentally unfair.” Carrizales v. Wainwright, 699 F.2d 1053,

1055 (11th Cir. 1983) (citing Smith v. Smith, 454 F.2d 572, 579 (5th Cir. 1971)). An

omitted instruction is less likely to be prejudicial than an instruction that misstates the law.

Jacobs v. Singletary, 952 F.2d 1282, 1290 (11th Cir. 1992). To determine if a petitioner’s

trial has been rendered fundamentally unfair because an instruction was omitted, the

court considers “the remainder of the charge and the trial as a whole.” Id. (citing Lamb v.

Jernigan, 683 F.2d 1332, 1339 (11th Cir. 1982)). Considering the trial as a whole and

the charge given, the Court cannot find that Butts’s trial was rendered “fundamentally

unfair” because a mere presence instruction was not given. Certainly, the Georgia

Supreme Court’s determination of such was not unreasonable factually or legally.70


70
   Having found “that the trial court’s charge was adequate as given,” the Georgia Supreme Court
determined that Butts could not “show that his trial counsel’s failure to request a charge on mere presence
and to reserve objections to the trial court’s charges as given created prejudice of constitutional
proportions” and, therefore, denied his claim of ineffective assistance of trial counsel with respect to the
disputed charge. Butts, 273 Ga. at 768, 546 S.E.2d at 482. Because this Court finds the Georgia
Supreme Court’s determination of the underlying failure to charge claim was reasonable, the Court also
finds its determination that Butts cannot establish prejudice resulting from counsel’s failure to request the
charge was reasonable. Agreeing with the Georgia Supreme Court’s prejudice determination, the Court
need not address counsel’s performance. Holladay v. Haley, 209 F.3d 1243, 1248 (11th Cir. 2000) (“[T]he
court need not address the performance prong if the defendant cannot meet the prejudice prong … or vice
versa.”)


                                                    -94-
       Case 5:13-cv-00194-MTT Document 34 Filed 10/16/15 Page 95 of 104



       C. Claim Three: Misconduct by the prosecutor deprived Butts of his
          constitutional rights to due process and a fair trial, in violation of the
          Fifth, Sixth, Eighth, and Fourteenth Amendments to the United States
          Constitution.

       Butts argues he is “entitled to a new sentence because the prosecutor

unconstitutionally and unethically used irreconcilable and inconsistent theories of the

crime to convince two juries to impose death sentences on Mr. Butts and his

co-defendant, Marion Wilson.” (Doc. 24 at 198). Butts alleges the prosecutor told one

jury that Wilson shot Parks and later told a second jury that Butts was the triggerman.

(Doc. 24 at 199). The state habeas court found the claim was procedurally defaulted

because appellate counsel failed to raise the issue on direct appeal. (Doc. 16-23 at

11-12). But the court considered “the merits of this claim concurrently with a

determination of whether [Butts] has demonstrated cause and prejudice or a miscarriage

of justice sufficient to excuse this default.” (Doc. 16-23 at 12).

       The state habeas court made the following findings of fact: (1) during the guilt

phase of Wilson’s trial, the prosecutor repeatedly told the jury that the state could not

prove Wilson was the triggerman (Doc. 16-23 at 12); (2) after Wilson was found guilty of

malice murder, “the prosecutor’s arguments that co-defendant Wilson shot the victim

were legally correct” (Doc. 16-23 at 12); (3) during the guilt phase of Butts’s trial, two

inmates testified that Butts admitted he was the triggerman (Doc. 16-23 at 12); (4) in

Butts’s guilt phase closing argument, the prosecutor argued that Butts told fellow inmates

he was the shooter; and (5) the prosecutor further argued that “we don’t have to … but we

proved that the man that actually, in fact, pulled the trigger and blew out the brains of …

Parks is the defendant, Robert Earl Butts, Jr.” (Doc. 16-23 at 12-13). Having made

these factual findings, the state habeas court determined that the “underlying theory of



                                             -95-
        Case 5:13-cv-00194-MTT Document 34 Filed 10/16/15 Page 96 of 104



the State’s case remained the same” throughout both trials and the prosecutor’s

arguments were consistent, “particularly when the arguments at the sentencing phase of

Wilson’s trial are reviewed in conjunction with the prosecutor’s guilt phase argument from

... Wilson’s trial.” (Doc. 16-23 at 13). Therefore, the state habeas court found that

neither trial71 nor appellate counsel rendered deficient performance with respect to the

prosecutor’s arguments, and Butts failed to establish cause and prejudice or a

miscarriage of justice to overcome the procedural default of the claim. (Doc. 16-23 at

13).

        Butts argues that the state habeas court misapplied the cause and prejudice

standard for excusing procedural defaults, and, therefore, this Court owes no deference

to that ruling. (Doc. 24 at 201-04). Butts’s argument, though somewhat difficult to

follow, is that during the sentencing phase of Wilson’s trial, the prosecutor argued that

Wilson was the shooter, and Wilson received a death sentence. (Doc. 24 at 199).

Having obtained a death sentence for Wilson by arguing he was the shooter, the

prosecutor was estopped from arguing that Butts was the triggerman. (Doc. 24 at

199-200). When the prosecutor argued Butts was the shooter, he engaged in an

“inherently inconsistent one murder, two shooters theory of the crime.” (Doc. 24 at 204).

Thus, according to Butts, “[t]he state habeas court’s unreasonable determination that the

prosecutor’s assertion that Mr. Butts and Mr. Wilson both fired the same gunshot was

constitutional after Mr. Wilson’s death sentence requires no deference from this Court,



71
   The state habeas court’s order reads: “Trial counsel did object to the argument at Petitioner’s trial and
appellate counsel did not raise the issue on direct appeal.” (Doc. 16-23 at 12). Presumably this is a
typographical error and the order should read, “[t]rial counsel did not object” because the record shows no
objections during the prosecutor’s closing argument in Butts’s case, and the state habeas court found trial
counsel’s failure to object did not amount to deficient performance. (Docs. 10-7 at 99-105; 13-6 at 20-21;
16-15 at 9; 16-23 at 12).


                                                   -96-
       Case 5:13-cv-00194-MTT Document 34 Filed 10/16/15 Page 97 of 104



which should thus apply the ‘cause and prejudice’ analysis de novo.” (Doc. 24 at

203-04).

       The Eleventh Circuit has explained that “where the state correctly applies a

procedural default principle of state law to arrive at the conclusion that the petitioner’s

federal claims are barred, Sykes … requires the federal court to respect the state court’s

decision.” Bailey v. Nagle, 172 F.3d 1299, 1302 (11th Cir. 1999) (citing Sykes, 433 U.S.

72 (1977)). The state habeas court did not misapply the procedural default principle to

this claim as it is undisputed that the claim was not presented on direct appeal. Black v.

Hardin, 255 Ga. 239, 240, 336 S.E.2d 754, 755 (1985) (explaining that “a failure to make

timely objection to any alleged error or deficiency or to pursue the same on appeal

ordinarily will preclude review by writ of habeas corpus”). Thus, this Court cannot

conduct a de novo cause and prejudice analysis. Butts can overcome the procedural

default of this claim only by showing cause and prejudice, and, to the extent the state

court’s cause and prejudice findings are based upon determinations of fact, those factual

findings are presumed to be correct and can be rebutted only by clear and convincing

evidence. 28 U.S.C. § 2254(e)(1).

       This Court agrees that appellate counsel were not deficient for failing to raise

Butts’s “irreconcilable theories of the crime” claim on appeal, and, even if they had, the

claim would not have had a reasonable probability of success on appeal. Heath, 941

F.2d at 1130 (explaining that appellate counsel’s performance is prejudicial only if the

neglected claim would have a reasonable probability of success on appeal). This Court

addressed the same claim in Wilson’s case:

       [A]ppellate counsel were not deficient for failing to raise Wilson’s
       prosecutorial misconduct claim on appeal. Wilson’s argument that the



                                             -97-
       Case 5:13-cv-00194-MTT Document 34 Filed 10/16/15 Page 98 of 104



       prosecutor misled the jury and used “wholly inconsistent arguments to
       sentence two men to die” is weak at best.

       Furthermore, even if appellate counsel performed deficiently when they
       failed to raise the issue on appeal, Wilson was not prejudiced. Appellate
       counsel’s performance is prejudicial only if the neglected claim would have
       a reasonable probability of success on appeal. The Court sees no
       reasonable chance this claim would have prevailed on appeal; certainly the
       state habeas court’s lack of prejudice determination was not based on any
       unreasonable determinations of the facts. The jury was well aware from
       the beginning of Wilson’s trial that either Wilson or Butts could have fired the
       shot that killed Parks. The prosecutor readily acknowledged this at the
       outset and he acknowledged the same in Butts’s trial. Contrary to
       Wilson’s assertion, this is not a “flip-flopping” theory of the crime or
       “irreconcilable theories of the crimes.”

Wilson, 2013 WL 6795024 at *8 (emphasis added) (citations and footnotes omitted).

       Butts claims his situation is different because his trial took place after Wilson’s and

“[o]nce [the prosecutor] went on the record in the sentencing phase of the Wilson trial that

Mr. Wilson pulled the trigger, … he was simply estopped from arguing to the Butts jury

that Mr. Butts pulled the trigger.” (Doc. 24 at 200). In the sentencing phase of Wilson’s

trial, the prosecutor did argue that the jury should “show Wilson the same amount of

mercy that he granted … Parks when he blew his brains out on the side of the road.”

Wilson, 2013 WL 6795024 at *7 (citations and quotation marks omitted). He also argued

“that man right there took that shotgun and fired it and into the night … it sent 50 pellets …

aimed right in the back of that man’s head.” Id. However, this was after the prosecutor

conceded on numerous occasions that “‘the State cannot prove who pulled the trigger in

this case’” and specifically told the jurors it “’[v]ery well could have been Butts.’” Wilson,

2013 WL 6795024 at *7.

       In Butts’s trial, in his opening statement during the guilt phase, the prosecutor told

the jury there was




                                             -98-
        Case 5:13-cv-00194-MTT Document 34 Filed 10/16/15 Page 99 of 104



        [s]omething called parties to a crime. The law says if you aid and abet
        another, if you help another to commit a crime, then not only is your partner
        guilty of the crime, but if you helped him, you’re guilt[y] of it too. And that’s
        why I say both of them are guilty and I say it doesn’t matter which one pulled
        the trigger. They are both guilty if they participated in this. And … both of
        them were in it from the top of their heads to the bottom of the soles of their
        feet.

        So when I say it doesn’t matter which one pulled the trigger, I want that clear
        in your minds. But, I’ll go one step further… In this case you will hear—and
        I told you it doesn’t matter—but you will hear some evidence from which you
        … can conclude that the one that held the sawed-off shotgun, the one that
        aimed it at the back of the head of Donovan Corey Parks, and the one
        whose finger was on that trigger, that squeezed that trigger … is [Butts’s]
        finger.

(Doc. 9-7 at 35-36).

        The “evidence” to which the prosecutor was referring was the three jailhouse

informants to whom Butts had allegedly confessed he was the triggerman.72 When

called to the stand, one of these inmates said he remembered nothing; another testified

that Butts said Wilson instructed him to shoot Parks and he did so; and the third testified

that Butts said he shot Parks. (Doc. 9-14 at 43-46, 80-85, 101-02). In his closing

argument during the guilt phase, the prosecutor told the jury that “[i]t legally doesn’t even

matter which one pulled the trigger” but reminded them that Butts told his cellmates he

was the triggerman. (Doc. 10-4 at 99). He stated, “We proved—and we don’t have

to—but we proved that the man that actually, in fact, pulled the trigger and blew out the

brains of Donovan Corey Parks is … Butts.” (Doc. 10-4 at 105).

        This Court agrees with the state habeas court that the State’s arguments were not

improper, nor did the State attempt to “flip flop” theories of who was the triggerman,


72
  Butts’s alleged confession to his three inmates was first mentioned in Wilson’s trial. During the
sentencing phase of Wilson’s trial, three witnesses—Chief Deputy Howard Sills, Officer Russell Blenk, and
defense investigator William Thrasher—testified that three of Butts’s cellmates told them that Butts
confessed he was the triggerman. Wilson, 2013 WL 6795024 at *7.


                                                  -99-
       Case 5:13-cv-00194-MTT Document 34 Filed 10/16/15 Page 100 of 104



particularly in light of the numerous concessions in both trials that the State could not

identify the triggerman. Certainly, the state court’s determinations in this regard were not

based on any unreasonable determinations of fact. Thus, appellate counsel did not

render deficient performance for failing to raise this issue on appeal, and Butts cannot

overcome the procedural default of prosecutorial misconduct claim.73

        D. Claim Five: A death sentence in this case is disproportionate
           punishment, and such an arbitrary application of the death penalty
           violates the Eighth and Fourteenth Amendments to the United States
           Constitution.

        Butts claims the death sentence imposed in his case is excessive and

disproportionate to the penalties imposed on similar cases. (Doc. 24 at 217). He

argues that many defendants who have committed similar crimes and who share similar

personal characteristics with him have received a punishment other than death. (Doc.

24 at 219). Appellate counsel raised this issue, and Georgia Supreme Court found

        [a]lthough the trial judge’s report indicates that the evidence did not
        “foreclose all doubt” in this case, we note that the evidence supporting the
        jury’s finding of guilt was very strong. The fact that Butts asked the victim
        for a ride, even though he had driven his own automobile to the store,
        shows that he was involved in the motor vehicle hijacking from the
        beginning. The evidence also suggested that Butts carried the shotgun
        with him into the store as he sought out a victim. Testimony at trial showed
        that Butts had worked with the victim previously, suggesting that Butts
        intended from the beginning to murder the victim in order to ensure the
        victim's silence. Several of Butts’s former jail mates testified that he had
        admitted being the triggerman. Evidence presented during the sentencing

73
   Also, the Court notes that the state habeas court “concurrently” considered the merits of Butts’s
prosecutorial misconduct claim when it determined that he could not show cause and prejudice to
overcome procedural default. (Doc. 16-23 at 12). Because the state court looked at the merits, any
review on the merits by this Court would be limited by 28 U.S.C. § 2254(d), which provides that the federal
court cannot grant relief unless the state court’s adjudication “resulted in a decision that was contrary to, or
involved an unreasonable application of, clearly established Federal law” or was based on unreasonable
determinations of fact. Id. The Court has already determined the state habeas court’s factual findings
were not unreasonable, and, although Butts cites many cases from the appellate courts and the Supreme
Court, he has not cited any “clearly established” Supreme Court precedent holding that a prosecutor cannot
pursue inconsistent theories at trial. Thus, even if the Court reviewed the merits of Butts’s prosecutorial
misconduct claim and found that the prosecutor pursued inconsistent theories, it could not grant relief.


                                                     -100-
      Case 5:13-cv-00194-MTT Document 34 Filed 10/16/15 Page 101 of 104



       phase showed that Butts had a history of criminal conduct. These
       circumstances all might reasonably have urged the jury to impose a death
       sentence.

       Our proportionality review “includes special consideration of the sentences
       received by co-defendants in the same crime.” In this regard, we note that
       Butts’s co-perpetrator, Marion Wilson, Jr., also has received a death
       sentence.

       We find, considering both the crime and the defendant, that the death
       sentence imposed in this case is neither excessive nor disproportionate to
       the penalties imposed in similar cases in Georgia.

Butts, 273 Ga. at 771-72, 546 S.E.2d at 484-85 (footnotes omitted). Further, the court

cited 18 Georgia death penalty cases and noted “that each involves an intentional killing

committed during the commission of an armed robbery or a motor vehicle hijacking.” Id.

at 772, 546 S.E.2d at 485.

       There is no constitutional right to proportionality review, and the Eleventh Circuit

has instructed the district courts not to conduct proportionality reviews in death penalty

habeas corpus cases. In Pulley v. Harris, 465 U.S.37 (1984), the Court held, “[t]here is

… no basis in our cases for holding that comparative proportionality review by an

appellate court is required in every case in which the death penalty is imposed.” Id. at

50. In Moore v. Balkcom, 716 F.2d 1511 (11th Cir. 1983), the Eleventh Circuit held:

       A federal habeas court should not undertake a review of the state supreme
       court’s proportionality review and, in effect, “get out the record” to see if the
       state court’s findings of fact, their conclusion based on a review of similar
       cases, was supported by the “evidence” in the similar cases. To do so
       would thrust the federal judiciary into the substantive policy making area of
       the state. It is the state’s responsibility to determine the procedure to be
       used, if any, in sentencing a criminal to death.

Id. at 1518 (citing California v. Ramos, 463 U.S. 992, 996-1001 (1983)).

       Accordingly, the Court must decline Butts’s request to conduct a proportionality

review.



                                             -101-
      Case 5:13-cv-00194-MTT Document 34 Filed 10/16/15 Page 102 of 104



      E. Claim Seven: Execution by lethal injection is cruel and unusual
         punishment, and Petitioner’s sentence violates his rights under the
         Eighth and Fourteenth Amendments to the United States Constitution.

      Butts complains that Georgia’s use of compounding pharmacies to obtain

pentobarbital poses a substantial risk of serious harm in violation of Eighth and

Fourteenth Amendments. (Doc. 24 at 222). He challenged Georgia’s lethal injection

protocol during his state habeas proceeding, and the state habeas court found the claim

was non-cognizable and, alternatively, without merit. (Doc. 16-23 at 13).

      A habeas action is not the appropriate vehicle for attacking Georgia’s lethal

injection procedures; rather, that challenge must be raised in a 42 U.S.C. § 1983 action.

Glossip v. Gross, 135 S. Ct. 2726, 2738 (2015) (clarifying that in Hill v. McDonough, 547

U.S. 573 (2006), “[w]e held that a method-of-execution claim must be brought under

§ 1983”); McNabb v. Comm’r Ala. Dep’t of Corr., 727 F.3d 1334, 1344 (11th Cir. 2013)

(holding a § 1983 action, not a habeas proceeding, is the correct way to attack lethal

injection procedures); Tompkins v. Sec’y Dep’t Corr., 557 F.3d 1257, 1261 (11th Cir.

2009); Thomas v. McDonough, 228 F. App’x 931, 932 (11th Cir. 2007) (holding that

“§ 1983 and § 2254 are mutually exclusive” and that if a claim can be brought under §

1983, it “cannot be brought under § 2254”).

      Accordingly, Butts’s claim regarding Georgia’s lethal injection procedures is

dismissed without prejudice.

      F. Claim Eight: Petitioner’s trial was fraught with procedural and
         substantive errors that cannot be harmless when viewed as a whole
         since the combination of errors deprived him of the fundamentally fair
         trial guaranteed under the Fifth, Sixth, Eighth, and Fourteenth
         Amendments.

      Butts raised a cumulative error challenge during his state habeas proceeding.




                                           -102-
      Case 5:13-cv-00194-MTT Document 34 Filed 10/16/15 Page 103 of 104



The state habeas court found that the claim was not cognizable because it failed “to

allege grounds which would establish a constitutional violation in the proceedings which

resulted in [Butts’s] conviction and sentence” and noted “that the State of Georgia does

not recognize cumulative error.” (Doc. 16-23 at 13-14). Respondent argues there is no

Supreme Court case holding that cumulative error review must be undertaken in habeas

proceedings. (Doc. 27 at 147). Additionally, he argues that because Georgia has no

cumulative error review, this claim has not been exhausted, and a review by this Court

would violate the rules of comity in 28 U.S.C. § 2254.

       Even if the Court could conduct a cumulative error analysis, Butts would not be

entitled to relief. “For [this Court’s] purposes, it is enough to say that [Butts’s] cumulative

error claim clearly fails in light of the absence of any individual errors to accumulate.”

Morris v. Sec’y, Dep’t of Corr., 677 F.3d 1117, 1132 n.3 (11th Cir. 2012); Insignares v.

Sec’y, Fla. Dep’t of Corr., 755 F.3d 1273, 1284 (11th Cir. 2014).

                                  IV.    CONCLUSION

       For the reasons explained above, Butts’s petition for writ of habeas corpus

is DENIED.

                           CERTIFICATE OF APPEALABILITY

       A prisoner seeking to appeal a district court’s final order denying his petition for writ

of habeas corpus has no absolute entitlement to appeal but must obtain a Certificate of

Appealability (“COA”). 28 U.S.C. § 2253(c)(1)(A). As amended effective December 1,

2009, Rule 11(a) of the Rules Governing Section 2254 Cases in the United States District

Courts provides that “[t]he district court must issue or deny a [COA] when it enters a final




                                             -103-
      Case 5:13-cv-00194-MTT Document 34 Filed 10/16/15 Page 104 of 104



order adverse to the applicant,” and, if a COA is issued, “the court must state the specific

issue or issues that satisfy the showing required by 28 U.S.C. § 2253(c)(2).”

       The Court can issue a COA only if the petitioner “has made a substantial showing

of the denial of a constitutional right.” 28 U.S.C. § 2253(c)(2). To merit a COA, the

Court must determine “that reasonable jurists could debate whether (or, for that matter,

agree that) the petition should have been resolved in a different manner or that the issues

presented were ‘adequate to deserve encouragement to proceed further.’” Miller-El v.

Cockrell, 537 U.S. 322, 336 (2003) (citations omitted). If a procedural ruling is involved,

the petitioner must show that “jurists of reason would find it debatable whether the petition

states a valid claim of the denial of a constitutional right and that jurists of reason would

find it debatable whether the district court was correct in its procedural ruling.” Slack v.

McDaniel, 529 U.S. 473, 484 (2000).

       Under this standard, the Court issues a COA on the following issue: Trial and

appellate counsel were ineffective for failing to investigate, develop, and present

mitigating evidence during the sentencing phase of Butts’s trial.

       In relation to all other claims, grounds, and issues raised in Butts’s Petition for Writ

of Habeas Corpus (Doc. 1), the Court finds the standard shown above for the grant of a

COA has not been met.

       SO ORDERED, this 16th day of October, 2015

                                                    S/ Marc T. Treadwell
                                                    MARC T. TREADWELL, JUDGE
                                                    UNITED STATES DISTRICT COURT




                                            -104-
